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1    PETER C. ANDERSON
     UNITED STATES TRUSTEE
2    Kenneth M. Misken
     Assistant United States Trustee
     Katherine C. Bunker, Bar No. 240593
3    Trial Attorney
     UNITED STATES TRUSTEE
4    915 Wilshire Blvd., Suite 1850
     Los Angeles, California 90017
5    Telephone: (213) 894-6811
     Facsimile: (213) 894-0276
6    E-mail: kate.bunker@usdoj.gov
7

8                            UNITED STATES BANKRUPTCY COURT

9                              CENTRAL DISTRICT OF CALIFORNIA

10                              SAN FERNANDO VALLEY DIVISION

11   In re                                          )   Case No. 1:20-bk-10213-MT
                                                    )
12                                                  )   Chapter 7
     AFSANEH DOOST,                                 )
                                                    )   NOTICE OF MOTION AND MOTION TO
13                                 Debtor.          )   DISMISS CASE PURSUANT TO 11 U.S.C.
                                                    )
14                                                  )   § 707(b)(3)(A) WITH A ONE-YEAR BAR
                                                    )   TO REFILING PURSUANT TO 11 U.S.C.
15                                                  )   §§ 105(a) AND 349(a); MEMORANDUM
                                                    )   OF POINTS AND AUTHORITIES;
16                                                  )
                                                    )   DECLARATION OF SANDRA A. CRUZ
17                                                  )   IN SUPPORT THEREOF
                                                    )
18                                                  )   Date: June 3, 2020
                                                    )   Time: 10:00 a.m.
19                                                  )
                                                    )   Ctrm: 302
20                                                  )

21           PLEASE TAKE NOTICE that on June 3, 2020, at 10:00 a.m., or as soon thereafter as the

22   matter may be heard in Courtroom 302 of the above-entitled court, located at 21041 Burbank

23   Boulevard, in Woodland Hills, California, the United States Trustee (the "U.S. Trustee") will

24   request that this case be dismissed pursuant to 11 U.S.C. § 707(b)(3)(A) with a one-year bar to

25   refiling pursuant to 11 U.S.C. §§ 105(a) and 349(a).

26           This motion is based upon this Notice of Motion and motion, the attached Memorandum

27   of Points and Authorities and supporting Declaration, the pleadings and documents on file

28   herein, and such other evidence and argument as is presented at the time of the hearing.
                                                    1
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1           Pursuant to Rule 4004(c)(1)(D) of the Federal Rules of Bankruptcy Procedure, the

2    discharge of the debtor is stayed pending the outcome of this motion.

3           Any opposition, joinder, or other response to this Notice of Motion and motion must be

4    filed in writing, and served on the U.S. Trustee and other parties entitled to service, at least

5    fourteen (14) days before the date set for the hearing on this motion, as required by Local

6    Bankruptcy Rule 9013-1(f). Failure to timely file and serve any responsive papers may result in

7    the Court failing to consider the same.

8    Date: April 29, 2020                           UNITED STATES TRUSTEE

9                                                   By: /s/ Katherine C. Bunker
                                                        Katherine C. Bunker
10                                                      Attorney for the U.S. Trustee

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1                                                I.   FACTS

2           On January 28, 2020, Afsaneh Doost (the “Debtor”) filed a voluntary chapter 7 1

3    bankruptcy petition. Declaration of Sandra A. Cruz (“Cruz Dec.”), Exhibit A. 2 The petition

4    states that the Debtor’s debts are primarily consumer debts. Exhibit B at 20. That day the

5    Debtor was given notice that his meeting of creditors would be held pursuant to 11 U.S.C.

6    § 341(a) on March 9, 2020. Exhibit A at 11.

7           Filed with the petition were the Debtor’s Schedule A/B, C, D, E/F, and G, Declaration of

8    Debtor’s Schedules, Statement of Financial Affairs, Statement of Intent, and mailing list. See id.

9    at 10. On February 6, 2020, the Debtor filed his remaining schedules, Chapter 7 Means Test

10   forms, and Certification of Employment Income. Id. at 12.

11          On Schedule A/B, the Debtor lists owning real property located at 4567 White Oak Place,

12   Los Angeles, California 91316 (the “Property”). Exhibit B at 26. Bank of America (“BofA”) is

13   listed on Schedule D as holding a $1,493,000 secured claim on the Property. Id. at 32. On

14   Schedule E/F, the Debtor lists owing $66,683.52 for credit cards, personal loans, legal fees, and

15   utilities. Id. at 33-39. On Schedule I, he lists having monthly gross income of $11,380 from his

16   income, his spouse’s income, and rental income. Exhibit C at 56-57. On Schedule J, he lists no

17   dependents and monthly expenses of $11,237, providing him with $143 of monthly disposable

18   income. Id. at 58-59. Despite listing over $11,000 in monthly gross income on Schedule I and

19   no dependents on Schedule J, on the Means Test form 122A-1, he lists only $5,980 in monthly

20   income and six dependents. Id. at 60-61.

21          The Debtor also discloses on the petition three prior bankruptcy cases. Exhibit B at 17.

22   These cases include:

23   ///

24   ///

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26
            Unless otherwise indicated, all chapter, section and rule references are to the
            1

27   Bankruptcy Code, 11 U.S.C. §§ 101-1532, and the Federal Rules of Bankruptcy Procedure
     (“FRBP”), Rules 1001-9037.
28
            2
                All further references to exhibits herein are to exhibits to the accompanying Cruz Dec.
                                                         3
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1                                                  Date        Date
        Case Name                Case No.                    Dismissed             Case Status
                                                   Filed
2
                                                                          Dismissed for failure to file
3                                                                         schedules, statements, and/or
      Afsaneh Doost        1:11-bk-22838-MT       11/3/11     11/22/11
                                                                          plan.
4
                                                                          Debtor filed case one day
5
                                                                          before a noticed foreclosure
6                                                                         sale on the Property. Case
      Afsaneh Doost        1:16-bk-10078-MT       01/12/16    4/18/16     was closed without discharge
7                                                                         as the Debtor did not file a
                                                                          certificate of financial
8                                                                         management.
                                                                          Debtor filed case the day
9
                                                                          before a noticed foreclosure
10                                                                        sale on the Property. The
      Afsaneh Doost        1:19-bk-12284-MT       09/11/19    12/10/19
                                                                          Debtor failed to appear at his
11                                                                        § 341(a) meeting which led
                                                                          to the dismissal of his case.
12

13             On February 12, 2020, the U.S. Trustee sent the Debtor a letter requesting that the Debtor
14   provide additional information about the Debtor’s and his spouse’s income, the Debtor’s
15   dependents, the car payment listed on Schedule J, whether any foreclosure action was pending as
16   to the Property, a copy of the rental agreement, and copies of bank statements (the “Letter”).
17   Cruz Dec. ¶5. The Letter requested a response by February 27, 2020. Id.
18             On March 9, 2020, the Debtor failed to appear for his initial § 341(a) meeting. Cruz Dec.
19   ¶6. That meeting was continued to April 24, 2020. Exhibit A at 13.
20             On March 17, 2020, Bank of America (“BofA”) filed a motion for relief from stay to
21   proceed with a foreclosure action initiated against the Debtor as to the Property. Exhibit D. That
22   motion states that the Debtor has failed to make 17 mortgage payments for a total $129,331.94.
23   Id. at 80. The Motion attaches evidence to establish that this is the second case filed by the
24   Debtor within the last six months which has impeded BofA attempts to foreclose on the Property.
25   See id.
26             On April 24, 2020, the Debtor failed to appear at the continued § 341(a) meeting. Cruz
27   Dec. ¶6. As of the April 24 § 341(a) meeting, the Debtor also had not provided a response to the
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                                                       4
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1    Letter. Id. ¶5. Thus, to do he has not testified to the accuracy of his schedules and statements

2    nor has the U.S. Trustee been able to question about his reasons for filing this bankruptcy case.

3                                           II.   DISCUSSION

4    1.     Applicability of § 707(b)

5           Section 707(b)(1) of the Bankruptcy Code, as amended, provides that the Court may

6    dismiss a case filed by an individual whose debts are “primarily consumer debts,” if it finds that

7    granting relief would be an abuse of chapter 7. 11 U.S.C. § 707(b)(1). Here, the Debtor checked

8    the box on the petition stating that his debts are primarily consumer debt. Exhibit B at 20. In

9    addition, his schedules list obligations that are primarily consumer debts. Id. at 32-39.

10   2.     Dismissal Under § 707(b)(3)(A) For Bad Faith Is Warranted

11          Since the enactment of Bankruptcy Abuse Prevention and Consumer Protection Act of

12   2005 (“BAPCPA”), under § 707(b)(3), a bankruptcy court is free to dismiss a case for abuse if it

13   finds that the petition was filed in bad faith. 11 U.S.C. § 707(b)(3)(A). While this addition to

14   the Bankruptcy Code provides further protection from debtors abusing the bankruptcy system,

15   there has been no standard provided in the Code nor by the Ninth Circuit for determining what

16   constitutes a “bad faith” filing in chapter 7 cases under § 707(b)(3)(A). In re Siegenberg, 2007

17   Bankr. LEXIS 2538 *8 (Bankr. C.D. Cal. July 31, 2007).

18          Presently, two published decisions from the Central District have addressed the standard

19   for bad faith: In re Siegenberg, 2007 Bankr. LEXIS 2538 *1 (Bankr. C.D. Cal. July 31, 2007),

20   and In re Mitchell, 357 B.R. 142 (Bankr. C.D. Cal. 2006). In both Siegenberg and Mitchell, the

21   bankruptcy court found that “the standards for bad faith dismissal used in Chapter 11 and

22   Chapter 13 cases should, to the extent possible, also apply in Chapter 7 cases via

23   § 707(b)(3)(A).” Mitchell, 357 B.R. at 153-54.

24          When applying the Chapter 11 and Chapter 13 bad faith tests, courts generally consider a

25   multitude of non-exclusive factors, including:

26          (1) the debtor’s history of filings and dismissals (Leavitt v. Soto (In re Leavitt),
            171 F.3d 1219, 1224 (9th Cir. 1999)); (2) whether a debtor misrepresented facts in
27          their petition, unfairly manipulated the Bankruptcy Code, or otherwise filed the
            petition in an inequitable manner (Id.; In re Marshall, 298 B.R. 670, 681 (Bankr.
28          C.D. Cal. 2003)); (3) whether the debtor is actually in need of bankruptcy
                                                      5
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1           protection (Marshall, 298 B.R. at 681); (4) whether the debtor intended to invoke
            the [Bankruptcy Code] for improper purposes, such as for the sole objective of
2           defeating state court litigation [See id.; see Leavitt, 171 F.3d at 1224)]; and (5)
            whether egregious behavior is present (Leavitt, 171 F.3d at 1224).
3

4
     Mitchell, 357 B.R. at 154; see Leavitt, 171 F.3d at 1224 (discussing factors for finding bad faith
5
     in a chapter 13 case); In re Marsch, 36 F.3d 825, 828 (9th Cir. 1994) (discussing what supports
6
     dismissal of a chapter 11 case based on bad faith). No single factor is considered dispositive, but
7
     rather the entirety of the situation must be evaluated. In re Powers, 135 B.R. 980, 991-92
8
     (Bankr. C.D. Cal. 1991). A showing of fraudulent intent by the debtor is not required for a
9
     finding of bad faith. Leavitt, 171 F.3d at 1224.
10
            Here, the factors support dismissal of the Debtor’s case for bad faith. First, this is the
11
     third bankruptcy case filed relating to the Property in the last four years and the debtor’s fourth
12   bankruptcy. Exhibits A & E-G. None of the bankruptcy cases relating to the Property have yet
13   to be successfully prosecuted, and three of the cases were filed within days of a scheduled
14   foreclosure sale on the Property. See id.
15          In addition, to date the Debtor has not appeared for his § 341(a) meeting nor responded to
16   the Letter. Cruz Dec. ¶¶5-6. The Debtor’s prior bankruptcy case was dismissed based on his
17   failure to appear at the § 341(a) meeting. Exhibit G at 159. Accordingly, the Debtor has
18   knowledge of what will happen if he fails to appear at the § 341(a) meeting.
19          The timing of the filing of this case in relationship to the scheduled foreclosure sale of the
20   Property, the history of failed bankruptcies, and the Debtor’s failure to appear at his § 341(a)
21   meeting and respond to the U.S. Trustee’s request for information, support a finding that this
22   case has been filed in order to improperly obtain protection from the Bankruptcy Code and to
23   buy time with no intent to reorganize the Debtor’s debts. Based on the foregoing, the U.S.
24   Trustee requests that the Court dismiss this case for bad faith pursuant to § 707(b)(3)(A).
25   3.     The Debtor’s Bad Faith Justifies Dismissal with a Bar to Refiling
26          Section 349(a) of the Bankruptcy Code empowers bankruptcy courts to enjoin future
27   filings if cause exists to do so. 11 U.S.C. § 349(a). That section provides that dismissal of a case
28   does not prejudice the debtor with regard to the filing of a subsequent petition, “[u]nless the
                                                        6
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1    court, for cause, orders otherwise.” Id. Accordingly, where cause exists, the court may restrict

2    the debtor from future filings. Leavitt, 171 F.3d at 1223-24. In addition, § 105(a) permits a

3    bankruptcy court to enter any order necessary to carry out the provisions of the Code and to

4    prevent an abuse of the bankruptcy process. 11 U.S.C. § 105(a).

5           It seems clear that the Debtor has no intention of accessing bankruptcy protection for any

6    legitimate purpose, and this case was filed to stop the foreclosure action of the Property. Based

7    on the Debtor’s bankruptcy documents, his failure to appear for his § 341(a) meeting, and the

8    history of filings and dismissals relating to the Property, there is evidence to show that the

9    Debtor is simply using bankruptcy as a way to prevent BofA from going forward with the

10   foreclosure sale. If the Debtor’s case is dismissed without a bar to refiling, the Debtor could

11   immediately refile for bankruptcy for an illegitimate purpose with no intent to reorganize or

12   liquidate his debt. Accordingly, the U.S. Trustee requests that the Court issue an order

13   prohibiting the Debtor from refiling for bankruptcy in any chapter, absent prior permission of

14   this Court, for a period of one year.

15                                           III.   CONCLUSION

16          For all of the forgoing reasons, this case should be dismissed pursuant Bankruptcy Code

17   under § 707(b)(3)(A) with a one-year bar to refiling.

18   DATED: April 29, 2020                          UNITED STATES TRUSTEE

19                                                  By: /s/ Katherine C. Bunker
                                                        Katherine C. Bunker
20                                                      Attorney for the U.S. Trustee

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1                               DECLARATION OF SANDRA A. CRUZ

2           I, Sandra A. Cruz, declare

3           1.     I am a Bankruptcy Paralegal with the Woodland Hills, California office of the

4    United States Trustee, and am the Paralegal assigned to this bankruptcy case. I am over the age

5    of eighteen and have personal knowledge of the facts set forth herein and submit this declaration

6    to put the following documents before the Court.

7           2.    Attached hereto as Exhibit A is a true copy of the Court’s electronic docket for this

8    case, which I printed from the electronic case files of the United States Bankruptcy Court for the

9    Central District of California.

10          3.    Attached hereto as Exhibit B is a true copy of the petition and related documents

11   filed by the Debtor on January 28, 2020, which I printed from the electronic case files of the

12   United States Bankruptcy Court for the Central District of California.

13          4.    Attached hereto as Exhibit C is a true copy of the Schedule H, Schedule I, Schedule

14   J, Chapter 7 Statement of Current Monthly Income, Statement of Exemption from Presumption

15   of Abuse under § 707(b)(2), and Chapter 7 Means Test Calculation filed by the Debtor on

16   February 6, 2020, which I printed from the electronic case files of the United States Bankruptcy

17   Court for the Central District of California.

18          5.    On February 12, 2020, I sent the Debtor a letter requesting that he provide additional

19   information about the Debtor’s and his spouse’s income, the Debtor’s dependents, the car

20   payment listed on Schedule J, whether any foreclosure action was pending as to the Property, a

21   copy of the rental agreement, and copies of bank statements (the “Letter”). The Letter requested

22   a response by February 27, 2020. To date, I have not received any response to the Letter.

23          6.    I also reviewed the recordings for the Debtor’s meeting of creditors held on March

24   9, 2020 and April 24, 2020. The Debtor failed to appear at each of these meetings.

25          7.    Attached hereto as Exhibit D is a true copy of the relief from stay motion filed by

26   Bank of America. on March 17, 2020, which I printed from the electronic case files of the United

27   States Bankruptcy Court for the Central District of California.

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1           8.      Attached hereto as Exhibit E is a true copy of the Court’s electronic docket for the

2    case of In re Afsaneh Doost, case number 1:11-bk-22838-MT, which I printed from the

3    electronic case files of the United States Bankruptcy Court for the Central District of California.

4           9.      Attached hereto as Exhibit F is a true copy of the Court’s electronic docket for the

5    case of In re Afsaneh Doost, case number 1:16-bk-10078-MT, which I printed from the

6    electronic case files of the United States Bankruptcy Court for the Central District of California.

7           10.    Attached hereto as Exhibit G is a true copy of the Court’s electronic docket for the

8    case of In re Afsaneh Doost, case number 1:19-bk-12284-MT, which I printed from the

9    electronic case files of the United States Bankruptcy Court for the Central District of California.

10          I declare under penalty of perjury that the foregoing facts are true and correct.

11   Executed on April 29, 2020, in Los Angeles, California.

12                                                 ____________________________
                                                    Sandra A. Cruz
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                                 Exhibit A
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                                                         Repeat-cacb, RepeatPACER, NOCLOSE


                                  U.S. Bankruptcy Court
                   Central District of California (San Fernando Valley)
                       Bankruptcy Petition #: 1:20-bk-10213-MT
                                                                             Date filed:   01/28/2020
Assigned to: Maureen Tighe                                                 341 meeting:    05/29/2020
Chapter 7                                          Deadline for objecting to discharge:    05/08/2020
Voluntary                                          Deadline for financial mgmt. course:    05/08/2020
No asset


Debtor                                                  represented by Afsaneh Doost
Afsaneh Doost                                                          PRO SE
4567 White Oak Pl
Encino, CA 91316
LOS ANGELES-CA
818-344-5784
SSN / ITIN: xxx-xx-1679

Trustee
David Keith Gottlieb (TR)
16255 Ventura Boulevard, Suite 440
Encino, CA CA 91436
(818) 539-7720

U.S. Trustee
United States Trustee (SV)
915 Wilshire Blvd, Suite 1850
Los Angeles, CA 90017
(213) 894-6811


  Filing Date                   #                                  Docket Text

 01/28/2020                  1                  Chapter 7 Voluntary Petition for Individuals . Fee
                             (43 pgs; 4 docs)   Amount $335 Filed by Afsaneh Doost Schedule I:
                                                Your Income (Form 106I) due 2/11/2020. Schedule
                                                J: Your Expenses (Form 106J) due 2/11/2020.
                                                Chapter 7 Statement of Your Current Monthly
                                                Income (Form 122A-1) Due: 2/11/2020. Statement
                                                of Exemption from Presumption of Abuse (Form
                                                122A-1Supp) Due: 2/11/2020. Chapter 7 Means Test
                                                Calculation (Form 122A-2) Due: 2/11/2020.
                                                Declaration by Debtors as to Whether Income was
                                                Received from an Employer within 60-Days of the
                                                Petition Date (LBR Form F1002-1) due by


                                                                                           000010
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?699984745809737-L_1_0-1                      4/29/2020
CM/ECF - U.S. Bankruptcy Court (v5.2.1 - LIVE)                         Page 2 of 5
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                                              2/11/2020. Verification of Master Mailing List of
                                              Creditors (LBR Form F1007-1) due 2/11/2020.
                                              Incomplete Filings due by 2/11/2020. (Kinsley,
                                              Terri) (Entered: 01/28/2020)

                                              Judge Maureen Tighe added to case due to prior
                                              related case 1:bk-19-12284-MT. (Kinsley, Terri)
 01/28/2020                                   (Entered: 01/28/2020)

                            2                 Meeting of Creditors 341(a) meeting to be held on
                            (3 pgs)           3/9/2020 at 09:30 AM at RM 100, 21041 Burbank
                                              Blvd., Woodland Hills, CA 91367-6003. Cert. of
                                              Financial Management due by 5/8/2020. Last day to
                                              oppose discharge or dischargeability is 5/8/2020.
 01/28/2020                                   (Kinsley, Terri) (Entered: 01/28/2020)

                            3                 Statement About Your Social Security Number
                                              (Official Form 121) Filed by Debtor Afsaneh Doost .
 01/28/2020                                   (Kinsley, Terri) (Entered: 01/28/2020)

                            4                 Certificate of Credit Counseling Filed by Debtor
                            (1 pg)            Afsaneh Doost . (Kinsley, Terri) (Entered:
 01/28/2020                                   01/28/2020)

                                              Receipt of Chapter 7 Filing Fee - $335.00 by 16.
                                              Receipt Number 10075147. (admin) (Entered:
 01/28/2020                                   01/28/2020)

                                              Set Case Commencement Deficiency Deadlines
                                              (def/deforco) (RE: related document(s)1 Voluntary
                                              Petition (Chapter 7) filed by Debtor Afsaneh Doost)
                                              Schedule H: Your Codebtors (Form 106H or 206H)
                                              due 2/11/2020. (Kinsley, Terri) (Entered:
 01/28/2020                                   01/29/2020)

                                              Notice of Debtor's Prior Filings for debtor Afsaneh
                                              Doost Case Number 16-10078, Chapter 7 filed in
                                              California Central Bankruptcy on 01/12/2016; Case
                                              Number 19-12284, Chapter 7 filed in California
                                              Central Bankruptcy on 09/11/2019 , Dismissed for
                                              Other Reason on 12/10/2019; Case Number 11-
                                              22838, Chapter 7 filed in California Central
                                              Bankruptcy on 11/03/2011 , Dismissed for Failure to
                                              File Information on 11/22/2011.(Admin) (Entered:
 01/29/2020                                   01/29/2020)

 01/29/2020                 5
                            (1 pg)


                                                                                       000011
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?699984745809737-L_1_0-1                   4/29/2020
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                                              Request for courtesy Notice of Electronic Filing
                                              (NEF) Filed by Schild, Avi. (Schild, Avi) (Entered:
                                              01/29/2020)

                            6                 Amended ORDER to comply with bankruptcy rule
                            (1 pg)            1007/3015(b) and notice of intent to dismiss case
                                              (BNC) (RE: related document(s)1 Voluntary Petition
                                              (Chapter 7) filed by Debtor Afsaneh Doost)
 01/29/2020                                   (Kinsley, Terri) (Entered: 01/29/2020)

                            7                 BNC Certificate of Notice (RE: related document(s)
                            (4 pgs)           2 Meeting of Creditors Chapter 7 No Asset) No. of
                                              Notices: 11. Notice Date 01/30/2020. (Admin.)
 01/30/2020                                   (Entered: 01/30/2020)

                            8                 BNC Certificate of Notice (RE: related document(s)
                            (2 pgs)           1 Voluntary Petition (Chapter 7) filed by Debtor
                                              Afsaneh Doost) No. of Notices: 1. Notice Date
 01/30/2020                                   01/30/2020. (Admin.) (Entered: 01/30/2020)

                            9                 BNC Certificate of Notice (RE: related document(s)
                            (2 pgs)           1 Voluntary Petition (Chapter 7) filed by Debtor
                                              Afsaneh Doost) No. of Notices: 1. Notice Date
 01/30/2020                                   01/30/2020. (Admin.) (Entered: 01/30/2020)

                            10                BNC Certificate of Notice (RE: related document(s)
                            (2 pgs)           6 Amended ORDER to comply with bankruptcy rule
                                              1007/3015(b) and notice of intent to dismiss case
                                              (Ch 7/13) (BNC)) No. of Notices: 1. Notice Date
 01/31/2020                                   01/31/2020. (Admin.) (Entered: 01/31/2020)

                            11                Schedule H Individual: Your Codebtors (Official
                            (18 pgs)          Form 106H or 206H) , Schedule I Individual: Your
                                              Income (Official Form 106I) , Schedule J: Your
                                              Expenses (Official Form 106J) , Chapter 7 Statement
                                              of Your Current Monthly Income (Official Form
                                              122A-1) (BNC Option) , Exemption is not being
                                              requested. (Official Form 122A-1Supp) , Chapter 7
                                              Means Test Calculation (Official Form 122A-2)
                                              (BNC Option) Filed by Debtor Afsaneh Doost (RE:
                                              related document(s) Set Case Commencement
                                              Deficiency Deadlines (def/deforco)). (Toomer,
 02/06/2020                                   Rosalind) (Entered: 02/06/2020)

 02/06/2020                 12                Declaration by Debtor as to Whether Debtor(s)
                            (1 pg)            Received Income From an Employer Within 60 Days
                                              of Petition (LBR Form F1002-1) Filed by Debtor
                                              Afsaneh Doost (RE: related document(s)1 Voluntary


                                                                                       000012
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?699984745809737-L_1_0-1                   4/29/2020
CM/ECF - U.S. Bankruptcy Court (v5.2.1 - LIVE)                         Page 4 of 5
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                                               Petition (Chapter 7)). (Toomer, Rosalind) (Entered:
                                               02/07/2020)

                            13                 Notice of Change of Address for creditor AWA
                            (2 pgs)            Collections and Behrouz Lalezarzadeh. Filed by
                                               Debtor Afsaneh Doost . (Toomer, Rosalind)
 02/06/2020                                    (Entered: 02/07/2020)

                            14                 Continuance of Meeting of Creditors (Rule 2003(e))
                                               Filed by Trustee David Keith Gottlieb (TR). 341(a)
                                               Meeting Continued to 04/24/2020 at 10:30 AM at
                                               RM 100, 21041 Burbank Blvd., Woodland Hills, CA
                                               91367-6003. (Gottlieb (TR), David) (Entered:
 03/09/2020                                    03/09/2020)

                            15                 Notice of motion and motion for relief from the
                            (64 pgs; 2 docs)   automatic stay with supporting declarations REAL
                                               PROPERTY RE: 4567 White Oak Place, Los
                                               Angeles, CA 91316-4334 . Fee Amount $181, Filed
                                               by Creditor BANK OF AMERICA, N.A.
                                               (Attachments: # 1 Exhibit) (Khil, Christina)
 03/17/2020                                    (Entered: 03/17/2020)

                                               Receipt of Motion for Relief from Stay - Real
                                               Property(1:20-bk-10213-MT) [motion,nmrp]
                                               ( 181.00) Filing Fee. Receipt number 50838535. Fee
                                               amount 181.00. (re: Doc# 15) (U.S. Treasury)
 03/17/2020                                    (Entered: 03/17/2020)

                            16                 Hearing Set (RE: related document(s)15 Motion for
                                               Relief from Stay - Real Property filed by Creditor
                                               BANK OF AMERICA, N.A.) The Hearing date is
                                               set for 4/8/2020 at 10:00 AM at Crtrm 302, 21041
                                               Burbank Blvd, Woodland Hills, CA 91367. The case
                                               judge is Maureen Tighe (Gonzalez, Emma) (Entered:
 03/17/2020                                    03/17/2020)

                            17                 Order Granting Motion for relief from the automatic
                            (4 pgs)            stay REAL PROPERTY (BNC-PDF) (Related Doc #
                                               15 ) Signed on 4/9/2020 (Gonzalez, Emma)
 04/09/2020                                    (Entered: 04/09/2020)

                            18                 BNC Certificate of Notice - PDF Document. (RE:
                            (5 pgs)            related document(s)17 Motion for relief from the
                                               automatic stay REAL PROPERTY (BNC-PDF)) No.
                                               of Notices: 1. Notice Date 04/11/2020. (Admin.)
 04/11/2020                                    (Entered: 04/11/2020)



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 04/27/2020                    19                  Continuance of Meeting of Creditors (Rule 2003(e))
                                                   Filed by Trustee David Keith Gottlieb (TR). 341(a)
                                                   meeting to be held on 05/29/2020 at 10:30 AM
                                                   (check with U.S. Trustee for location). (Gottlieb
                                                   (TR), David) (Entered: 04/27/2020)

                               20                  Notice of Requirement to Complete Course in
                               (3 pgs)             Financial Management (Auto VAN-105) (BNC).
 04/27/2020                                        (AutoDocket, User) (Entered: 04/27/2020)




                                         PACER Service Center
                                           Transaction Receipt
                                             04/29/2020 09:04:20
                    PACER                                    Client
                                    du7383:3254625:4299065
                    Login:                                   Code:
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                                 Exhibit B
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                                                                                                                       FILE D
 United States BankruptcyCourtforthe:
 CENTRALDISTRICT OF CALIFORNIA                                                                                      JAN 23 2222
 Case number(i
             fknown)                                                 chapteryouarefil
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                                                                     E1Chapter11
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O fficialForm 101
Volunta               Petition forIndividuals Filing forBankruptcy                                                                     12/17
The bankruptcyforms useyou and Debtor1 to referto a debtorfiling alone. A marriedcouplemayfileabankruptcycasetogether- called ajoint
case-andinjointcases,theseformsuseyoutoaskforinformati        onfrom bothdebtors.Forexample,ifaform asks, $dDo you own a car,''the answer
would be yes ifeitherdebtorowns a car.W hen information is needed aboutthespouses separately,the form uses Debt
                                                                                                              or1and Debtor2 todistinguish
betweenthem.Injointcases,oneofthespousesmustreportinformati        onasDebtor1andtheotherasDebtor2. The same person mustbe Debtor1in
allofthe forms.
Beascompleteand accurate as possible.Iftwo married people are filing together, both are equally responsibleforsupplying correctinformation. lf
morespace is needed,attach a separatesheetto thisform . Onthetopofanyaddi    tionalpages,writeyournameandcasenumber(ifknown).Answer
every question.

 &.
           ldentify Yourself

                                 AboutDebtor1:                                          AboutDebtor2(SpouseOnlyinaJointCase):
      Yourfullnam e

      W ri
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      yourgovernment-issued      Firstname
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      example,yourdriver's
      Iicenseorpassport).        ui
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          ngwiththetrustee.       astnameandSuffi
                                                x(Sr.,Jr.,Il,111)                       LastnameandSuffi
                                                                                                       x(Sr.,Jr.,1l,111)


2. AIIothernames you have
   used in thelast8 years
   Include yourmarried or
   maiden names.


3. Onlythe Iast4 digitsof
   yourSocialSecurity
      numberorfederal            xxx-xx-1679
      Indi
         vidualTaxpayer
      Identification number
      (1TlN)




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Debtor1 Afsaneh Doost                                                                       Case number(
                                                                                                       ifknown)



                               AboutDebtor1:                                            AboutDebtor2(SpouseOnlyinaJointCase):
4. Any business namesand
   Em ployerI
            dentifi
                  cation
     Numbers(E1N)youhave K IhavenotusedanybusinessnameorEINs.                           D IhavenotusedanybusinessnameorEINs.
     used in theIast8 years
     Include trade names and   Businessnamets)                                         Businessnamels)
     doingbusinessasnames




5. W hereyou Iive                                                                      lfDebtor2 Iivesata differentaddress:

                               4567W hite OakPlace
                               Encino,CA 91316
                               Number,Street,City,State & ZIP Code                     Number, Street,City,State& ZIP Code
                               Los Angeles
                               County
                               Ifyourmailing address is differentfrom the one          IfDebtor2's mailing address is di
                                                                                                                       fferentfrom yours,fillit
                               above,fillitin here.Notethatthecoud willsend any        in here.Notethatthe coud wilsend any noticesto thi
                                                                                                                                        s
                               noti
                                  cestoyou atthismailing address.                      mailing address.


                               Number,P.O.Box,Street,City, State& ZIP Code             Number, P.O .Box,Street,City,State & ZlP Code




6. W hyyou are choosing        Check one:                                              Checkone:
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                                    otherdistrict.                                          district.

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                                  Explain.(See28U.S.C.j1408.)                               Expl
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  cialForm 101                          Voluntary PetitionforIndividuals Filing forBankruptcy                                          gage 2
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 Debtor1 Afsaneh Doost                                                                               Case number(ifknown)

 -
     ,        Tellthe CourtAboutYourBankruptcy Case
 7. The chapt
    Bankruptcer
              yCofthe      Check one. (Forabriefdescriptionofeach,seeNoticeRequi
                                                                               redby 11U.S.C.#342+)forIndividualsFilingforBankruptcy
                 odeyouare (Form 2010)).Also,gotothetopofpage1andchecktheappropriatebox.
    choosing tofile under
                                   K Chapter-
                                            1
                                   Q Chapter11
                                   Q chapter12
                                   D chapter13

8. How youwillpaythefee 1                 IwillpaytheentirefeewhenIfilemypetition. Please checkwith the clerk'soffice inyourIocalcourtformore details
                                          ab outhow youmaypay.Typically, ifyouare paying the feeyoursel
                                          order                                                         f, you maypaywi thcash,cashi er'scheck, ormoney
                                               .Ifyourattorneyissubmi
                                                                    ttingyourpaymentonyourbehal    f, youratt orney maypay witha creditcard orcheckwi  th
                                          a pre-printed addfess.
                                   D      Ineedtopaythefeeininstallments.I   fyouchoosethi  soption, sign and attachtheApplication forIndividualsto Pay
                                          TheFi lingFeeinInstall  ments(OfficialForm 103A).
                                   D      butisnotrequiredto,waivwa
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                                            eAppl  icationtoHavetheChapter7Fi     lingFeeYa/v'ed(OëcialForm 103B)and5Ieitwithyourpetiti on.

9. Haveyoufiledfor                 Q No.
   bankruptcywithin the
   last8years?                     K Yes.
                                              Distrid CDCA-SFV                     W hen   9/11/19              Case number 1:19-bk-12284MT
                                              District CDCA-SV                     W hen   1/12/16              Case number 1:16-bk-10078
                                              District SeeAttachment               W hen                        Casenumber


10. Areanybankruptcy               . No
         casespendingorbeinj
         f
          iled byaspousewhoIs IZIYes.
         notfiling this casewith
         you,orbya business
         partner,orby an
         affiliate?
                                              Debtor                                                           Relationshipto you
                                              District                             W hen                       Case number, ifknown
                                              Debtor                                                           Relationshiptoycu            .

                                              Distri
                                                   d                               W hen                       Case number, ifknown




                                               HasyourIandlordobtainedanevidionjudgmentagainstyou?
                                                         No.Go to Iine 12.
                                                         Yes.Fi
                                                              lloutInitialStatementAboutanEvictionJudgmentAgainstYou(Form 101A)andfI
                                                                                                                                   eitaspartof
                                                         thisbankruptcypetition.




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     alForm 101                              Voluntary Petition forIndividuals Filing forBankruptcy                                             Pa9e3
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 Debtor1 Afsaneh Doost                                                                               Case num ber(ifknown)

 --
              ReportAboutAny BusinessesYou Own asa Sole Proprietor
 12.Areyouasoleproqrietor
       ofanyfull-orpart-tlme      1 No.       G0 to Pad4.
       business?
                                  (
                                  :1yes.      NameandIocationofbusi
                                                                  ness
      A sole proprietorship isa
      businessycu operate as
      anindi vidual,and isnqta
      separate Iegalentitysuch
      asa corporation,
      partnership,orLLC.
      lfyouhavemore thanone                   Number,Street,Ci
                                                             ty,State & ZIP Code
      sole proprietorship,usea
      separate sheetand attach
      itto thi
             s peti
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                   on.                        Checktheappropriate box to describeyourbusi
                                                                                        ness:
                                              (Z1       HeaIthCareBusi ness(asdefi
                                                                                 nedin11U.S.C.5 101(27A))
                                              Z1        SingleAssetRealEstate(asdefinedin11U.S.C.j101(51B))
                                              E:1       Stockbroker(asdefinedin11U.S.C,j101(53A))
                                              I
                                              ZI        Commodi tyBroker(asdefinedi
                                                                                  n11U. S.C.5101(6))
                                              (Zl       Noneoftheabove
13. Are you filing under  pfyouare l#r)g underChapter11, the cotzrlmustknow whetheryou are asmallbusi   ness debtorso thatitcan setappropriate
    Chapt
    BankruptcyCodeand are deadl
          er11   ofthe         ines. I
                                     fyou indi
                                             catethatyouare asmal   lbusinessdebtor, youmustattachyourmostrecentbalance sheet, statementof
                          operations,cash-flow statement, andfederalincome tax return orifanyofthese documentsdo notexist, follow the procedure
      #ouasmallbusiness           in11U.S.
                                         C.1116(1)(B).
      debtor?
                                  . No       Iam notslingunderChapter11.
      Foradefinitionofsmall           '
      bu
      U sinessdebtor,see 11       D No       Iamefi
                                                  ling underChapter11,butIam NOT a smallbusinessdebtoraccordi
                                                                                                            ng to the defini
                                                                                                                           ti
                                                                                                                            oninthe Bankruptcy
          S.C.j1O1(51D).
          .                           '      Cod    .



                                  D Yes.     lam fi
                                                  lingunderChapter11andIam asmallbusinessdebtoraccordingtothedefini
                                                                                                                  ti
                                                                                                                   oni
                                                                                                                     ntheBankruptcyCode.

*.    .       ReportifYou OwnorHave Any Hazardous Property orAny Property ThatNeeds Immediate Attention
14. Doyouownorhaveany . xo
      property thatposes oris         '
      allegedto poseathreat C1Yes.
      ofimminentand                        W hatisthe hazard?
      identifiabl
                e hazard to
      public health orsafety?
      Ordo you own any
      F ropertythatneeds
      lm m ediate attention?
                                           I
                                           fimmediateattentionis
                                           needed,whyis itneeded?
      Forexample,do youown
      perishablegoods,or
      Iivestockthatmustbe fed,             W here is the propedy?
      orabuilding thatneeds
      urgentrepairs?
                                                                      Number,Street,City,State & Zip Code




                                                                                                                             000018
OfficialForm 101                            Voluntary Petition forlndividuals Filing forBankruptcy
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Debtor1 Afsaneh Doost                                                                           Case number(ifknown)
*
    -       ExplainYourEfforts to Receive a Bri
                                              efing AboutCreditCounseling
                                   AboutDebtor1:                                            AboutDebtor2(SpouseOnlyinaJointCase);
15. Tellthe coud whether           Youmustcheckone:                                         You mustcheckone:
        youhavereceiveda           . Ireceivedabri
                                                 efingfrom anapprovedcredit                 IZI Ireceivedabriefingfrom anapprovedcredit
        briefing aboutcredit           counseling agency wi  thinthe 180days before I           counseling agencywithin the 180 days before lfiled
        counseling.                    filed this bankruptcy petition,and Irecei
                                                                               ved a            this bankruptcy petition,and Ireceived a certificate of
                                       certificate ofcompletion.                                completion.
        The Iaw requiresthatyou
        receive a briefing about       Attach acopyofthe cedificate and the payment             Attacha copyofthe certi
                                                                                                                      ficate andthe paymentpl
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        creditcounseling before        pl an,ifany,thatyoudevelopedwith the agency.             any,thatyoudeveloped withthe agency.
        youfile forbankruptcy.
        Youmusttruthfullycheck Q Ireceived a briefingfrom an approved credit                Q Ireceivedabri
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        one ofthe fcllowing             counseling agency wi  thin the 180 days before I        counseling agency within the 180 days before Ifil
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        choices.Ifyou cannotdo          filed this bankruptcy petition,butIdo nothave           thi
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                                                                                                                  tion,butIdo nothavea certificate
        so,youare ncteli gibleto        acertificate ofcompleti on.                             ofcompl etion.
        file.
                                        W ithin 14 daysafteryoufile thisbankruptcy              W ithin 14days afteryoufile this bankruptcypetition, you
        lfyoufile anyway,thecourt       petiti
                                             on,youMUST filea copy ofthe certificate and        MUST filea copy ofthe certiscateand paymentplan, if
        can dismiss yourcase,you        paymentplan,ifany.                                      any.
        willIosewhateverfil  ing fee
        you paid,andyour             El IcertifythatIaskedforcredi    tcounseling           D lcertifythatIaskedforcreditcounselingservices
        creditorscanbegin               servicesfrom an approved agency,butwas                  from an approved agency,butwas unableto obtain
        collectionactivitiesagain.      unableto obtain those services during the 7             those services during the7 days afterImade my
                                        days afterImade my request,and exigent                  request,and exigentcircumstances merita30-day
                                        circumstances merita 30-daytemporary waiver             temporarywaiverofthe requirement.
                                        ofthe requirement.
                                                                                                To askfora 30-daytemporarywai    verofthe requirement,
                                       To askfora 30-daytemporarywaiverofthe                    attacha separate sheetexplaining whateffortsyoumade
                                       requirement,attacha separate sheetexpl aining            toGbtainthebriefing,whyyouwere unabletocbtain i   t
                                       whateffodsyou madetoobtainthe bri  efing,why             beforeyoufiledforbankruptcy,andwhatexi   gent
                                       youwere unableto obtain itbeforeyoufiled for             circumstances required youto filethiscase.
                                       bankruptcy,and whatexigentcircumstances
                                       requiredyouto5Iethiscase.                                Yourcase may be dismissed ifthe coud isdissatisfied
                                                                                                wi thyourreasonsfornotreceivinga briefi
                                                                                                                                      ng beforeyou
                                       Yourcase maybe dismissed ifthecoudis                     filed forbankruptcy.
                                       dissatisfi
                                                edwithyourreasonsfornotrecei   ving a
                                       briefing before youfiled forbankruptcy.                  Ifthe courtissatisfiedwith yourreasons,youmuststill
                                       Ifthe courtissatisfied withyourreasons,you must          receive a briefing within 30 daysafteryoufile.You must
                                       stillreceivea briefi
                                                          ngwi thin 30 daysaft
                                                                             eryoufile.         fi
                                                                                                 lea cedificatefrom the approved agency,along wi  tha
                                       Youmustfile acedificate from the approved                copyofthe paymentplanyoudeveloped,ifany.Ifyou do
                                       agency,alongwith acopyofthepaymentplanyou                notdoso,yourcase maybe di       smissed.
                                       developed,i  fany.Ifyoudo notdoso,yourcase
                                       maybedismissed.                                          Any extensionofthe 30-day deadline isgrantedonlyfor
                                                                                                cause and isIimited toa maximum of15days.
                                       Anyextension ofthe 3o-daydeadline isgranted
                                       onlyforcauseand islimitedto a maxi
                                                                        m um of15
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                                           tcounseling because of:                              counseling because of:
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                                                    ty.                                         I::1 lncapacity.
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                                             thatmakesme i  ncapable ofreali
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                                       I
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                                           sability.                                            IZI Disabili
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                                             unableto participate ina bri
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                                                                                                                      efing inperson, by phone,or
                                             byphone,orthroughthe internet,evenafterI                throughthe internet, evenafterIreasonablytried to
                                             reasonablytried to do so.                               doso.

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                                       Ifyoubelieve you are notrequired to recei
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                                                                                                         eve youare notrequired to receive abri efing
                                       briefing aboutcredi
                                                         tcounsel ing,you mustfil ea            aboutcreditcounseling, youmustfilea moti   onforwai ver
                                       motionforwai  vercredi
                                                            tcounselingwiththe court.           ofcreditcounselingwith the court.




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Oli
  cialForm 101                               Voluntary Petition forIndivi
                                                                        duals Filing forBankruptcy                                           page5
                Case
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Debtor1 Afsaneh Doost                                                                                Case number(ifknown)
+.      .    AnswerThese Questions forReporting Purposes
16. W hatkind ofdebe do            16a.      Are yourdebts primarilyconsumerdebts? Consumerdebtsare desned in 11U.S.C.j10148)as'i
                                                                                                                                ncurredbyan
    you have?                                i
                                             ndividualprimaril
                                                             yforapersonal
                                                                         ,famil
                                                                              y,orhousehol
                                                                                         d purpose.'
                                             I
                                             ZINo.GotoI
                                                      ine 16b.
                                             K Yes. Goto Iine 17.
                                   16b.      Areyourdeb? primarily business debl? Businessdebtsare debtsthatyou incurredtoobtain
                                             moneyforabusinessorinvestmentorthroughthe operationofthebusinessorinvestment.
                                             Q No.GotoIine16c.
                                             Q Yes.GotoIine17.
                                             State the typeofdebtsyou owethatare notconsumerdebtsorbusinessdebts


17. Areyoufiling under             (Z)No. lam notfil
                                                   ingunderChapter7.GotoIi
                                                                         ne18.
    Chapter7:2

        Doyouestimatethat          . yes Iam fil
                                               ingunderChapter7.Doyouestimatethatafteranyexemptpropedyisexcludedandadmini
                                                                                                                        strati
                                                                                                                             veexpenses
        afterany exem pt                  ' are paidthatfundswillbe available to distributeto unsecured creditors?
        property is excluded and
        administrativeexpenses               . No
        are paid thatfunds w ill
        beavailablefor                       I
                                             ZIYes
        distributionto unsecured
        creditors?

18. How manyCreditorsdo            . j.4g                                     L 1,c00-5,000                          D 25,001-50,000
    you?
    oweestimatethatyou             I
                                   ZI50-99                                    (uj5cc1-1c,
                                                                                        cco                          IZI5o,coj-lco,cco
                                   I
                                   ZI100-199                                  Z 10,001-25,000                        I
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                                   Q 200-999
19. How muchdoyou                  I
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    es
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    to   e?teyourIiabilities       (uj$5c'cc1. $1cc,coo                       z Sjc
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    .       Sign Below
Foryou                             Ihaveexaminedthi
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                                                      tion,and Idecl           tyofperjurythattheinformati
                                                                                                         onprovi
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                                   IfIhave chosen to5Ie underChapter7,Iam aware thatImay proceed, ifeligible,underChapter7,11,12,or13 oftitle 11,
                                   United StatesCode.Iunderstandthe reliefavailable undereachchapter, and lchoose to proceed underChapter7.
                                   I
                                   fnoattorneyrepresentsme and ldid notpayoragree to paysomeone who i  s notan adorney to hel
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                                   document,Ihave obtainedand read the notice requiredby 11 U.S.
                                                                                               C.j342(b).
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                                                                                      ted States Code, specified inthispetition.
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                                                                                  m prisonmentforupto 20 years,orb0th. 18U.S.C.jj152,1341,1519,
                                   a 571.        UA
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                                   Afsaneh       st
                                   SignatureofDebtor1

                                   Executedon Januar
                                              MM/DDy/28
                                                     YJY2020
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   cialForm 101                               Voluntary Petition forIndividuals Filing forBankruptcy                                        Pa9e 6
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Debtor1 Afsaneh Doost                                                                          Case number(
                                                                                                          ifknown)


Foryou ifyouarefilingthis    The Iaw allowsyou,asanindividual, to representyoursel
                                                                                 finbankruptcy coud,butyou should understand thatmany
bankruptcy withoutan         people find itextremely difficultto representthemselvessuccessfully. Because bankruptcy has Iong-term
attorney                     financialand legalconsequences,you arestrongly urged to hire a qualifiedattorney.
Ifyou arerepresented byan    To besuccessful,youmustcorrectlyfileand handle yourbankruptcycase. The rules areverytechnical, and a mistake or
attorney,you do notneed to   inaction mayasectyourrights.Forexample,yourcase maybe di       smissed because youdi d notfilea required document,
file thi
       s page.               payafee on time,attenda meeting orhearing,orcooperate wi    ththe court, casetrustee,U.S.trustee,bankruptcy
                             administrator,orauditfirm ifyourcase isselected foraudit. I
                                                                                       fthathappens,youcould I  oseyourri ghttofil
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                                  culardebtoutside ofyourbankruptcy,youmustIistthatdebtin yourschedules. Ifyoudo notIi stadebt,the debtmay
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                                              e withoutan attorney,the courtexpectsyoutofollow therules asifyou had hi red an attorney. The cotlrt
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                                                                                                         , you mustbe f
                                                                                                                      amiliarwiththe Uni ted
                             StatesBankruptcyCode,the FederalRules ofBankruptcy Procedure,andthe Iocalrulesofthe courtinwhich yourcase is
                             fil
                               ed.You mustal  so be familiarwi
                                                             thanystate exemption Iawsthatappl   y.
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                             K Yes
                             Are youawarethatbankruptcyfraud isaseriouscrime andthatifyourbankruptcyformsare inaccurate orincomplete, you
                             could be fined orimprisoned?
                             (Z1Nc
                             K Yes

                             Didyoupayoragree to paysomeone who i
                                                                s notanattorneyto helpyoufi
                                                                                          lloutyourbankruptcyforms?
                             Q No
                             K Yes          Name ofPerson Afsaneh Doost
                                            AttachBankruptcyPetitionPreparer'               on,andSignature(Offi
                                                                            sNotice,Declarati                  cialForm 119).
                             By signing here,IacknowledgethatIunderstand the ri
                                                                              sksinvolved infil
                                                                                              ing wi
                                                                                                   thoutanattorney. Ihave readand understood
                             thisnotice,and Iam aware thatfili
                                                             nga bankruptcycase wi
                                                                                 thoutan attorney maycause meto Iose myri  ghts orproperty i
                                                                                                                                           fIdo
                             not        y andlethe ca .
                             Afs ne           -                                         Signature ofDebtor2
                             Signature ofDebtor1

                             Date January 28,2020                                       Date
                                    M M /DD /YYYY                                              MM /DD /YYYY
                             Contactphone                                               Contactphone
                             Cellphone                                                  Cellphone
                             Emailaddress                                               Emailaddress




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   cialForm 1O1                                               vidualsFilingforBankruptcy
                                       VoluntaryPetitionforIndi                                                                            Page 8
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    Debtor1 Afsaneh Doost                                                                 Case number(ifknown)

                @   . #   @ #*   @   *


f
    Debtor1          Afsaneh Doost
                     FlrstName           Mlddl
                                             e Name              LastName
    Debtor2
t
(Spousei
1
       fhlng)
United StatesBankruptcyCourtforthe: CENTRAL DISTRICT OF CALIFORNI
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Case number
(1fknown)
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                                            FO ltM 101.V O LUN TAR Y PETITIO N
                                          Prior B anltruptcy Cases Filed Attachm ent

Elistrict                                                   CaseN um ber                      Date Filed
CDCA-SFV                                                    1:19-bk-12284MT                    9/11/19
CDCA-SV                                                     1:16-bk-10078                      1/12/16
CDCA-SFV                                                    1:11-bk-22838                     11/03/11




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     alForm 101                      Voluntary Petition forIndividuals Filing forBankruptcy                                       X ge 9
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                           STATEM ENT O F RELATED CA SES
                        INFO RM ATIO N REQ UIRED BY LBR 1015-2
         UNITED STATES BANKRUPTCY CO URT,CENTRAL DISTRICT O F CA LIFO RNIA
1. A peti
        tion underthe Bankruptcy Actof1898 orthe Bankruptcy Reform Actof1978 has previously been filed by or
   against the debtor, his/her spouse,his or her currentor former dom estic padner, an affiliate ofthe debtor,any
   copartnership orjointventure ofwhich debtoris orformerly was a generalorIimited padner,ormember,orany
   corporationofwhich the debtoris a director,officer,orperson incontrol,asfollows:(Setforththe compl
                                                                                                    ete number
   and title of each such of prior proceeding,date filed,nature thereof,the Bankruptcy Judge and coud to whom
   assi
      gned!whetherstillpending and,ifnot,the disposition thereof.Ifnone,so indicate.Also, Iistany realpropedy
   included InScheduleA/B thatwasfiledwi
                                       thanysuchpriorproceedingtsl.)
Please see pacerprintoutattached

2. (Ifpeti
         tioneris a padnership orjointventure)A petition underthe BankruptcyActof1898 orthe Bankruptcy Reform
   Actof1978 has previously been fil
                                   ed by oragainstthe debtororan affiliate ofthe debtor, ora generalpartnerin the
   debtor,a rel
              ative ofthe generalpadner,generalpartnerof,orperson in controlofthe debtor, padnership in which the
   debtorisa generalpadner,generalpadnerofthe debtor,orperson incontrolofthe debtorasfollows:(Setfodh the
   com plete numberand ti
                        tle ofeach such pri
                                          orproceeding,date filed,nature ofthe proceeding,the Bankruptcy Judge
   and courtto whom assigned,whetherstillpending and,ifnot,the disposition thereof.Ifnone,so indicate. Also,Iist
   any realproperty includedin ScheduleA/Bthatwasfil
                                                   edwithanysuchpriorproceedingtsl.)
NONE

   (Ifpetitioneri
                s acorporation)A petitionunderthe BankruptcyActof1898 orthe Bankruptcy Reform Actof1978 has
   previ
       ously been filed by oragainstthe debtor,orany ofi ts affiliates orsubsidiaries,a directorofthe debtor,an officer
   ofthe debtor,a person in controlofthe debtor,a padnership in which the debtoris generalpadner,a generalpadner
   ofthe debtor,a relati
                       ve ofthe generalpartner,director,o#icer,orperson in controlofthe debtor,orany persons,firms
   orcorporations owning 20% ormore ofits voting stockasfollows:(Setforth the complete numberand title ofeach
   such priorproceeding,date filed,nature ofproceeding,the Bankruptcy Judge and coud to whom assigned,whether
   stillpending,and i
                    fnot,the disposition thereof.Ifnone,so indi
                                                              cate.Also,Iistany realpropedy included in Schedule
   A/B thatwasfiledwithanysuchpri
                                orproceedingtsl.)
NO NE

   (Ifpetitionerisan indi
                        vidual)A peti
                                    tionunderthe Bankruptcy Reform Actof1978,includingamendmentsthereof,has
   beenfiledbyoragainstthedebtorwithinthe Iast180days:(Setforththecomplete numberandtitle ofeachsuch prior
   proceeding,date filed, nature of proceeding,the Bankruptcy Judge and coud to whom assigned,whether still
   pending,and i
               fnot,the disposition thereof.Ifnone,so indi
                                                         cate.Also,Ii
                                                                    stany realpropedy included in Schedule A/B
   thatwasfiledwithanysuchpriorproceedingtsl.)
NO NE

Ideclare,underpenaltyofperjury,thattheforegoingistrue andcorrect.
Executed at Encino                                             California.                  yz.
                                                                                              l-NA       .,
                                                                                                          .
                                                                                                          ;
                                                                                                          '
                                                           ,
                                                                                         Afsaneh Dooèt
Date:        January28,2020                                                              Signature ofDebtor1


                                                                                         Signature ofDebtor2




              Thisform is mandatory.lthasbeen approved foruse inthe United StatesBankruptcy Courtforthe CentralDistrictofCalifornia.
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  oberzoln                                                                         F IOIS-Z.I.STM T.R ELA 000023
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                                                             of170
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 Debtor1                    Afsaneh Doost
                            FlrstName                           MiddleName                          LastName
 Debtor2
 (Spouse1f.flltng)
 UnitedStatesBankruptcyCoud forthe:                      CENTRALDISTRICT OF CALIFORNIA

Case number
(ifknown)                                                                                                                                                     IZI Checkifthisisan
                                                                                                                                                                 amended filing


OfficialForm 106Sum
Sum m ary ofYourAssets and Liabilities and Certain StatisticalInform ation                                     12/15
Be ascompleteandaccurateaspossibele
information.FilloutalIofyourschedul
                                    .lftwomarriedpeoplearefilingtogether,bothareequall  yresjonsibleforsupplyingcorrect
                                   sfirst;thencompletethe information onthis form.lfyouarefillng amended schedules afteryou file
youroriginalforms,you mustfillouta new Summary and checkthe box atthe top ofthis page.
 *-
               SummarizeYourAssets

                                                                                                                                                                Yourassel
                                                                                                                                                                Value ofwhatyouown
         i;cheduIe/$/E!:F'rllp)erty(()f5cialForrn106/$/E!)
         1a.(1opy I
                  ine 55,lrotalreaIestate,frorn 69cheduI
                                                       eN B................................................................................................      $        1,550,000.00

                                                                                                                                                                 $            13,093.00
         1c.CcpyIine63,TotalofaIIpropedyon ScheduleN B...............................................................................................           $         1,563,093.00
 *-            Sum marizeYourLiabilities

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         scheduleD.
                  'creditorswhoHaveclaimssecuredbyProperty(offici alForm 106D)
         2a.copythetotalyou li
                             sted i                    m ,atthebottom ofthe lastpage ofPad 1ofSchedul
                                  n ColumnA,Amountofclai                                            e D...                                                      $         1,493,000.00
         Schedule8.
                  /8.
                    'Credit
                          orskv/?0HaveUnsecuredClai
                                                  ms(OfficialForm 106E/F)
         3a.Copy thetotalcl
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                                            tyunsecuredclaims)from li
                                                                    ne6eofScheduleE/F.................................                                          $                    0.00

         3b.Copy thetotalcl
                          aimsfrom Part2(nonpri
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                                                                                                                                 YourtotalIiabiliti
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 -
     .         summari
                     ze YourIncome and Expenses
         schedule1.vourIncome(officialForm 1061)
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         Schedul
               eJ.
                 'YourExpenses(Ofici
                                   alForm 106J)
         Copyyourmonthlyexpensesfrom Ii
                                      ne 22cofScheduleJ................................................,............,,,..........                               $             10,587.00
 *.
         z     AnswerThese Questions forAdministrativeand StatisticalRecords
         Are you filingforbankruptcyunderChapters7,11,or13?
         Q No.Youhavenothi
                         ngtorepodonthi
                                      spadoftheform.Checkthi
                                                           sboxandsubmi
                                                                      tthisform tothecourtwithyourotherschedules.
         K     Yes
         Whatkind ofdebtdo you have?

         K Yourdebtsareprimarilyconsumerdebts.Consumerdebtsarethose'i
                                                                    ncurredbyani
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                                                                                   dualprimarilyforapersonal,famil
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               householdpurpose.                        nes8-% forstati
                               ''11U.S.C.j101(8).FiloutIi             sti
                                                                        calpurposes.28U.S.C.j159.
         D Yourdeb/ arenotprimarilyconsumerdebts.Youhavenothingtorepodonthi
                                                                          spadoftheform.Checkthisboxandsubmi
                                                                                                           tthisform to
            the coudwithyourotherschedules.
 OfficialForm 106Sum              SummaryofYourAssel and Liabilities and Certain StatisticalInformation                                                               page 1of2
SoftwareCopyrlght(c)1996-2019BestCase LLC -www.bestcase.com                                                                                                           BestCaseBankruptcy
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                                                             40
 Debtor1 Afsaneh Doost                               Casenumber(ifknown)
       From the statementofYourcurrentMonthly lncom e:copy yourtotalcurrentmonthlyincome from Offi
                                                                                                 cialForm
       122A-1Li
              ne 11,. OR, Form 1228 Line 11.
                                           ,OR,Form 122C-1 Line 14.                                                  $            5'980.00

      copy t:efollowing specialcategori
                                      es ofclaimsfrom Part4,Iine 6 ofSchedule & F:

                                                                                               Tol l'claim
      From Part4onSchedule& & copythefollowing:
      9a.Domesticsuppodobli
                          gations(CopyI
                                      ine6a.)                                                  $              0.00
      9b.Taxesandcertai
                      notherdebtsyouowethegovernment.(CopyIi
                                                           ne6b.)                              $              0.00
      9c.Claimsfordeathorpersonalinjurywhil
                                          eyouwereintoxicated.(CopyIine6c.)                     $             0.00
      9d.StudentIoans.(CopyIine6f.)                                                            $              0.00
      9e.Obligationsarising outofa separationagreementordivorcethatyotldid notrepod as
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            ori
              tyclai
                   ms.(Copyline6g.)                                                            $              0.00
      9f.Debtstopensionorprofit-sharingpl
                                        ans,andothersimil
                                                        ardebts.(CopyIine6h.
                                                                           )                   +$             0.00

      9g.Total.Add Iines9a through9f.                                                      $                 0.00




Offi
   cialForm 106Sum                         Summary ofYourAssets and Li
                                                                     abilities and Certain Stati
                                                                                               sticalInformation                   page 2of2
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 Debtor1                       Afsaneh Doost
                               FlrstName                              M iddleName                            LastName
Debtor2
(Spouse,lfflling)
 United StatesBankruptcyCoud forthe: CENTRAL DISTRICT OF CALIFORNIA

Casenumber                                                                                                                                                                 IZI checki
                                                                                                                                                                                    fthisisan
                                                                                                                                                                                amended filing


O#icialForm 106 B
     chedule /B :Prope y                                                                                                                                                       12/1s
ln each category,separately Iistand describe items.Listan assetonlyonce. Ifan assetfits in more than onecategory,Iistthe assetin thecategory where you
thinkitfitsbest.Beascompleteandaccurateaspossible.lftwo marriedpeoplearefilingtogether,bothareequallyresponsibleforsupplyingcorrect
information.I
            fmorespacei
                      s needed,attachaseparatesheettothisform.Onthetopofanyadditi
                                                                                onalpages,wri
                                                                                            teyournameand casenumber(i
                                                                                                                     fknown).
Answereveryquestion.
 *
     .        Describe Each Residence,Building,Land,orOtherRealEstate You Own orHave an InterestIn
1.Do you own orhaveany legalorequitable interestin any residence,building,Iand,orsimilarpropedy?
     EINo.Gotopart2
     K ves w hereisthepropedy?
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          Streetaddress.ifavailable orotherdescriptlon
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                                                                                                                                                    Credi
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                                                                                    E1 Condominium orcooperative
                                                                                    D Manufacturedormobi  l
                                                                                                          ehome                                     Currentvalue ofthe    Currentvalue ofthe
          Encino                            CA        91316-0000                    Q Land                                                          entireproperty?       portionyouown?
          Clty                              State           ZlP Code                I
                                                                                    ZI Investmentproperty                                                $1,550,000.00          $1,550,000.00
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                                                                                    ZI Timeshare
                                                                                    Q Other                                                         Describethenatureofyourownershipi nterest
                                                                                                                                                    (suchasfeesimple,tenancybytheentireties,or
                                                                                 who hasaninterestintheproperty?checkone                            aIifeestate),ifknown.
                                                                                   K Debtor1onl y                                                   Fee sim ple
          Los Angeles                                                             D Debt or2onl y
          County                                                                  IZI Debt
                                                                                         or1andDebtor2onl  y
                                                                                  Z                                                                 D checkifthisiscommuni
                                                                                                                                                                         typroperty
                                                                                       Atleastoneofthe debtorsand another            (seeInstructions)
                                                                                 Otherinformation you wish to add aboutthis item,such as Iocal
                                                                                 propedy identification number:




2. Add the dollarvalue ofthe portion you own foraIIofyourentries from Part1,including any entriesfor
         r)lj(1(,6$y()tl9111h/tr1,ttll().1(,(1fllrF>11rt1.hliri
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 *.           Describe YourVehicles

Do youown,Iease,orhave Iegalorequitabl  e interestinany vehicl
                                                             es,whethertheyare registered ornot? Incl ude anyvehi
                                                                                                                clesyouownthat
someoneelse dri
              ves.Ifyou I
                        ease avehicl
                                   e,alsoreportiton Schedule G:ExecutoryContracts and Unexpired Leases.
3.Cars,vans,trucks,tractors,sportutilityvehicles,motorcycles

     K No
     EZIYes


OfficialForm 1O6A/B                                                                    Schedul
                                                                                             eA/B:Property                                                                                  page 1
SoftwareCopyright(c)1996-2019BestCase LLC -www.bestcaseacom                                                                                                                       BestCaseBankruptcy
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            Case
            Case1:20-bk-10213-MT
                 1:20-bk-10213-MT Doc
                                   Doc21
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                                       Document PagePage29
                                                         13of
                                                            of170
                                                               40
 Debtor1          Afsaneh Doost
4.W atercraft,aircraft!motorhomes,ATVSand otherrecreationalvehicles,othervehicles,and accessories
  Examples:Boats,trallers,motors,personalwatercraft,fishing vessels,snowmobiles,motorcycleaccessories

   K No
   (:1Yes


 5 Add the dollarvalueofthe portion you own foraIIofyourentries from Part2,including anyentriesfor
   .r
    )1!()(,E;y()tl@11th/fh1jttll(;01()tlftlrF'11rt2.11:rittht81lltrltlrrlk)i,r.1(,re................-............................................................zz).                $0.00
 *.
            DescribeYourPersonaland Household Items
 Do you own orhaveany Iegalorequitable interestin any ofthe following items?                                                                                            Currentvalue ofthe
                                                                                                                                                                        portion you own?
                                                                                                                                                                        Do notdeductsecured
                                                                                                                                                                        claimsorexemptions.
6.Household goods andfurnishings
      Exampl
           es:Majorappli
                       ances,furni
                                 ture,I
                                      inens,china,kitchenware
      I
      ZINo
      K Yes Describe

                                         PPCSOnaIfurnitureand household oods                                                                                                       $3,750.00

                                         personalhousehold oods,electronicsand otlw ra Iiances                                                                                     $9,25c.00

7.Electronics
  Examples:Tel evisions and radi
                               os;audi
                                     o,Mideo,stereo,anddigitalequipment'
                                                                       ,computers,printers,scanners;musi
                                                                                                       ccoll
                                                                                                           ecti
                                                                                                              ons'
                                                                                                                 , el
                                                                                                                    ectronicdevices
             i
             ncluding cellphones,cameras,media players,games
      K No
      E:IYes,Describe.....
8. Collectibles ofvalue
      Examples.Antiquesandfi
                           gurines'
                                  ,painti     nts,orotherartwork;books,pictures,orotherartobjects'
                                        ngs,pri                                                  ,stamp,coin,orbaseballcardcoll
                                                                                                                              ections'
                                                                                                                                     ,
                    othercolledions,memorabilia,colledibles
      K No
      I
      ZIYes Describe.....
9.Equipmentforsports and hobbies
  Examples:Spods,photographi c,exercise,and otherhobbyequipment'
                                                               ,bi
                                                                 cycles,pooltables, gol
                                                                                      fclubs,skis;canoesand kayaks'
                                                                                                                  ,carpentrytools;
           m usicalinstruments
      K No
      (
      ZIYes Describe
1O. Firearm s
       Examples..Pistols,rifles,shotguns,amm unition,and relatedequipm ent
      K No
      Q Yes.Descri
                 be.....
11.Clothes
    Examples:Everydayclothes,furs,Ieathercoats,desi
                                                  gnerwear,shoes,accessories
      K No
      IZIYes.Describe.....
12.Jewelry
        Examples:Everydayjewel
                             ry,costumejewelry,engagementrings,weddingrings,heirl
                                                                                oom jewelry,watches,gems,gold,sil
                                                                                                                ver
      K No
      (Z1Yes Describe....
13. Non-farm animals
    Exampl es.Dogs,cats,bi
                         rds,horses
      K sc
      D Yes Describe

OfhcialForm 106A/B                                                                ScheduleA/B:Propedy                                                                                    lhDoe2
SoftwareCopyrlght(c)1996-2019BestCase,LLC -www.bestcase.com                                                                                                                    BestCaseBankruptcy
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               Case
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                    1:20-bk-10213-MT Doc
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                                          Document PagePage30
                                                            14of
                                                               of170
                                                                  40
 Debtor1             Afsaneh Doost                                                                                               Casenumber(ifknown)
14.Any otherpersonaland household i
                                  tems you did notalready Ii
                                                           st,including any heal
                                                                               th aidsyou did notIist
      K No
      E1Yes.Gi
             vespecificinformation.....

 15. Add the dollarvalueofaIIofyourentriesfrom Part3,including any entriesforpagesyou have ahached
                                                                                                                                                             $13,000.00

 *.      -    Describe YourFinancialAssets
 Do you own orhaveany Iegalorequitable interestin any ofthefollowing?                                                                                  Currentvalue ofthe
                                                                                                                                                       portion you own?
                                                                                                                                                       Do notdeductsecured
                                                                                                                                                       claimsorexemptions.
16.Cash
    Exampl
         es:Moneyyou have inyourwallet,inyourhome,in asafedepositbox,and on hand whenyou5Ie yourpeti
                                                                                                   tion

      E:Ihri)S................................................................................................................
17.Deposits ofmoney
   Examples:Checki    ng,savings,orothersnanci  alaccounts'
                                                          ,certificatesofdeposi  t'
                                                                                  ,sharesin credituni
                                                                                                    ons,brokerage houses,and othersimil
                                                                                                                                      ar
              institutions.Ifyou have multipleaccountswith the same institution,Iisteach.
      E:1No
      K Yes                                                                                          lostituti
                                                                                                             on name:

                                                                                                    Checking accountWells Fargo Bank                                $93.00

18. Bonds,mutualfunds,orpubliclytraded stocks
    Examples:Bondfunds,investmentaccountswithbrokerage firms,moneymarketaccounts
      K No
      D Yes..................                              I
                                                           nsti
                                                              tuti
                                                                 onori
                                                                     ssuername:
19.Non-publicl
             y traded stock and interests in incorporated and unincorporated businesses,including an interestinan LLC,padnership,and
       jointventure
      * No
      Q Yes.Gi vespecificinformationaboutthem...................
                                                     Name ofentity:                                                              OA ofow nership:
2O. Governmentand corporate bonds and othernegotiableand non-negotiabl     e instrumenl
    Negotiableinstrumentsinclude personalchecks,cashiers'checks,promissorynotes,and moneyorders.
    Non-negotiableinstruments are those you cannottransferto someone bysi
                                                                        gning ordeliveringthem.
      K No
      Q Yes.Gi
             vespeci
                   fi
                    cinformationaboutthem
                                                     Issuernam e:

21. Retirem entorpension accounts
       Examples:InterestsinIRA,ERISA,Keogh,401(k),403(b),thriftsavingsaccounts,orotherpensionorprofi
                                                                                                   t-sharingpl
                                                                                                             ans
      K No
      I
      ZIYes.Listeachaccountseparately.
                                                Type ofaccount:                                     Institutionname:
22.Security deposits and prepayments
   Yourshare ofaIIunused depositsyouhavemade sothatyou maycontinueservi
                                                                      ce orusefrom a company
      Exampl
           es:Agreementswi
                         thlandl
                               ords,prepai
                                         drent,publicutil
                                                        ities(electri
                                                                    c,gas,water),telecommunicationscompani
                                                                                                         es,orothers
    K so
    IZIYes                                           Institutionnameorindi vi
                                                                            dual:
23.Annuities(A contractforaperiodi
                                 cpaymentofmoneytoyou,ei
                                                       therforIi
                                                               feorforanumberofyears)
   K Nc
   Q Yes      ..       l
                       ssuernameanddescripti
                                           on
24.Interests inan education 1RA,in anaccountina qualifi
                                                      ed ABLE program ,orunderaquali
                                                                                   fied state tui
                                                                                                tion program.
      26U.S.C.jj530(b)(1),529A(b),and529(b)(1).
Ofhci
    alForm 106A/B                                                                            Schedul
                                                                                                   e A/B:Property                                                     Pgge3
SoftwareCopyright(c)1996-2019BestCase,LLC -www.bestcaseacom
                                                                                                                                                        000028
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          Case
          Case1:20-bk-10213-MT
               1:20-bk-10213-MT Doc
                                 Doc21
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                                                       15of
                                                          of170
                                                             40
 Debtcr1       Afsaneh Doost                                                                 Case number(i
                                                                                                         fknown)
    K No
    I
    ZIYes.
         ............        Institutionname anddescription.Separatelyfilethe recordsofany interests.11U.S.
                                                                                                          C.j521(c):
25.Trusts,equitableorfutureinterestsinproperty(otherthananythingIistedinIine1),and righe orpowersexercisableforyourbenefit
   K so
   Q Yes.Givespeci ficinformati
                              onaboutthem...
26. Patents,copyrights,trademarks,tradesecre/,and otherintellectualpropedy
    Examples:Internetdomain names,websites,proceedsfrom royaltiesand Iicensing agreements
    * so
    Q Yes.Gi
           vespecificinformationaboutthem...
27. Licenses,franchises,and othergeneralintangibl  es
    Examples:Building permits,exclusive I
                                        icenses,cooperati
                                                        ve associati
                                                                   onholdi
                                                                         ngs,I
                                                                             iquorIicenses,professi
                                                                                                  onalI
                                                                                                      icenses
    K No
    IZIYes.Gi
            vespeci
                  ficinformati
                             onaboutthem...
 Money orpropedy owedto you?                                                                                             Currentvalueofthe
                                                                                                                         portionyou own?
                                                                                                                         Donotdeductsecured
                                                                                                                         claims orexemptions.
28. Tax refunds owed to you
    K No
    Z Yes.Gi
           vespecificinformati
                             onaboutthem,i
                                         ncludingwhetheryoualreadyfil
                                                                    edthereturnsandthetaxyears.......

29. Family support
    Examples:Pastdue orIump sum alimony,spousalsuppod,chil
                                                         d suppod,maintenance,divorce settl
                                                                                          ement,propedysettlement
    K No
    Z Yes.Gi
           vespeci
                 fi
                  cinformation......

3O. Otheramounl someoneowes you
    Examples:Unpaid wages,di  sabili
                                   tyinsurance payments,disabil
                                                              i
                                                              tybenests,si
                                                                         ck pay,vacati
                                                                                     on pay,workers'compensati
                                                                                                             on,Soci
                                                                                                                   alSecuri
                                                                                                                          ty
             benefits'
                     ,unpaid Ioansyoumade to someone else
    K No
    Q Yes.Gi
           vespecificinformati
                             on..
31. Interests in insurance policies
     Examples.HeaIth,disabili
                            ty,orIi
                                  feinsurance'
                                             ,heal
                                                 thsavingsaccount(HSAI'
                                                                      ,credit,homeowner's,orrenter'sinsurance
    K No
    I
    ZIYes.NametheinsurancecompanyofeachpolicyandI     istitsvalue.
                                     Company name:                                   Benefici
                                                                                            ary:                          Surrenderorrefund
                                                                                                                          value:
32.Any interestin property thatisdue you from someone who hasdied
    Ifyouare thebeneficiaryofa living trust,expectproceedsfrom a Iife insurance policy,orare currently entitledto receiveproperty because
    som eone hasdied.
    K No
    Z Yes.Gi
           vespeci
                 fi
                  cinformation..

33 Claimsagainstthird parties,whetherornotyou have filed a Iawsuitormadea demand forpayment
    Examples:Accidents,employmentdisputes,insurance claims,orrightsto sue
    K No
    Q Yes.DescribeeachcIai
                         m.........
34.Othercontingentand unliquidated claims ofevery nature,including counterclaims ofthe debtorand righ? to setoffclaims
    K No
    I
    ZIYes.DescribeeachcIaim.........
35.Anyfinancialassetsyou did notalready Ii
                                         st
    K No
    I
    ZIYes.Givespecificinformati
                              on..
OfficialForm 106A/B                                           Schedul
                                                                    e A/B:Property                                                          9290 4
SoftwareCopyrlght(c)1996-2019BestCase LLC -www.bestcase.com                                                               000029 BestCaseBankruptcy
             Case
             Case1:20-bk-10213-MT
                  1:20-bk-10213-MT Doc
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                                   MainDocument
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                                                             of170
                                                                40
 Debtor1           Afsaneh Doost


 36. Add thedollarvalueofaIIofyourentriesfrom Part4,includinganyentri                                             esforpages you haveattached
     ftlrF'art.1.l!;ritllt81atrltlrn1)(,rk1(hre................-....................................................................................................

 e.
            Describe Any Business-Related Property You Own orHave an lnterestln.Listany realestate in Part1.

37.DoyouownorhaveanyIegalorequitableinterestinanybusiness-related property?
  K No. GotoPart6.
   I
   ZIYes.Gotoli
              ne38.

 *.     .   Describe Any Farm-and CommercialFishing-Related Property You Own orHave an InterestIn.
            Ifyou ownorhave aninterestinfarmland,listitin Pad 1.

46.Doyou ownorhaveany legalorequitabl
                                    e interestin any farm-orcommercialfi
                                                                       shing-related property?
       K No GotoPad7.
       E1Yes.GotoIi
                  ne47.

 *.
                   Describe AIIPropedyYou Own orHave an Interestin ThatYou Did NotListAbove

53. Do you have otherproperty ofany kindyou did notalready Ii
                                                            st?
    Examples:Season tickets,countfy club membership
      K No
      Q Yes.Gi
             vespeci
                   ficinformati
                              on.........

 6521. yk(1(1tîlf,(1(h112tr%!111tltj()f2!11()fy()tlr(hf!tri(hipfr()fïlF'1!rtlr.llfritfht'll!tfltlfïlk)tjr'1f,r(h ....................................                              $0.00
 -,
        1        Listthe Totals ofEach Partofthis Form

 55. F3art1:lr(ltl!lrfh11I(,69tlltt),Iirl(,;! ....................................-....................................................--...........................       191,1$1$(),()()().()()
 56. Pad 2:Totalvehicles,Iine5                                                                                          $0.00
 57. Part3:Totalpersonalandhouseholditems,Iine15                                                                   $13,000.00
 58. Part4'
          .Totalfinancialassets,Iine36                                                                                 $93.00
 59. Part5:Totalbusiness-relatedproperty,Iine45                                                                         $0.00
 60. Part6:Totalfarm-andfishing-relatedpropedy,Iine52                                                                   $0.00
 61. Part7:TotalotherpropertynotIisted,Iine54                                                        +                  $0.00
 62. Totalpersonalproperty.Add Iines56 through61...                                                                $13,093.00              Copypersonalpropedytotal             $13,093.00
63. TotalofaIIproperty on ScheduleA/B. AddI
                                          i
                                          ne55+Iine62                                                                                                                    $1563,093.00




OfficialForm 1O6A/B                                                                   Schedul
                                                                                            eA/B:Property                                                                                page 5
SoftwareCopyrlght(c)1996-2019BestCase,LLC -www.bestcase.com                                                                                                            000030
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             Case1:20-bk-10213-MT
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                                        Document PagePage33
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                                                             of170
                                                                40
                     #   . #   @ #*      .       *

 Debtor1                  Afsaneh Doost
                          FirstName                  MiddleName                 LastName
 Debtor2
 (SpouseIf,flllng)
 United States BankruptcyCourtforthe:          CENTRALDISTRICT OF CALIFORNIA

 Case number
 (ifknown)                                                                                                               I
                                                                                                                         ZI Checkifthisisan
                                                                                                                             amendedfiling

OfficialForm 106C
Schedule C :The Property Y ou C laim as Exem pt                                                                                                 4/19
Be ascomplete and accurate aspossi
                                 ble.Iftwomarri
                                              ed peopl
                                                     e arefil
                                                            ing together, bothare equall
                                                                                       y responsibl
                                                                                                  eforsupplying correctinformati
                                                                                                                               on.Usi
                                                                                                                                    ng
thepropertyyouli
               stedonSchedule+8.
                               .Property(Offi
                                            cialForm 106A/B)asyoursource,Ii
                                                                          stthepropertythatyouclaim asexempt.Ifmorespacei
                                                                                                                        s
needed,filloutand attachto thi
                             s page asmanycopi
                                             esofPaA 2:Additi
                                                            onalPage asnecessary. Onthe topofanyaddi
                                                                                                   tionalpages,wri
                                                                                                                 teyoufname and
casenumber(i
           fknown).
Foreach item ofpropedy youclaim as exempt,you m ustspecifythe amountofthe exem ption youclaim . Onewayofdoing so is to statea
specific dollaramountas exempt.Alternatively,you may claim thefullfairmarketvalue ofthe property being exempted up to the amountof
any applicabl
fund          e statutory Iimit.Someexemptions-such asthose forhealthaids,rights to recei ve certain benefil ,andtax-exemjtr  eht
    s- may be unlimi   ted in dollaramount.However,ifyou cl
                                                          aim an exemption of100% offairmarketvalue undera      Iaw thatIiml
                                                                                                                           ts t ei
                                                                                                                                 rement
exemption to a parti culardoll aramountandthe value ofthe property i
                                                                   s determined to exceed thatamount,yourexemptionwould be Iimited
tothe applicable statutory amount.
 *-
              Identifythe PropertyYouClaim as Exempt
 1. w hichsetofexemptions areyou claiming? Check oneon/
                                                      y, even i
                                                              fyourspouseisfi
                                                                            ling withyou.
      K You arecl
                aim ing state andfederalnonbankruptcy exempti
                                                            ons. 11U.S.C.j522(b)(3)
      I
      ZIYouareclaimingfederalexemptions. 11U.S.  C.j522(b)(2)
2. Forany property you Iiston Schedule4/8 thatyou claim as exem pt,fillin the information below.
      Briefdescription ofthe property a0d Iine on      Currentvalueofthe    Amountofthe exemption you claim       Specific Iawsthatallow exemption
      SchedtlleA1B thatlists this propedy              portionyou own
                                                       Copythevaluefrom     Checkon/y0neboxr0reachexemptiLm.
                                                       Schedule /4/8
      4567W hiteOak PLC Encino,CA                            $1,55:,:0:.%   z                                     C.C.P.1 703.14Q(b)(1)
      91316 Los Angeles County
                     eAzs:1.1
      Linefrom schedul                                                      K looo offai
                                                                                       rmarketvalue, upto
                                                                                  anyapplicablestatutoryIimit

      Checking accountW ells Fargo Bank                            $:a.cc   .                            $:a.cc C.C.P.j 703.140(b)(5)
      Line from ScheduleA/8:17.1
                                                                            Q 100% offairmarketvalue, up to
                                                                                  anyapplicabl
                                                                                             e statutoryli
                                                                                                         m it

      SingleFamily Residence                                 $,2sc,ccc.cc   .                      $jcc,ccc.cc    C.C.P.ï 703.140(b)(1)
      4567 W hite Oak PI.                                      '
      Encino,CA 91316                                                       Q 100% offairmarketvalue, upto
      Linefrom ScheduleA/8:                                                       any applicable statutoryIimit

3. Areyouclaimingahomesteadexemptionofmorethan$170,350?
   (Subjecttoadjustmenton4/01/22andevery3yearsafterthatforcasesfil
                                                                 edonorafterthedateofadjustment.)
   K No
   Z Yes.Didyouacquirethepropertycoveredbytheexemptionwithin1,215 daysbefore you5Ied thiscase?
        Q No
        L Yes




OfficialForm 106C                               Schedule C:ThePropedy YouClaim as Exempt                                                   page 1of1
SoftwareCopyrlght(c)1996-2019BestCase,LLC -www bestcasecom
                                                                                                                              000031 BestCase Bankruptcy
             Case
             Case1:20-bk-10213-MT
                  1:20-bk-10213-MT Doc
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                                        Document PagePage34
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                                                             of170
                                                                40
                     @   . :   : :*        @     . *

 Debtor1                  Afsaneh Doost
                          FirstName                    MiddleName                 LastName
 Debtor2
 (Spouse!f,fplhng)
 United States BankruptcyCourtforthe:            CENTIRALDISTRICT OF CALIFORNIA

 Case number
 (pfknown)                                                                                                                     I
                                                                                                                               ZI Checkifthisisan
                                                                                                                                   amended filing

OfficialForm 106D
Schedule D:C reditors W ho H ave Claim s Secured by Property                                                                                        12/15
Beas complete and accurate aspossible.lftwo married people are filing together,both areequally responsible forsupplying correctinformation.Ifmore space
is needed,copythe AdditionalPage,fillitout,num berthe entries,and attach itto thisform.On the top ofany additionalpages,writeyourname and case
number(ifknown).
1.Do any creditors have claimssecured by yourproperty?
         Z No.Checkthisboxandsubmi       tthi
                                            sform tothecourtwithyourotherschedules. Youhave nothing else to repod on thisform.
         K Yes. FillinaIIofthe informationbelow.
 *-
               ListAIISecured Claims
 2.Listallsecured claims.Ifacreditorhas morethan one secured claim,Iistthe creditorseparately   Column A              Colêllnn 8           Column C
 foreach claim, Iffnorethanone creditorhasa particularclaim.listthe othercreditorsin Part2.As   Amountofclaim         Value ofcollateral   Unsecured
 muchaspossible,Iistthe claimsinalphabeticalorderaccording to the creditor's name.              Do notdeductthe       thatsupports this    portion
                                                                                                value ofcollateral.   claim                lfany
 2.1 BankOfAmerica                             Describethepropertythatsecurestheclaim:          $1,493,000.00           $1,550,000.00                $0.00
          credl
              tor'
                 sName                         4567 w hite Oak PLC Encino,CA
                                               91316 Los Angeles County
          1800 Tapo Canyon Rd                  Asofthedateyoufile,theclaim is:checkaIIthat
                                     .         apply
          Sim iValley,CA 93063                 E1contingent
          Number.Street.Cl
                         ty,State&Zi
                                   pCode       Z Unli quidated
                                               Z Di  sputed
W ho owes the debt? Checkone.                  Nature ofIien.Checkallthatapply.
 K Debtor1only                                 K Anagreementyoumade(suchasmortgageorsecured
 Z Debtor2only                                    CarIOan)
 Z Debtor1andDebtor2onl y                      Z StatutoryIi
                                                           en(suchastaxIien,mechanic'sIien)
 Z Atl
     eastoneofthedebtorsandanother             Z JudgmentIi enfrom aI
                                                                    awsui t
 Z Checkifthiscl
               aim relatestoa                  Z Other(includi
                                                             ngarighttooffset)
         community debt




     Addtbedol   larvalueofyourentriesinColumnAonthispage.Writethatnumberhere:                          $1j493,000*00
     Ifthis isthe Iastpage ofyourform,add the dollarvaluetotals from alIpages.
     wri tethatnumberhere:                                                                              $1,493,000.00
 -
     .       Listothersto Be Noti
                                fied fora DebtThatYouAlready Listed
Use this page only ifyou have others to be notified aboutyourbankruptcyfora debtthatyou already Iisted in Part1.Forexam ple,ifa collection agency is
trying to collectfrom youfora debtyou owe to someoneelse,Iistthecreditorin Part1,and then listthe collection agency here.Sim ilarly,ifyou have more
than one creditorforany ofthe debts thatyou Iisted in Pad 1,Iistthe additionalcreditors here.Ifyou do nothave additionalpersons to be notified forany
debts in Part1,do notfillotltorsublnitthis page.




Offi
   cialForm 1O6D                               Schedule D:Credi
                                                              torsW ho HaveClaims Secured by Property                                           page 1of1
SoftwareCopyrlght(c)1996-2019BestCase,LLC -wwwabestcase.com                                                                          000032BestCaseBankruptcy
             Case
             Case1:20-bk-10213-MT
                  1:20-bk-10213-MT Doc
                                    Doc21
                                        1 Filed
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                                        Document PagePage35
                                                          19of
                                                             of170
                                                                40
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 Debtor1                  Afsaneh Doost
                          FirstName                     Middle Name                  LastName
 Debtor2
 (SpouseIf.flling)
 United StatesBankruptcy Courtforthe:          CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (Ifknown)                                                                                                                          E1 Checki
                                                                                                                                            fthi
                                                                                                                                               sisan
                                                                                                                                         amended filing

OfficialForm 106E/F
Schedule E/F:Creditors W ho Have Unsecured Claim s                                                                                                  12/15
Beascompleteandaccurateaspossible.UsePad 1forcreditorswithPRIORITY claimsandPad 2forcreditorswith NONPRIORITY claims.Listtheotherpartyto
anyexecutorycontractsorunexpiredleasesthatcoul
                                             d resul
                                                   tinaclai
                                                          m .AlsoIistexecutorycontractsonSchedul
                                                                                               eNBIProperty(OfficialForm 106A/B)and on
Schedul
      eG:ExecutoryContractsandUnexpiredLeases (OfficialForm 106G).Do noti
                                                                        ncludeanycreditorswithpadiall
                                                                                                    ysecured claimsthatarelistedin
Schedule D:CreditorsW ho Have Claims Secured by Property.lfmorespace is needed,copy the Partyou need,fillitout,numberthe entries in the boxes onthe
Ieft.Attach the Continuation Page to this page.Ifyou have no informationto reportin a Part,do notfile thatPart.On thetop ofany additionalpages,writeyour
nameand casenumber(ifknown).
 --
          ListAIIofYourPRIORITY Unsecured Claims
 1. Do any creditors have priority unsecured claims againstyou?
    K No.GotoPad2.
      I
      ZIves
 *.
              ListAIIofYourNONPRIORITY Unsecured Cl
                                                  aims
 3. Do any creditors have nonpriorityunsecured claims againstyou?
      Z No.Youhavenothingtoreporti
                                 nthi
                                    spartSubmitthisform tothecoudwithyourotherschedules.
                                                .


      K ves
 4. ListaIIofyournonpriority unsecured claims in the alphabeticalorderofthe creditorwho holdseach claim.Ifa creditorhasmore than one nonpriority
    unsecured ciaim,listthe creditorseparately foreach claim ,Foreach claim Iisted,identifywhattygeofclaim itis.Do notIistclaims already included in Part1.Ifmore
    than one creditorholdsa particularclaim,ljsttheothercreditorsin Pad 3.Ifyou have more thanthree nonpriority unsecured claimsfilloutthe Continuation Pageof
      Part2.
                                                                                                                                            Totalclaim
4.1       AFNI                                                 Last4digitsofaccountnumber 4430                                                            $68.21
          NonpriorityCreditor's Name
          404 Brock Dr.                                        Whenwasthedebti
                                                                             ncurred?
          Bloom ington,IL 61702
          NumberStreetCi
                       N StateZipCode                          Asofthedateyoufil
                                                                               e,theclaim i
                                                                                          s:CheckaI
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                                                                                                          y
          W ho incurred the debt? Check one.
          K Debtor1only                                         C1Contingent
          E1Debtor2only                                         Z Unli
                                                                     quidated
          I
          E1Debtor1andDebtor2only                               Z Disputed
          E1AtI
              eastoneofthedebtorsandanother                    TypeofNONPRIORITY unsecuredclaim:
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                            sforacommuni  ty                    Z StudentI
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          sthecl
               aim subjecttooffset?                            reportas priorityclaims
          K No                                                  Z Debtstopensionorprofit-sharingpl
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          D ves                                                 K other.specify Creditcard Lasytused 2009




OfficialForm 106 E/F                             Schedule E/F:CreditorsW ho Have Unsecured Claims                                                         Page 1of7
SoftwareCopyrlght(c)1996-2019BestCase.LLC-www.bestcaseacom                                   44560                                         000033
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       Case
       Case1:20-bk-10213-MT
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                                                        of170
                                                           40
Debtor1 Afsaneh Doost                               Casenumber(i
                                                               fknown)
42       AW A Collections                                Last4digi
                                                                 tsofaccountnumber 4250                                                  $4,812.00
         Nonpriority Creditor's Name
         P.O .Box 5545                                   Whenwasthedebtincurred?
         Lake Forest,CA 92630
         NumberStreetcity State Zip Code                 As ofthe dateyou file,the claim is:CheckaIIthatapply
         w ho incurred the debt? checkone.
         K Debtor1only                                   Z contingent
         Q Debtor2only                                   Q Unl iquidated
         Q Debtor1andDebtor2onl   y                      Z Di sputed
         Z Atleastoneofthedebtorsandanother              IXPPOfNONPRIORITYunsecuredclaim:
                                                         '
         Q Checki fthisclaim isfora communi
                                          ty             Z StudentI  oans
         debt                                            I
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                                                                            ngoutofaseparationagr  eementordi vorcethatyoudi
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         I
         sthecl
              aim subjectto offset?                      reportaspriorityclaims
         K No                                            Q Debtstopensi    onorprofi
                                                                                   t-sharingpl
                                                                                             ans, and othersimilardebts
         Q ves                                           K otherspeci    fy CreditCard Lastused 02/2009

4.3      Behrouz Lalezarzadeh                            Last4digitsofaccountnumber 3407                                                 $2,440.00
         Nonpriority Creditor'sName
         419 Clark St.                                   Whenwasthedebtincurred?           06/05/18
          CA 91211
         NumberStreetCiN StateZi
                               pCode                     Asofthedateyoufile,theclaim is:CheckaI
                                                                                              lthatappl
                                                                                                      y
         W ho incurred the debt? Checkone.
         K Debtor1only                                   Q Contingent
         D Debtor2only                                   Q Unli
                                                              quidated
         D Debtor1andDebt or2onl y                       Q Disputed
         D Atleastoneofthedebtorsandanother              Type ofNONPRIORIR unsecured claim:
         D checki fthi
                     sclaim isfora community             Q Studentloans
         debt                                            Z Obligationsari
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         I
         sthecl
              aim subjecttooffset?                       reportaspriority claims
         K No                                            Z Debtstopensionorprofi
                                                                               t-sharingpl
                                                                                         ans, and othersimilardebts
         D ves                                           K OtherSpecify Claim fordeposit

44       CHASE                                           Last4digitsofaccountnumber 9052                                                   $869.94
         NonpriorityCreditor's Name
         P.O.Box 94014                                   Whenwasthedebtincurred?
         Palatine,IL 60094
        NumberStreetCity State ZipCode                   As ofthe date you file,the claim is:Checka1Ithatapply
        W ho incurred the debt? Checkone.
        K Debtor1only                                    Z conti ngent
        D Debtor2only                                    Q Unliquidated
        D Debtor1andDebtor2onl  y                        D Di sputed
        Z AtIeastoneofthedebtorsandanother               TypeOfNONPRIORI   TYunsecuredclaim:
        D Checkifthisclaim isfora community              (:1studentloans
        debt                                             I
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        Istheclaim subjecttooffset?                      reportaspri
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         Q ves                                           K otherspeci
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OfficialForm 106 E/F                              Schedule E/F:CreditorsW ho Have Unsecured Claims                                         Page 2of7
SoftwareCopyright(c)1996-2019BestCase,LLC -www.bestcasecom
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         Case
         Case1:20-bk-10213-MT
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                                                         of170
                                                            40
 Debtor1 Afsaneh Doost                                                                   Casenumber(i
                                                                                                    fknown)
 4.
  5      credence                                        Last4digitsofaccountnumber                                                      $0.00
         NonpriorityCreditor's Name
         17000 dallas pkw y                              Whenwasthedebtincurred?
         Dallas,TX 75248
         NumberStreetCity State Zip code                 As ofthe dateyou file,the claim is:Check aIIthatapply
         who incurred the debt? checkone.
         K Debtor1only                                   Q contingent
         I
         ZIDebtor2only                                   Q Unli
                                                              quidated
         I
         ZIDebtor1andDebtor2only                         Z Disputed
         Z AtIeastoneofthedebtorsandanother              TypeOfNONPRIORITYunsecuredclaim:
         Z checkifthisclaim i
                            sforacommuni  ty             D studentIoans
         debt                                            D obli
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         sthecl
              aim subjecttooffset?                       repodaspri
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         K No                                            D Debtstopensionorprofi
                                                                               t-sharingplans, and othersimilardebts
         I
         ZIYes                                           K other. specify

                                                         Last4digitsofaccountnumber 1000                                             $2,317.00
                                                         Whenwasthedebtincurred?           09/10/2019
         111 N.Hope St.
         Los Angeles,CA 90012
         NumberStreetCity State Zip Code                 As ofthe date you file,the claim is:Checkallthatappsy
         W ho incurred the debt? Checkone.
         K Debtor1only                                   Z Contingent
         I
         ZIDebtor2only                                   Z Unli
                                                              quidated
         Z Debtor1andDebtor2only                         Z Disputed
         Q Atl
             eastoneofthedebtorsandanother               TypeofNONPRIORITY unsecured claim:
         Z Checkifthisclaim i
                            sforacommunity               Z StudentI
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         debt                                            Z Obli
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              aim subjecttooffset?                       repod as priorityclaims
         K No                                            Z Debtstopensionorprofit-sharingpi
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         I
         ZIves                                           K other.specify W aterand Electricity Bill

 4.
  7      EquitableAccentFinancial,LLC                    Last4digi
                                                                 tsofaccountnumber 4237                                              $4,429.00
         NonpriorityCreditor's Name
         5030 Cam iono De La Siesta #340                 Whenwasthedebtincurred?
         San Diego,CA 92108
         NumberStreetCity State ZipCode                  Asofthe date you file,theclaim is:Checkal1thatapply
         W ho incurred the debt? Checkone.
         K Debtor1onl
                    y                                    Q Conti
                                                               ngent
         I
         ZIDebtor2onl
                    y                                    Z Unl
                                                             iqui
                                                                dated
         I
         ZIDebtor1andDebtor2onl y                        Z Di
                                                            sputed
         Q Atl
             eastoneofthedebtorsandanother               Type ofNONPRIORITY unsecured claim :
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         ZIcheckifthi
                    sclaim isfora community              Z StudentIoans
         uebt                                            Z Obligati
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         Istheclaim subjecttooffset?                     repod aspriority claims
         K No                                            Z Debtstopensi onorprofi
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         I
         ZIyes                                           K other. speci
                                                                      fy Creditcard assigned to collection




OfficialForm 106 E/F                              Schedule E/F:CreditorsW ho Have Unsecured Claims                                     Page 3 of7
SoftwareCopyright(c)1996-2019BestCaselLLC -wwwxbestcase.com                                                                 000035
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         Case
         Case1:20-bk-10213-MT
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                                                         of170
                                                            40
Debtor1 Afsaneh Doost                                                                   Casenumber(i
                                                                                                   fknown)
4.8      Haleh m ansouri                                Last4digi
                                                                tsofaccountnumber Doost                                         $2,300.00
         Nonpriority Creditor's Name
         624 S.Grand Ave.,32200                         Whenwasthedebti
                                                                      ncurred?
         Los Angeles,CA 90017
        NumberStreetCityStateZip Code                   As ofthedate you file,the claim is:CheckaIIthatapply
        w ho incurred the debt? checkone.
        K Debtor1only                                   I
                                                        ZIcontingent
        I
        ZIDebtor2only                                   Q Unliqui
                                                                dated
        (
        :1Debtor1andDebtor2onl  y                       Z Disputed
        Z AtIeastoneofthedebtorsandanother              TyPe0fNONPRIORITYunsecuredclaim:
        Z Checki fthi
                    sclaim isfora community             Q Studentloans
        debt                                            I
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        lstheclaim subjecttooffset?                     reportaspri
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        K No                                            Z Debt stopensi onorprofit-sharingpl
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                                                                                                          ardebts
        IZIves                                           K other.specify IegalFees

4.9      LCO Pool& Spa                                  Last4digi
                                                                tsofaccountnumber                                                    $0 00
         Nonpriority Creditor's Name
        P.O.Box 7115                                    Whenwasthedebti
                                                                      ncurred?
        Van Nuys,CA 91409
        NumberStreetCity State ZipCode                  As ofthedate you file,the claim is:CheckaIIthatapply
        w ho incurred the debt? checkone,
        K Debtor1only                                   Q contingent
        Z Debtor2only                                   I
                                                        ZIUnliqui
                                                                dated
        Z Debtor1andDebtor2onl  y                       Q Disputed
        Z AtIeastoneofthedebtorsandanother              TypeOfNONPRIORITYunsecuredclaim:
        Q checkifthisclaim isfora community             Z StudentIoans
        debt                                            I
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              aim subjecttooffset?                      reportaspri
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         M No                                           Z Debtstopensi  onorprofit-shari
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                                                                                                         ardebts
         I
         ZIyes                                           K otherspeci fy poolservice

4.1
o        LindenTrust                                    Last4digi
                                                                tsofaccountnumber 2319                                        $20,000.00
         Nonpriority Creditor's Name
        7215 Canby Ave.                                 Whenwasthedebtincurred?          01/19/2019
        Reseda,CA 91335
        NumberStreetCityState ZipCode                   Asofthe date you file,theclaim is:Checka1lthatapply
        W ho incurred the debt? Checkone.
         K Debtor1only                                  Z contingent
         D Debtor2only                                  IZIUnl
                                                             iqui
                                                                dated
         D Debtor1andDebtor2onl  y                      Z Disputed
         Q Atl
             eastoneofthedebtorsandanother              Type ofNONPRIORITY unsecured claim :
         D checkifthisclaim isforacommunity             Z StudentIoans
        debt                                            IZIObl
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        Istheclaim subjecttooffset?                     repod aspriority claims
        K No                                            Z Debtstopensi  onorprofi
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        (:1ves                                          K Other. specify PersonalIoan




OfficialForm 106 E/F                             Schedule E/F:CreditorsW ho Have Unsecured Claims                                 Page4Of7
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         Case
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                                                            40
Debtor1 Afsaneh Doost                                                                   Casenumber(i
                                                                                                   fknown)
4.1
1       M ichaelS.Hunt                                   Last4digitsofaccountnumber 8943                                           $21,613.39
        NonpriorityCreditor's Name
        151 BernalRoad #8                                W hen was the debtincurred?
        San Jose,CA 95119
        NumberStreetCity State ZipCode                   As ofthe dateyou file,the claim is:CheckaIIthatapply
        W ho incurred the debt? Checkone.
        Q Debtor1only                                    Z Contingent
        Z Debtor2only                                    Z Unli
                                                              quidated
        Z Debtor1andDebtor2only                          Z Di
                                                            sputed
        K AtI
            eastoneofthedebtorsandanother                Type ofNONPRIORITY unsecured claim:
        Q Checkifthisclaim isforacommunity               Z Studentl oans
        debt                                             Q Obligationsari
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                                                                         ngoutofaseparationagr
                                                                                             eementordi
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        lstheclaim subjectto offset?                     reportaspriorityclaims
        K No                                             Z Debtstopensi
                                                                      onorprofi
                                                                              t-sharingpl
                                                                                        ans,andothersimi
                                                                                                       l
                                                                                                       ardebts
                                                         K              creditcard debtassigned to collection
        (:1ves                                              other.Speci
                                                                      fy reduced tojudgment

41
2       Mohammad Hassani                                 Last4digitsofaccountnumber                                                    $850.00
        Nonpriority Creditor'sName
        301E.Carolina St.#201                            Whenwasthedebtincurred?
        Marion,O H 43301
        NumberStreetCityState Zip Code                   As ofthe dateyoufile,the claim is:Check aIIthatapply
        w ho incurred thedebt? checkone.
        K Debtor1only                                    Z contingent
        Z Debtor2only                                    Z Unii
                                                              quidated
        Z Debtor1andDebtor2onl  y                        Z Disputed
        Q AtIeastoneofthedebtorsandanother               TypeOfNONPRIORITYunsecuredclaim:
        Z checkifthisclaim isfora community              Z StudentI oans
        debt                                             C:1obl
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        Istheclaim subjectto offset?                     reportaspriori
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         K No                                            E1Debtstopensi
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                                                                                                       ardebts
         I
         ZIYes

4.1
a       Nordstrom/FaicollectInc                          Last4digitsofaccountnumber 0098                                               $475.00
        NonpriorityCreditor'sName
        P.O .Box 7148                                    Whenwasthedebtincurred?
        Bellevue,W A 98008
        NumberStreetCityState Zip Code                   As ofthe dateyoufile,the claim is:Check aIIthatapply
        W ho incurred the debt? Checkone.
        K Debtor1only                                    I
                                                         ZIcontingent
        IZIDebtor2only                                   Z Unli qui
                                                                  dated
         Z Debtor1andDebtor2onl   y                      Z Disputed
         Z AtIeastoneofthedebtorsandanother              T#PeOfNONPRIORITYunsecuredclaim:
         I
         ZIchecki fthisclaim isfora communi
                                          ty             Z StudentIoans
        debt                                             L obl igationsari
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        Istheclaim subjectto offset?                     reportaspriori
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         K No                                            Q Debtstopensionorprofi t-sharingpl
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                                                                                                          lardebts
         I
         ZIYes                                           K other. specify CreditCard Lastused 11/09




OfficialForm 106 E/F                              Schedule E/F:CreditorsW ho Have Unsecured Claims                                     Page 5 of7
SoftwareCopyright(c)1996-2019BestCase,LLC -www bestcase.com                                                                   000037
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       Case
       Case1:20-bk-10213-MT
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                                                            40
Debtor1 Afsaneh Doost                                Casenumber(i
                                                                fknown)

             Sears Gold MasterCard                           Last4di
                                                                   gitsofaccountnumber 0917                                                    $5,177.45
             NonpriorityCreditor's Name
             726 Echange Street#700                          W hen was the debtincurred?
             Buffalo,NY 14210
             NamberStreetCity State ZipCode                  As ofthe date you file,the claim is:CheckaIlthatapply
             W ho incurred the debt? Checkone.
             K Debtor1only                                    D contingent
             Z Debtor2only                                    I
                                                              ZIOnliqui
                                                                      dated
             Z Debtor1andDebtor2onl y                         Q Disputed
             IZlAtI
                  eastoneofthedebtorsandanother              TypeofNONPRIORITY unsecured claim:
             Q Checkifthisclaim i
                                sforacommunity                I
                                                              ZIstudentloans
             debt                                             Z Obligati
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                                                                                              onagreementordi
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             Isthecl
                   aim subjecttooffset?                      reportas priorityclaims
             K No                                             C1Debtstopensi onorprofi
                                                                                     t-sharingplans,andothersi
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                                                                                                               ardebts
             E1ves                                            K other.specify


             T Mobile                                         Last4digitsofaccountnumber 9363                                                  $1,331.53
             NonpriorityCreditor'sName
             P.0 .Box 51843                                  Whenwasthedebtincurred?            04/13/2017
             Los Angeles,CA 90051
             NumberStreetCiN StateZi
                                   pCode                     As ofthe dateyou file,the claim is:Check aI1thatapply
             W ho incurred the debt? Checkone.
             K Debtor1only                                   Z contingent
             Z Debtor2onl y                                  Z Unli quidated
             Z Debtor1andDebtor2onl    y                     Q Di sputed
             Z AtIeastoneofthedebtorsandanother              TVPOOfNONPRIORITYunsecuredclaim:
             IZICheckifthisclaim isfora communi
                                              ty             Z StudentIoans
             debt                                            IZIobligationsarisingoutofaseparationagreementordivorcethatyoudi
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             lstheclaim subjectto offset?                    reportaspriorityclai
                                                                                ms
             K No                                            Q Debtstopensi   onorprofi
                                                                                      t-sharingpl
                                                                                                ans,andothersimil
                                                                                                                ardebts
             Z Yes                                           K other. specià

 *
     -       ListOthers to Be Notified Abouta DebtThatYouAlready Listed
5.Use this page only ifyou have others to be notified aboutyourbankruptcy,fora debtthatyou already Iisted in Parts 1or2.Forexample,ifa collection agency
  is trying to collectfrom you fora debtyou owe to someone else!Iistthe originalcreditorin Pads 1or2,then Iistthe collection agency here.Similarly,ifyou
     have more than one creditorforany ofthe debts thatyou Iisted In Parts 1or2,Iistthe additionalcreditors here.Ifyou do nothave additionalpersons to be
     notified forany debts in Parts 1 or2,do notfilloutorsubmitthis page.
 *.      'Addthe AmountsforEachType ofUnsecured Claim
6.Totaltheamountsofcedaintype:nfunsecuredclaims.Thisinformation i
                                                                sforstatisticalreporting purposesonl
                                                                                                   y.28U.S.C.9159.Addtheamountsforeach
     typeofunsecured claim.
                                                                                                                 TotalClaim
                       6a. Domestic suppod obligations                                          6a.
 Total
 claims
 from Pad 1                  Taxes and certain otherdebt.
                                                        s you owethe government                 6b.     $                     0.00
                             Claimsfordeathorpersonalinjurywhil
                                                              eyouwereintoxi
                                                                           cated                6c.     $                     0.00
                             Other.AddaIlotherpriority unsecuredclaims.W rite thatamounthere.   6d.     $                     0.00

                       6e. TotalPriority.Add lines 6athrough6d.                                 6e.     $                     0.00

                                                                                                                 TotalClaim
                             StudentIoans
 Total
 c1airns
 from Part2            6g. Obligations arising outofa separation agreementordivorce that
                           you did notreportas priority claims                                          $                     0.00
                           Debtsto pension orprofit-sharing plans,and othersim ilardebts                $                     0.00

OfficialForm 106 E/F                               Schedule E/F:CreditorsW ho Have Unsecured Claims                                               Page 6 of7
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         Case
         Case1:20-bk-10213-MT
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                                                            40
Debtor1 Afsaneh Doost                                                                   Casenumber(i
                                                                                                   fknown)
                        Other.Add aIIothernonpriorityunsecuredclaims.W ritethatamount
                        here.                                                                        $       66,683.52

                        TotalNonpriority.AddIi
                                             nes6fthrough6i.                               6j.       $       66,683.52




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SoftwareCopyrlght(c)1996-2019BestCase,LLC-www bestcase.com                                                                  BestCase Bankruptcy
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          Case
          Case1:20-bk-10213-MT
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                    #   . @   @ .*      .     w *

Debtor1                  Afsaneh Doost
                         FlrstName                  M iddleName          LastName
Debtor2
(Spouse I
        f,fillng)
United States BankruptcyCoud forthe:           CENTRALDISTRICT OF CALIFORNIA

Casenumber
(ifknown)                                                                                                        (Z1 Checki
                                                                                                                          fthisisan
                                                                                                                    amendedfiling


OfficialForm 106G
Schedule G :Executory Contracts and Unexpired Leases                                                                                12/1s
Be as complete and accurateas possible.Iftwo married peoplearefiling together,both are equall
                                                                                            y responsibleforsupplying correct
information.I
            fmore space is needed,copy the additionalpage,fillitout,numberthe entries,and attach itto thi
                                                                                                        s page.Onthe top ofany
addi
   tionalpages,writeyournameandcasenumber(i
                                          fknown).
     Do you haveany executory contracts orunexpired I    eases?
     K No. Checkthisbox and file thisform with the courtwithyourotherSchedules.You have nothingelse to repofton thisform.
     I
     ZIYes.Fi
            llinaIIoftheinformati
                                onbelow eveni
                                            fthecontactsofl
                                                          easesareIi
                                                                   stedonSchedul
                                                                               eA/Bproperty(Offi
                                                                                               cialForm 106A/B).
     Listseparatelyeachpersonorcompanywithwhom youhavethecontractorIease.ThenstatewhateachcontractorIeaseisfor(for
     example,rent,vehicleIease,cellphone).Seetheinstructionsforthisform intheinstrudi
                                                                                    onbookl
                                                                                          etformoreexamplesofexecutorycontracts
     and unexpired Ieases.

                                                                           State whatthe contractorIease isfor




        City                                State             ZIP Code
 2.3
        Name




Off
  icialFcrm 106G                            ScheduleG:ExecutoryContractsand Unexpired Leases                                     Page 1of1
SoftwareCopyrlght(c)1996-2019BestCase.LLC -www.bestcasecom                                                            000040BestCaseBankruptcy
             Case
             Case1:20-bk-10213-MT
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                                                             of170
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                   #   . @   : :*       .   . *

 Debtor1                Afsaneh Doost
                        FirstName                 MiddleName              LastName
Debtor2
(Spouseifflllng)
 Uni
   ted States BankruptcyCourtforthe: CENTRALDISTRICT OF CALIFORNIA
Case number
 (Tfknown)                                                                                                       I
                                                                                                                 ZI Checki
                                                                                                                         fthisisan
                                                                                                                    amendedfili
                                                                                                                              ng


OfficialForm 106Dec
Declaration A boutan IndividualDebtor's Schedules                                                                                    l2/ls
Iftwo married peopl
                  e arefilingtogether,both areequall
                                                   y responsible forsupplying correctinformation.
You mustfilethis form wheneveryou file bankruptcy schedules oramended schedul
                                                                            es.Making a falsestatement,concealing property,or
obtaining money orpropedy by fraud in connection with a bankruptcy case can resul
                                                                                tin fines upto $250,000,orimprisonmentforupto 20
years,orboth.18U.S.C.jj162,1341,1519,and3571.

                Sign Below

      Did you payoragreeto pay someonewho is NOT an attorneyto help you filloutbankruptcy forms?

      Q
      K Yes.Nameofperson Afsaneh Doost                                                           AttachBankruptcyPetit
                                                                                                                     ionPreparer' sNoti
                                                                                                                                      ce,
                                                                                                 Declaration,andSignature(Offi
                                                                                                                             cialForm 119)

     Under           ' IdeclarethatIhave read the summaryand schedules filed with this declaration and
     t theyaretrue and corr ct.
      X                             Y
                                    '


             Xfsan       oost
             Signature ofDebtor1

             Date January 28,2020




OfficialForm 106Dec                               Declaration Aboutan lndividualDebtor's Schedules
                                                                                                                            BestCaseBankfuptcy



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             Case
             Case1:20-bk-10213-MT
                  1:20-bk-10213-MT Doc
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                    #   . @   @ :*       @     . *

Debtor1                  Afsaneh Doost
                         FirstName                   Middle Name                 LastName
Debtor2
(Spouseif.fkling)
United StatesBankruptcy Courtforthe: CENTRAL DISTRICT OF CALIFORNI
                                                                 A

Case number
(lfknown)                                                                                                                    IZI Checkifthisi
                                                                                                                                            san
                                                                                                                                amended filing


OfficialForm 107
Statem entofFinancialA ffairs forIndividuals Filing for Bankruptcy                                                                                 4/19
Beascompleteandaccurateaspossible.Iftwomarri
                                           edpeoplearefilingtogether,bothareequallyresponsibleforsuppl
                                                                                                     yingcorrect
information.Ifmore space is needed,attach a separate sheetto this form.On the top ofanyadditlonalpages,wri
                                                                                                         te yourname and case
number(ifknown).Answereveryquestion.
 *
     -        Give DetailsAboutYourMaritalStatusand W hereYou Lived Before
         W hatis yourcurrentmaritalstatus?

         K Married
         I
         ZI Notmarri
                   ed
         Duringthe Iast3years,haveyou Iived anywhere otherthanwhereyou Iive now?

         K   so
         Z   Yes.ListaIIoftheplacesyouIi
                                       vedintheIast3years.DonotincludewhereyouIi
                                                                               venow.
         Debtor1 PriorAddress:                            Dates Debtor1            Debtor2 PriorAddress:                           Dates Debtor2
                                                          Iived there                                                              lived there
3. W ithinthelast8years,didyoueverIivewithaspouseorIegalequi     val
                                                                   entinacommunitypropertystateorterritory?(Communityproperty
statesandterri
             tori
                esincludeAri
                           zona,Cali
                                   fornia,Idaho,Loui
                                                   siana,Nevada,New Mexi
                                                                       co,PuedoRi
                                                                                co,Texas,WashingtonandWi  sconsin.
                                                                                                                 )
         D No
         K Yes Makesureyou,IloutSchedul
                                      eH'Yourcodebtors(Offi
                                                          cialForm 106H)
 -.
              Explainthe Sources ofYourlncome

         Did you have any income from employmentorfrom operating a business during this yearorthetwo previous calendaryears?
         Filinthetotalamountofincomeyoureceivedfrom aIIjobsandaIIbusinesses,i
                                                                            ncludingpad-timeacti
                                                                                               viti
                                                                                                  es.
         lfyouarefilingajointcaseandyouhaveincomethatyourecei vetogether,Ii
                                                                          sti
                                                                            tonlyonceunderDebtor1.
         L No
         K Yes. Fillinthedetails.
                                             Debtor1                                                    Debtor2
                                             Sourcesofincome                Gross income                Sources ofincome           Gross income
                                             Check aIIthatappl
                                                             y.             (beforededudionsand         CheckaIIthatapply.         (beforededudions
                                                                            exclusions)                                            andexclusions)
ForIastcalendaryear:                         Q wages,commi
                                                         ssi
                                                           ons,                        $18,
                                                                                          400.00        I
                                                                                                        ZIWages,commissions,
(January1toDecember31,2019)                  bonuses, tips                                              bonuses,tips
                                             K Operatingabusiness                                       Z Operatingabusiness




OfficialForm 107                                 StatementofFinancialAffairs forIndividuals Filing forBankruptcy                                  Page 1
SoftwareCopyrlght(c)1996-2019BestCase,LLC -www bestcaseacom                                                                       000042
                                                                                                                                     BestCase Bankruptcy
             Case
             Case1:20-bk-10213-MT
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                                                             of170
                                                                40
 Debtor1 Afsaneh Doost


                                              Debtor1                                                  Debtor2
                                              Sources ofincome              Gross income               Sources ofincome          Gross incom e
                                              Check aIlthatapply.           (beforedeductionsand       CheckaIIthatapply.        (beforededudions
                                                                            exclusions)                                          andexclusions)
 For they
 (Januarcal
          1en
           todar yearer
              Decemb beforethat:
                       31                     1 w ages, commi
                                                            ssions,                   $17,500.00        I
                                                                                                        ZIW ages,commissions,
                          ,2018)              bonuses, tips                                            bonuses,tips
                                                                                                       D Operatingabusi
                                                                                                                      ness

 For
 t  therc
 lanua  yal
         1en
          todar
             Decyemb
                 ear:
                    er31,                     M wages, commissions,                    $16,000.00       E1wages,commi
                                                                                                                    ssions,
                         2017)                bonuses, tips                                            bonuses,tips
                                              Q Operatingabusiness                                     Q Operatingabusi
                                                                                                                      ness

         Did you receiveanyotherincome during this yearorthetwo previ    ous calendaryears?
         Include income regardl
                              essofwhetherthatincome istaxable.Examplesofotheri  ncomeare alim ony'
                                                                                                  ,chil
                                                                                                      d support;SocialSecuri
                                                                                                                           ty, unempl
                                                                                                                                    oyment,
         and otherpubli
                      c benefitpayments'
                                       ,pensions'
                                                ,rentalincome'
                                                             ,interest'
                                                                      ,dividends'
                                                                                ,moneycollectedfrom I
                                                                                                    awsuits'
                                                                                                           ,royalti
                                                                                                                  es'
                                                                                                                    ,and gamblingand Iottery
         winnings.Ifyouarefil
                            ingajointcaseandyouhavei
                                                   ncomethatyoureceivedtogether,Ii
                                                                                 sti
                                                                                   tonl
                                                                                      yonce underDebtor1.
         Listeachsource andthegrossincome from each source separately.Do notinclude incomethatyou Iisted in Iine 4.

         D No
         K Yes. Fillinthedetails.

                                             Debtor1                                                   Debtor2
                                             Sources ofincome               Gross incomefrom           Sourcesofincome           Gross income
                                             Describe bel
                                                        ow.                 eachsource                 Describebelow.            (beforededudions
                                                                            (beforededucti
                                                                                         onsand                                  andexclusions)
                                                                            exclusi
                                                                                  ons)
 ForIastcal
          endaryear:         rents                                                    $22,500.00
 (January1toDecember31,2019)

 *
     .        ListCertain PaymentsYou Made Before You Filed forBankruptcy
         Are ei
              therDebtor1's orDebtor2'
                                     s debl primaril
                                                   y consumerdebts?
         D No. NeitherDebtor1norDebtor2hasprimarilyconsumerdebts.Consumerdebtsaredesnedi
                                                                                       n11U.S.C.j101(8)as'incurredbyan
                   indi
                      vidualprimaril
                                   yfora personal,famil
                                                      y,orhousehol
                                                                 d purpose.'
                   Duringthe 90 daysbeforeyou5I                 d youpayanycredi
                                               edforbankruptcy,di               toratotalof$6,825*ormore?
                    Z No. Go to Iine7.
                    Z Yes Li   stbelow eachcreditortowhom youpaidatotalof$6,825*ormore inone ormore paymentsandthe totalamountyou
                               paidthatcreditor.Do notincl
                                                         ude paymentsfoedomesticsuppod obli
                                                                                          gati
                                                                                             ons,suchaschi
                                                                                                         ld supportand alimony.Also,do
                               notinclude paymentsto anattorneyforthisbankruptcycase.
                    *Subjecttoadjustmenton4/01/22andevery3yearsafterthatforcasesfil
                                                                                  edonoraft
                                                                                          erthedateofadjustment.
         K Yes. Debtor1orDebtor2orb0th have primarily consumerdebts.
                During the 90daysbefore youfi
                                            led forbankruptcy,didyou pay any credi
                                                                                 toratotalof$600ormore?
                   * No. Goto Iine 7.
                   D Yes Listbelow each creditortowhom you paid atotalof$600ormoreand the totalamountyoupaidthatcreditor.Do not
                               includepaymentsfordomesticsupportobligations,such aschild supportand alimony.Also,donotinclude paymentsto an
                               attorneyforthisbankruptcycase.

         Creditor's Nameand Address                       Dates ofpayment          Totalamount         Amountyou      W as thi
                                                                                                                             s paymentfor..
                                                                                          paid           stillowe




OfficialForm 107                                 StatementofFinancialAffairsforIndividuals Filing forBankruptcy                                Page2
SoftwareCopyrsght(c)1996-2019BestCase LLC -www.bestcaseacom                                                                        BestCaseBankruptcy
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                                                             of170
                                                                40
 Debtor1 Afsaneh Doost


         W ithin 1yearbeforeyoufil ed forbankruptcy,did you make a paymentona debtyou owed anyonewho wasan insider?
         Insiders i
                  ncl
                    ude yourrel
                              atives'
                                    ,anygeneralpartners' ,relati
                                                               vesofanygeneralpadners;padnershipsofwhi ch youare ageneralpadner;corporations
         ofwhichyouare an ofhcer,director,person i
                                                 n control,orownerof20% ormore oftheirvoting securi
                                                                                                  ti
                                                                                                   es;and any managing agent, including onefor
         abusi
             nessyouoperateasasoleproprietor.11U.S.C.j101.lncludepaymentsfordomesticsuppodobli
                                                                                             gations,suchaschildsupportand
         alim ony.

         K so
         Z Yes.ListaIIpaymentstoani
                                  nsi
                                    der.
         Insider'
                s Name andAddress                      Dates ofpayment            Totalamount         Amountyou         Reasonforthis payment
                                                                                         paid           stillowe
         Wi thin 1yearbefore you filed forbankruptcy,did you make any payments ortransferany propertyon accountofadebtthatbenefited an
         insider?
         lnclude paymentsondebtsguaranteed orcosi  gnedbyan insider.

         K so
         Z Yes.ListalIpaymentstoaninsi
                                     der
         Insider'
                s Name andAddress                      Dates ofpayment            Totalamount         Amountyou         Reason forthis payment
                                                                                         paid           stillowe        Includecredi
                                                                                                                                   tor'
                                                                                                                                      s name
 *       '
     .        Identify LegalActions,Repossessions,and Foreclosures
         Wi
          thin 1yearbefore you filed forbankruptcy,wereyoua party in any Iawsuit,courtaction,oradministrati
                                                                                                          ve proceeding?
         Li
          staIIsuchmatters,includingpersonalinjurycases,smallcl
                                                              aimsacti
                                                                     ons,divorces,col
                                                                                    lecti
                                                                                        onsui
                                                                                            ts,paterni
                                                                                                     tyactions,suppoftorcustody
         m odifications,andcontractdisputes.

         L No
         K Yes. Fillinthe details.
         Case title                                    Nature ofthe case         Courtoragency                          Status ofthecase
         case number
         CITIBANK v.Doost,Afsaneh                                                SuperiorCourtofLos                     D Pending
         10E08943                                                                Angeles                                (
                                                                                                                        ZIonappeal
                                                                                 6230SylmarAve.                         D concluded
                                                                                 Van Nuys,CA 91401

         Lal
           ezarzadehv.Afsaneh Doost                   COLLECTION                 LASC                                   L Pending
         18VESC03407                                                             6230 SYLMA R AVE.                      IZIonappeal
                                                                                 Van Nuys,CA 91401                       . concluded


1O. W ithin 1yearbefore you filed forbankruptcy,was any ofyourproperty repossessed,foreclosed,garnished, attached,seized,orIevied?
    CheckaIIthatapplyand fillinthe detailsbelow.

         K No. Go to line 11.
         E1 Yes.Fillintheinformati
                                 onbelow.
         Credi
             torNameand Address                       Describe the Property                                      Date                      Value ofthe
                                                                                                                                              property
                                                      Explainwhathappened
11. W ithin 90 daysbefore you filed forbankruptcy,did anycreditor,including a bank orfinancialinstitution,setoffany amountsfrom your
    accounts orrefuse to make a paymentbecauseyou oweda debt?
         K No
         Q Yes.Fillinthedetail
                             s.
         Credi
             torName andAddress                       Describethe acti
                                                                     onthe credi
                                                                               tortook                           Date action was               Amount
                                                                                                                 taken
12. W ithin 1yearbefore youfiledforbankruptcy,wasany ofyourproperty in the possession ofan assigneeforthe benefitofcreditors,a
    court-appointed receiver,acustodi
                                    an,oranotherofficial?
         K No
         Q Yes

OfficialForm 107                               StatementofFinancialAffairs forlndividuals Filing forBankruptcy                                    X 9O 3
                                                                                                                                      BestCaseBankruptcy
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             Case
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                                                                40
Debtor1 Afsaneh Doost


- -
              ListCertain Giftsand Contributions

13. W i
      thin 2years beforeyoufil
                             ed forbankruptcy,did you gi
                                                       veany gifts with atotalvalue ofmorethan $600perperson?
     K No
    IZI Yes.Filli
                nthedetail
                         sforeachgift.
     Giftswithatotalvalueofmorethan$600         DescribethegiM                               Datesyougave                                        Value
         perperson                                                                                                the gifts
         Person toW hom You Gave the Giftand
         Address:
14. W ithin2yearsbeforeyoufiledforbankruptcy,didyougi
                                                    veanygiftsorcontributionswithatotalvalueofmorethan$600toanycharity?
    K so
    I
    ZI Yes.Fillinthedetail
                         sforeachgi
                                  ftorcontribution.
         Gifts orcontributionsto charities that total         Describewhatyou contributed                         Datesyou                       Value
         morethan$600                                                                                             contributed
         Charity's Name
         Address (Number,Street,city,stateandZIPCode)
 *
     -   .    ListCertain Losses

15. Within1yearbeforeyoufil
                          edforbankruptcyorsinceyoufil
                                                     edforbankruptcy,did#ouloseanythingbecauseoftheft,fire,otherdisaster,
         orgambllng?

         K No
         (
         Zl Yes Filinthedetails
         Describe the propertyyou Iostand            Describeanyinsurance coverage forthe Ioss                    Date ofyour         Value ofproperty
         how the loss occurred                       Includethe amountthatinsurance has paid, Li
                                                                                               stpending          Ioss                            Iost
                                                     insurance clai
                                                                  m son Iine 33 ofSchedule4/8.'Propert
                                                                                                     y.
 -
     .        ListCertain PaymentsorTransfers

16. W ithin 1yearbeforeyoufiled forbankruptcy,did you oranyoneelseacting on yourbehalfpay ortransferany property to anyoneyou
    consulted aboutseeking bankruptcy orpreparing a bankruptcy petition?
    Includeanyattorneys,bankruptcy peti
                                      ti
                                       onpreparers,orcredi
                                                         tcounseling agenci
                                                                          esforservicesrequired inyourbankruptcy.

         K No
         IZI Yes Filinthedetails
         Person Who Was Paid                                  Description and value ofany property                Date payment              Amountof
         Address                                              transferred                                         ortransferwas              payment
         Emailorwebsiteaddress                                                                                    made
         Person Who Madethe Payment,ifNotYou
17. W ithin 1yearbeforeyoufiled forbankruptcy,did youoranyone elseacting on yourbehalfpay ortransferany propedy to anyonewho
    promi sed to help you dealwi
                               th yourcreditors orto make paymenl to yourcredi
                                                                             tors?
    Do notincludeany paymentortransferthatyouIisted onIine 16.
         K No
         I
         ZI Yes.Fillinthedetail
                              s.
         Personw ho Was Paid                                  Descriptionandvalueofanypropeo                      Date paym ent             Amountof
         Address                                              transferred                                         ortransferw as             Payment
                                                                                                                  made
18. W ithin 2 years before you filedforbankruptcy!didyou sell,trade,orotherwise transferany propertyto anyone,otherthan property
    transferred in the ordinary courseofyourbuslness orfinancialaffairs?
         Includebothoutrighttransfersandtransfersmadeassecuri
                                                            ty(suchasthegrantingofasecuri
                                                                                        tyi
                                                                                          nterestormortgageonyourpropedy).Donot
         include giftsandtransfersthatyou have already Iisted onthisstatement.
         K No
         (ZI Yes Fillinthedetai
                              ls
         Person W ho Received Transfer                        Description and value of              Describe any propertyor          Date transferwas
         Address                                              propertytransferred                   payments received ordebts        made
                                                                                                    paid in exchange
         Person's relationshipto you

OfficialForm 107                                 StatementofFinancialAffairsforIndividuals Filing forBankruptcy                                   P390 4
SoftwafeCopyright(c)1996-2019BestCase LLC -wwwxbestcase.com                                                                        000045
                                                                                                                                      BestCaseBankruptcy
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                                                                 40
Debtor1 Afsaneh Doost


19. W ithin 10 years before you filed forbankruptcy,did you transferany propertyto aself-settled trustorsimilardevice ofwhich youare a
         beneficiary?(Theseareoqencalledasset-protectiondevices.j
         K No
         I
         ZI Yes.Fillinthedetail
                              s.
         Nameoftrust                                          Description and value ofthe property transferred                  DateTransferwas
                                                                                                                                made
 *.
         :      ListofCertain FinancialAccounts,Instruments,Safe DepositBoxes,and Storage Units
2O. W ithin 1yearbeforeyoufiled forbankruptcy,were anyfinancialaccounl orinstruments held in yourname,orforyourbenefit,closed,
    sold,moved,ortransferred?
    Include checking,savings,money market,orotherfinancialaccounts' ,certificates ofdeposi
                                                                                         t'
                                                                                          ,shares in banks,credi
                                                                                                               tuni
                                                                                                                  ons,brokerage
    houses,pension funds,cooperatives,associ ations,and otherfinancialinsti
                                                                          tutions.
         K No
         Z Yes.Fillinthedetail
                             s.
         NameofFinancialInstitution and                  Last4 digil of            Typeofaccountor           Dateaccountwas          Lastbalance
         Address(Number,street,city,stateandzIp          accountnumber             instrument                closed,sold,        before closing or
         code)                                                                                               moved,or                     transfer
                                                                                                             transferred
21. Do you now have,ordidyou have within 1 yearbefore you filedforbankruptcy,anysafe depositbox orotherdepositoryforsecurities,
    cash,orothervaluables?

         K No
         Q Yes.Fillinthedetail
                             s.
         Name ofFinanci  alInsti tution                       W ho else had access to it?        Describethe contenl              Do you still
         Address (Number,street,city,stateandzIpcode)         Address (Number,street,ciw,                                         have it?
                                                              stateandzIpcode)
22 Haveyou stored property in astorage unitorplace otherthan yourhome within1 yearbefore you filedforbankruptcy?

         * so
         D Yes.Fillinthedetails.
         Name ofStorage Facility                              W ho elsehas orhad access          Describethe contenl              Do youstill
         Address (Number,street,city,stateandzIpcode)         to it?                                                              have it?
                                                              Address lNumber,street,city,
                                                              stateandzIPcode)
 *
     .   *      Identify Propedy You Hold orControlforSomeone Else

23. Do you hold orcontrolany properly thatsomeone el
                                                   se owns? Includeany propertyyou borrowedfrom ,are storing for,orhold intrust
    forsomeone.

         K     No
         D Yes. Fillin thedetails.
         Owner's Name                                         Whereisthepropeo ?                 Describethe property                       Value
         Address (Number,street,city,stateandzIPGodel         (Number,Street,City,StateandZIP
                                                              Code)
 -
     -       I Give DetailsAboutEnvironmentalInformation

Forthe purpose ofPart10,the following definitions apply:

K        EnvironmentalIaw meansany federal,state,orIocalstatute orregulation concerning pollution,contamination,releases ofhazardous or
         toxicsubstances,wastes,ormateri    alinto the air,I
                                                           and,soil,sudacewater,groundwater,orothermedium,including statutes or
         regulations controllingthe cleanup ofthese substances,wastes,ormaterial.
K        SitemeansanyIocation,facility,orproperty as defined underany environmentalIaw,whetheryou now own,operate,orutilize itorused
         to own,operate,orutilize it,including disposalsites.
K        Hazardousmaterialmeansanything anenvironmentalIaw definesasahazardouswaste, hazardous substance,toxicsubstance,
         hazardous material,pollutant,contam inant,orsimilarterm.
ReportaIInotices,releases,and proceedingsthatyou know about,regardlessofwhen theyoccurred.



OfficialForm 107                                  StatementofFinancialAffairsforIndividuals Filing forBankruptcy                             Ra9O 5
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                                                                                                                                 BestCaseBankruptcy
          Case
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 Debtor1 Afsaneh Doost


24. Has any governmentaluni
                          tnotifiedyouthatyou may beliable orpotentially liable underorin violation ofan environmentalIaw?
      * No
      D Yes.Fillinthedetails.
      Name ofsite                                             Governmentalunit                       EnvironmentalIaw,ifyou       Date ofnotice
      Address (Number,street.city,stateandzl
                                           pcode)             Address(Number,street,ci
                                                                                     ty,stateand     know it
                                                              zlpcode)
25. Have you noti
                fied any governmentalunitofany release ofhazardous materi
                                                                        al?

      K No
      Q Yes.Fillinthedetails.
      Name ofsite                                             Governmentalunit                       EnvironmentalIaw,ifyou       Date ofnotice
      Address (Number,street,city,stateandzlpcode)            Address(Number.Street,city,Stateartd   know it
                                                              zIPcode)
26. Haveyou beenapartyinanyjudicialoradministrativeproceedingunderanyenvironmentalIaw?Includesettlementsandorders.
      K No
      Q Yes.Fillinthedetails.
      Case Title                                              Courtoragency                      Natureofthecase                  Status ofthe
      case Number                                             Name                                                                case
                                                              Address(Number,Street,City,
                                                              StateandZIPCode)
 *.
            Give DetailsAboutYourBusiness orConnectionsto Any Business

27. W i
      thin4 years beforeyoufil
                             ed forbankruptcy,did youowna business orhaveanyofthefollowing connections toany business?
          D A soleproprietororself-employedinatrade,professi  on,orotheracti vity,eitherfull-timeorpart-time
          IZIA memberofa I imitedIiabilitycompany(LLC)orIimitedIiabilitypartnership(LLP)
          E1A partnerinapartnership
          U Anofficer,director,ormanagingexecuti veofacorporation
          IZIAnownerofatIeast5% ofthevotingorequi    tysecuritiesofacorporation
       K No. None ofthe above applies. Go to Part12.
      IZI Yes.checkaIIthatapplyaboveandfillinthedetailsbelow foreachbusiness.
      BusinessName                                       Describe the nature ofthe business          EmployerIdentification number
      Address                                                                                        Do notinclude SocialSecurity numberorITIN.
      (Number,Street,City,StateandZIPCode)                Nameofaccountantorbookkeeper
                                                                                                     Dates businessexisted
28. W ithin 2 years before you filed for bankruptcy,did you give a financialstatem entto anyone aboutyourbusiness? Include al1financial
      institutions,creditors,orotherparties.

      K No
      Q Yes.Fillinthedetail
                          s below.
      Nam e                                              Date lssued
      Address
      (Number,Street,City,StateandZlPCodej




OfficialForm 107                                 StatementofFinancialAffairsforlndividualsFilingforBankruptcy                                ;1aoo 6
SoftwareCopyright(c)1996-2019BestCase LLC -www.bestcase.com                                                                   000047
                                                                                                                                 BestCaseBankruptcy
          Case
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 Debtor1 Afsaneh Doost

 p-
            Sign Below

IhavereadtheanswersonthisStatementofFinancialAffairsandanyattachments,andIdeclareunderpenaltyofperjurythattheanswers
aretrueand correct.Iunderstandthatmakingafal
                                           sestatement,concealingpropeo ,orobtainingmoneyorpropertybyfraud inconnection
withabankru          canresultinfinesupto$250,000,orimprisonmentforupto20years,orboth.
18 U.S.       152,1341,1 19,and 3571.
                    c
 Afsane Do                                                      Signature ofDebtor2
 Signature ofDebtor1

 Date January 28,2020                                           Date
Didyouattachadditionalpagesto YourStatementofFinancialA'airsforlndividualsFiling forBankruptcy(OfficialForm 107)7
K No
D Yes
Did you pay oragreeto pay someone who is notan attorney to help you filloutbankruptcyforms?
D No
K Yes NamecfPerscn            Afsaneh Doost          AttachtheBankruptcyPetitlonPreparer'
                                                                                        sNotice, Declarati
                                                                                                         on,andSignature(Offi
                                                                                                                            cialForm 119)




OfficialForm 107                                 StatementofFinancialAffairs forlndividuals Filing forBankruptcy                       X 0e 7
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 Debtor1                  Afsaneh Doost
                          FlrstName                   MiddleName              LastName
 Debtor2
 (Spouseif.flling)
 Uni
   ted StatesBankruptcyCourtforthe: CENTRALDISTRICT OF CALIFORNIA
Case number
(ifknown)                                                                                                       I
                                                                                                                ZI Checkifthisisan
                                                                                                                   amended fili
                                                                                                                              ng


O fficialForm 108
Statem ent oflntention forlndividuals Filing U nder C hapter7                                                                      lwls
I
fyouare an individualfiling underchapter7,you mustfilloutthisform if:
K creditors have claimssecured by yourproperty, or
K youhave Ieased personalpropertyand the Iease has notexpired.
You m ustfile thisform withthe courtwithin 30 daysafteryou file yourbankruptcy petition orbythe datesetforthe meeting ofcreditors,
         whicheveris earlier,unlessthecourtextends the time forcause.You mustalso send copiesto thecreditorsand Iessors you Iist
         onthe form

I
ftwomarriedpeoplearefilingtogetherinajointcase,bothareequallyresponsibleforsupplyingcorrectinformation.Bothdebtorsmust
            signand datetheform .
Be as completeand accurate as possible.lfmore space is needed,attach aseparatesheetto thisform.Onthe top ofany additionalpages,
            writeyournameandcasenumber(ifknown).
 *.
             ListYourCreditors W ho HaveSecured Claims

1.Foranycredi
            torsthatyouIistedinPart1ofScheduleD:Credi
                                                    torsWho HaveCl
                                                                 aimsSecuredbyProperty(OfficialForm 106D),fillinthe
  information below .
   Identifythecreditofandthepropertythatiscollateral               Whatdoyouintendtodowiththepropeo that       Didyoucl
                                                                                                                      aim theproperty
                                                                   s@cures a debt?                         .   as qxpmpton ScheduleC?


   Creditor's Bank OfAm erica                                      IZISurrendertheproperty.                    C1No
   name:                                                           IZIRetainthepropedyandredeem i    t.
                                                                   K Retai n the propedy and enteri
                                                                                                  nto a        K Yes
   Descriptionof 4567 W hite Oak PLC Encino,CA                        ReaffirmationAgreement.
   propedy       91316 Los Angeles County                          D RetainthepropertyandEexpl
                                                                                             ain):
   securingdebt:
 -.
             ListYourUnexpired PersonalPro e              Leases
Foranj unexpiredpersonalpropertyI
                                easethatyouIistedinScheduleG:ExecutoryGontrace andUnexpired Leases(OfficialForm 106G),fill
in the Information below.Do notIistrealestate Ieases.Unexpired Ieases are Ieases thatare stillin effect;the lease period has notyetended.
YoumayassumeanunexpiredpersonalpropedyIeaseifthetrusteedoesnotassumeit.11U.S.C.ï365(p)(2).
Describeyourunexpired personalproperty I
                                       eases                                                               W illthe I
                                                                                                                    ease beassumed?

Lessor'sname:                                                                                              I
                                                                                                           ZINo
Description ofIeased
Propert
      y:                                                                                                   I
                                                                                                           D yes

Lessor'sname:                                                                                              L No
Description ofleased
Property:                                                                                                  Q Yes
Lessor'snam e:                                                                                             L No
     alForm 1O8
Offici                                           StatementofIntentionforIndi
                                                                           vidual
                                                                                s Filing UnderChapter7                               1
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Debtor1 Afsaneh Doost

Descriptionofleased
Property:                                                                                      I
                                                                                               ZIYes
Lessor's name:                                                                                 Q No
DescriptionofIeased
Propedy:                                                                                       (:1Yes
Lessor'sname:                                                                                  Q No
DescriptionofIeased
Propedy:                                                                                       (
                                                                                               ZIYes
Lessor'sname:                                                                                  E:1No
Descriptionofleased
Propedy:                                                                                       Q Yes
Lessor'sname:                                                                                 (ZlNo
DescriptionofIeased
Property:                                                                                     D Yes
*-
         Sign Below

Underpenal
         ty of    '        e thatIhave indicated my intention aboutany propedy ofmyestatethatsecuresa debtand any personal
propertyt     subjecttoanunex 'redIease.
X                     -J                                    X
     Afsane oo                                                  Signature ofDebtor2
     Si
      gnatureofDebtor1

     Date    January 28,2020                                Date




OfhcialForm 108                    StatementofIntentionforlndi
                                                             vidualsFiling UnderChapter7                                 P39e 2
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                                            UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA


          Afsaneh Doost




                                                                                       VERIFICATIO N O F M ASTER
                                                                                      MA ILING LIST O F CREDITO RS
                                                                                                  ILBR 1007-1(a)1


Pursuantto LBR 1007-1(a),the Debtor,orthe Debtor'sattorney i
                                                           fapplicable,cedifiesunderpenaltyofperju!'
                                                                                                   ythatthe
mastermailing listofcreditors filed in this bankruptcy case,consisting of 3 sheetls)is complete,correct,and
consistentwith the Debtor'sschedulesand I/we assume alIrespo ' ''                                      om issions.

Date: January 28,2020                                                                                '
                                                                                                     N-
                                                                            Signature            tor1


                                                                            SignatureofDebtor2 (ointdebtor))(ifapplicabie)
Date: January 28,2020
                                                                            SignatureofAttorneyforDebtor(ifapplicable)




                Thisform isoptional.IthasbeenapprovedforuseintheUnitedStatesBankruptcyCourtfortheCentralDistrictofCalifornia.
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                    Afsaneh Doost
                    4567 White Oak Place
                    Encino , CA 91316


                    A FN I
                    404 Brock Dr .
                    Bloomington ,


                    AWA Collections
                    P.O . Box 5545
                    Lake Forest , CA 92630


                    Bank Of America
                    1800 Tapo Canyon Rd.
                    Simi Valley, CA 9306)

                    Behrouz Lalezarzadeh
                    419 Clark St.
                    CA 91211


                    CHASE
                    P.O . Box 94014
                    Palatine, TL 60094


                    credence
                    17000 dallas pkwy
                    Dallas, TX 75248




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                    Equitable Accent Financial, LLC
                    5030 Camiono De La Siesta #340
                    San Diego, CA 92108


                    Haleh mansouri
                    624 S . Grand Ave w 32200
                    Los Angeles, CA 90017


                    Jelani Doost
                    4567 White Oak P1c
                    Encino, CA 91316


                    LCO Pool & Spa
                    P.O . Box 7115
                    Van Nuys, CA 91409


                    Linden Trust
                    7215 Canby Ave .
                    Reseda , CA 91335


                    Michael S. Hunt
                    151 Bernal Road #8
                    San Jose, CA 95119


                    Mohammad Hassani
                    301E . Carolina St . #201
                    Marion, OH 43301


                    Nordstrom/ Faicollect
                    P .O . Box 7148
                    Be llevue , WA 9800 8




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                    Sears Gold Master Card
                    726 Echange Street #700
                    Buffalo, NY 14210


                    T Mobile
                    P . 0 . Box 51843
                    Los Angeles, CA 90051




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                                 Exhibit D
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Attorney or Party Name, Address, Telephone & FAX                    FOR COURT USE ONLY
Nos., State Bar No. & Email Address
Christina J. Khil, #266845
Kelli M. Brown, #328176
Malcolm ♦ Cisneros, A Law Corporation
2112 Business Center Drive, 2nd Floor
Irvine, California 92612
(Telephone) (949)252-9400
(Facsimile) (949)252-1032
Email: christinao@mclaw.org




      Movant appearing without an attorney
X     Attorney for Movant

                                    UNITED STATES BANKRUPTCY COURT
                      CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION
In re:                                                              CASE NO.: 1:20-bk-10213-MT
Afsaneh Doost,
                                                                    CHAPTER: 7


                                                                          NOTICE OF MOTION AND MOTION
                                                                         FOR RELIEF FROM THE AUTOMATIC
                                                                            STAY UNDER 11 U.S.C. § 362
                                                                           (with supporting declarations)
                                                                                 (REAL PROPERTY)
                                                                    DATE: 04/08/2020
                                                                    TIME: 10:00a.m.

                                                        Debtor(s). COURTROOM: 302
Movant:         BANK OF AMERICA, N.A.


 1.      Hearing Location:
                255 East Temple Street, Los Angeles, CA 90012                     411 West Fourth Street, Santa Ana, CA 92701
          X     21041 Burbank Boulevard, Woodland Hills, CA 91367                 1415 State Street, Santa Barbara, CA 93101
                3420 Twelfth Street, Riverside, CA 92501
 2.      Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
         parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
         granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
         attached Motion.
 3.      To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
         preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
         the format required by LBR 9004-1 and the Court Manual.




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4.   When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion was
     filed by an unrepresented individual) at the address set forth above.

5.   If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
     such failure as consent to granting of the motion.

6.     X   This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion, you
           must file and serve a written response to this motion no later than 14 days before the hearing and appear at the
           hearing.

7.         This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
           motion, you must file and serve a response no later than (date) _______ and (time) ____________; and, you
           may appear at the hearing.

      a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
                procedures of the assigned judge).

      b.        An application for order setting hearing on shortened notice was not required (according to the calendaring
                procedures of the assigned judge).

      c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court rules
                on that application, you will be served with another notice or an order that specifies the date, time and place of
                the hearing on the attached motion and the deadline for filing and serving a written opposition to the motion.


     Date: March 17, 2020                                  Respectfully submitted,

                                                           MALCOLM & CISNEROS, ALC
                                                           Printed name of law firm (if applicable)
                                                           Christina J. Khil
                                                           Printed name of individual Movant or attorney for Movant



                                                           /s/ Christina J. Khil
                                                           Signature of individual Movant or attorney for Movant




                                                                                                                  000074
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                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO REAL PROPERTY
1.   Movant is the:

                  Holder: Movant has physical possession of a promissory note that either (1) names Movant as the payee under
                  the promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer.
          X       Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
                  mortgage or deed of trust) or (2) is the assignee of the beneficiary.
                  Servicing agent authorized to act on behalf of the Holder or Beneficiary.
                  Other (specify):

2.   The Property at Issue (Property):

     a.       Address:

              Street address:             4567 White Oak Place
              Unit/suite number.:
              City, state, zip code:      Los Angeles, CA 91316-4334

     b.       Legal description, or document recording number (including county of recording), as set forth in Movant’s deed of trust
              (attached as Exhibit “1”):
                           County of Los Angeles; Document Recording Number: 05 1673008 See Exhibit “1”

3.   Bankruptcy Case History:

     a.       A    X voluntary         involuntary bankruptcy petition under chapter          X   7      11       12       13
              was filed on (date) 01/28/2020.

     b.                An order to convert this case to chapter            7        11       12        13     Was entered on (date) _______.

     c.                A plan, if any, was confirmed on (date) ________________________.

4.   Grounds for Relief from Stay:

     a.        X      Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay as follows:
              (1)      X    Movant’s interest in the Property is not adequately protected.
                      (A)    X       Movant’s interest in the Property is not protected by an adequate equity cushion.
                      (B)            The fair market value of the Property is declining and payments are not being made to Movant
                                     sufficient to protect Movant’s interest against that decline.
                      (C)            Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s
                                     obligation to insure the collateral under the terms of Movant’s contract with the Debtor.

              (2)      X    The bankruptcy case was filed in bad faith.
                      (A)            Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                                     commencement documents.
                      (B)            The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.
                      (C)            A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
                                     filing this bankruptcy case.
                      (D)    X       Other bankruptcy cases have been filed in which an interest in the Property was asserted.
                      (E)            The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                                     and the statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.
                      (F)            Other (see attached continuation page).




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           (3)          (Chapter 12 or 13 cases only)
                 (A)          All payments on account of the Property are being made through the plan.
                                   Preconfirmation        Postconfirmation plan payments have not been made to the chapter 12
                              trustee or chapter 13 trustee.
                 (B)          Postpetition mortgage payments due on the note secured by a deed of trust on the Property have not
                              been made to Movant.

           (4)          The Debtor filed a Statement of Intentions that indicates the Debtor intends to surrender the Property.

           (5)          The Movant regained possession of the Property on (date) _________.
                       which is        prepetition       postpetition.

           (6)          For other cause for relief from stay, see attached continuation page.

     b.          Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to
                 § 362(d)(2)(B), the Property is not necessary to an effective reorganization.

      c.         Pursuant to 11 U.S.C. § 362(d)(3), the Debtor has failed, within the later of 90 days after the order for relief or
                 30 days after the court determined that the Property qualifies as “single asset real estate” as defined in
                 11 U.S.C. § 101(51B) to file a reasonable plan of reorganization or to commence monthly payments.

     d.     X    Pursuant to 11 U.S.C. § 362(d)(4), the Debtor’s filing of the bankruptcy petition was part of a scheme to delay,
                 hinder, or defraud creditors that involved:

           (1)          The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                        court approval; or

           (2)    X     Multiple bankruptcy cases affecting the Property.

5.         Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.

     a.          These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
                 been entitled to relief from the stay to proceed with these actions.

     b.          Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                 with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit _______.

     c.          Other (specify):


6.   Evidence in Support of Motion: (Declaration(s) MUST be signed under penalty of perjury and attached to this
     motion)
      a.   The REAL PROPERTY DECLARATION on page 6 of this motion.
     b.          Supplemental declaration(s).
      c.    X    The statements made by Debtor under penalty of perjury concerning Movant’s claims and the Property as set
                 forth in Debtor’s case commencement documents. Authenticated copies of the relevant portions of the case
                 commencement documents are attached as Exhibit “5”.
     d.     X    Other: An Assignment of Deed of Deed of Trust is attached hereto as Exhibit “3”.
                        A loan modification agreement is attached hereto as Exhibit “4”.

7.         An optional Memorandum of Points and Authorities is attached to this motion.




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Movant requests the following relief:

1.     Relief from the stay is granted under:   X 11 U.S.C. § 362(d)(1)         11 U.S.C. § 362(d)(2)       11 U.S.C. § 362(d)(3).
2.     X    Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its remedies
            to foreclose upon and obtain possession of the Property.
3.     X    Movant, or its agents, may, at its option, offer, provide and enter into a potential forebearance agreement, loan
            modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its
            servicing agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.
4.          Confirmation that there is no stay in effect.

5.          The stay is annulled retroactive to the bankruptcy petition date. Any postpetition actions taken by Movant to
            enforce its remedies regarding the Property shall not constitute a violation of the stay.
6.          The co-debtor stay of 11 U.S.C. §1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
            the same terms and conditions as to the Debtor.
7.     X    The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

8.          A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
            of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing on this Motion:
                without further notice, or       upon recording of a copy of this order or giving appropriate notice of its entry in
                compliance with applicable nonbankruptcy law.
9.     X    Relief from the stay is granted under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
            governing notices of interests or liens in real property, the order is binding in any other case under this title
            purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the court,
            except that a debtor in a subsequent case under this title may move for relief from the order based upon changed
            circumstances or for good cause shown, after notice and hearing.
10.         The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
            interest in the Property for a period of 180 days from the hearing of this Motion:

                without further notice, or    upon recording of a copy of this order or giving appropriate notice of its entry in
                compliance with applicable nonbankruptcy law.
11.         The order is binding and effective in any future bankruptcy case, no matter who the debtor may be:

                without further notice, or    upon recording of a copy of this order or giving appropriate notice of its entry in
                compliance with applicable nonbankruptcy law.
12.         Upon entry of the order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
            Code § 2920.5(c)(2)(C).

13.         If relief from stay is not granted, adequate protection shall be ordered.

14.    X    See attached continuation page for other relief requested.
      Date: March 17, 2020                                  Respectfully submitted,

                                                            MALCOLM & CISNEROS, ALC
                                                            Printed name of law firm (if applicable)
                                                            Christina J. Khil
                                                            Printed name of individual Movant or attorney for Movant


                                                            /s/ Christina J. Khil
                                                            Signature of individual Movant or attorney for Movant




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Page 3:
Movant requests the following relief:

14.     X   See attached continuation page for other relief requested.

                 In the alterative, as the instant bankruptcy case (filed on January 28, 2020) is the second case
                 following Debtor previous case (1:19-bk-12284-MT, dismissed on December 10, 2019) which was
                 pending and dismissed within the prior one year period, Movant seeks confirmation pursuant to
                 363(c)(3)(A) that the automatic stay has terminated in its entirety. 11 U.S.C. 363(c)(3)(A); In re
                 Reswick, 446 B.R. 362 (9th Cir. BAP 2011).

Page 10:
18.     X   The filing of the bankruptcy petition was part of a scheme to delay, hinder, or defraud creditors that involved:
       b.   X     Multiple bankruptcy cases affecting the Property include:

            4.     Case name:    Afsaneh Doost
                   Chapter: 7                     Case number: 1:11-bk-22838-MT
                   Date filed:11/03/2011          Date discharged:                            Date dismissed: 12/13/2011
                   Relief from stay regarding the Property           was      X   was not     granted.



         On April 4, 2019, a Notice of Default and Election to Sell Under Deed of Trust was recorded against the
Property. On August 6, 2019, a Notice of Trustee’s Sale was recorded against the Property, scheduling a trustee’s
sale date for September 12, 2019. On September 11, 2019, Afsaneh Doost filed a bankruptcy petition in the Central
District of California, assigned case number 1:19-bk-12284-MT (“2019 Case”). Due to the 2019 Case, the trustee’s
sale was postponed. On October 24, 2019, Movant filed a Motion for Relief from the Automatic Stay and an order
granting the motion was entered on November 21, 2019. Afsaneh Doost failed to appear at the 341(a) meeting and
the First Case thus dismissed on December 10, 2019.

        A trustee’s sale scheduled for January 30, 2020. However, again on January 28, 2020, Afsaneh Doost filed
the instant bankruptcy petition in the Central District of California, assigned case number 1:20-bk-10213-MT
(“Instant Case”) which stopped the trustee sale from proceeding.

         The Debtor has filed multiple bankruptcy cases, which have affected the Property. In review of the Debtor’s
prior bankruptcy history, it would appear that the Debtor has a history of filing bankruptcy cases which he fails to
complete. The Debtor’s prior four (4) bankruptcy cases have either been dismissed, left incomplete and/or
abandoned as he has failed to appear at the 341(a) meeting. The Debtor’s two (2) most recent bankruptcy filings
were filed day(s) before a scheduled trustee’s sale and used to delay and hinder Movant from proceeding with its
available state law remedies. In Debtor’s 2019 Case, Movant obtained an order granting relief from the automatic
stay to proceed with its remedies. In less than three (3) months’ time Debtor’s 2019 Case was dismissed because he
failed to appear at the 341(a) meeting and Debtor again filed the instant case, causing Movant to again postpone its
trustee’s sale. Based on the foregoing, Movant submits that the multiple bankruptcy cases have been used as part of
a scheme to delay, hinder or defraud Movant.




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      1.       Bank of America, N.A. services the loan on the Property referenced in this Motion. In the
event the automatic stay in this case is modified, this case dismisses, and/or the Debtor obtain(s) a
discharge and a foreclosure action is commenced on the mortgaged property, the foreclosure will be
conducted in the name of Movant. Movant, directly or through an agent, has possession of the Note. The
Note is either made payable to Movant or has been duly endorsed.




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 Debtor1                       Afsaneh Doost
                               FlrstName                              M iddleName                            LastName
Debtor2
(Spouse,lfflling)
 United StatesBankruptcyCoud forthe: CENTRAL DISTRICT OF CALIFORNIA

Casenumber                                                                                                                                                                 IZI checki
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O#icialForm 106 B
     chedule /B :Prope y                                                                                                                                                       12/1s
ln each category,separately Iistand describe items.Listan assetonlyonce. Ifan assetfits in more than onecategory,Iistthe assetin thecategory where you
thinkitfitsbest.Beascompleteandaccurateaspossible.lftwo marriedpeoplearefilingtogether,bothareequallyresponsibleforsupplyingcorrect
information.I
            fmorespacei
                      s needed,attachaseparatesheettothisform.Onthetopofanyadditi
                                                                                onalpages,wri
                                                                                            teyournameand casenumber(i
                                                                                                                     fknown).
Answereveryquestion.
 *
     .        Describe Each Residence,Building,Land,orOtherRealEstate You Own orHave an InterestIn
1.Do you own orhaveany legalorequitable interestin any residence,building,Iand,orsimilarpropedy?
     EINo.Gotopart2
     K ves w hereisthepropedy?
              .




                                                                                 W hatis the propedy? checkaIIthatapply
          4567 W hite Oak PLC                                                       1 Single-famil
                                                                                                 yhome                                              Donotdeductsecuredclai
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                                                                                                                                                                                   ons.Put
          Streetaddress.ifavailable orotherdescriptlon
                                                                                    Z Duplexormulti-uni
                                                                                                      tbuil
                                                                                                          din*n'                                    the amountofanysecured claims on Schedule D.
                                                                                                                                                    Credi
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                                                                                                                                                              ()HaveQai msSecuredbyPropetly   .
                                                                                                                                                                                               '
                                                                                    E1 Condominium orcooperative
                                                                                    D Manufacturedormobi  l
                                                                                                          ehome                                     Currentvalue ofthe    Currentvalue ofthe
          Encino                            CA        91316-0000                    Q Land                                                          entireproperty?       portionyouown?
          Clty                              State           ZlP Code                I
                                                                                    ZI Investmentproperty                                                $1,550,000.00          $1,550,000.00
                                                                                    I
                                                                                    ZI Timeshare
                                                                                    Q Other                                                         Describethenatureofyourownershipi nterest
                                                                                                                                                    (suchasfeesimple,tenancybytheentireties,or
                                                                                 who hasaninterestintheproperty?checkone                            aIifeestate),ifknown.
                                                                                   K Debtor1onl y                                                   Fee sim ple
          Los Angeles                                                             D Debt or2onl y
          County                                                                  IZI Debt
                                                                                         or1andDebtor2onl  y
                                                                                  Z                                                                 D checkifthisiscommuni
                                                                                                                                                                         typroperty
                                                                                       Atleastoneofthe debtorsand another            (seeInstructions)
                                                                                 Otherinformation you wish to add aboutthis item,such as Iocal
                                                                                 propedy identification number:




2. Add the dollarvalue ofthe portion you own foraIIofyourentries from Part1,including any entriesfor
         r)lj(1(,6$y()tl9111h/tr1,ttll().1(,(1fllrF>11rt1.hliri
                                                              tlhtk111trttlrklk)thr.1(,re...........................................................................az>       $1,550,000.00

 *.           Describe YourVehicles

Do youown,Iease,orhave Iegalorequitabl  e interestinany vehicl
                                                             es,whethertheyare registered ornot? Incl ude anyvehi
                                                                                                                clesyouownthat
someoneelse dri
              ves.Ifyou I
                        ease avehicl
                                   e,alsoreportiton Schedule G:ExecutoryContracts and Unexpired Leases.
3.Cars,vans,trucks,tractors,sportutilityvehicles,motorcycles

     K No
     EZIYes


OfficialForm 1O6A/B                                                                    Schedul
                                                                                             eA/B:Property                                                                                  page 1
SoftwareCopyright(c)1996-2019BestCase LLC -www.bestcaseacom                                                                                                                       BestCaseBankruptcy
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            Case1:20-bk-10213-MT
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 Debtor1                  Afsaneh Doost
                          FirstName                    MiddleName                 LastName
 Debtor2
 (Spouse!f,fplhng)
 United States BankruptcyCourtforthe:            CENTIRALDISTRICT OF CALIFORNIA

 Case number
 (pfknown)                                                                                                                     I
                                                                                                                               ZI Checkifthisisan
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OfficialForm 106D
Schedule D:C reditors W ho H ave Claim s Secured by Property                                                                                        12/15
Beas complete and accurate aspossible.lftwo married people are filing together,both areequally responsible forsupplying correctinformation.Ifmore space
is needed,copythe AdditionalPage,fillitout,num berthe entries,and attach itto thisform.On the top ofany additionalpages,writeyourname and case
number(ifknown).
1.Do any creditors have claimssecured by yourproperty?
         Z No.Checkthisboxandsubmi       tthi
                                            sform tothecourtwithyourotherschedules. Youhave nothing else to repod on thisform.
         K Yes. FillinaIIofthe informationbelow.
 *-
               ListAIISecured Claims
 2.Listallsecured claims.Ifacreditorhas morethan one secured claim,Iistthe creditorseparately   Column A              Colêllnn 8           Column C
 foreach claim, Iffnorethanone creditorhasa particularclaim.listthe othercreditorsin Part2.As   Amountofclaim         Value ofcollateral   Unsecured
 muchaspossible,Iistthe claimsinalphabeticalorderaccording to the creditor's name.              Do notdeductthe       thatsupports this    portion
                                                                                                value ofcollateral.   claim                lfany
 2.1 BankOfAmerica                             Describethepropertythatsecurestheclaim:          $1,493,000.00           $1,550,000.00                $0.00
          credl
              tor'
                 sName                         4567 w hite Oak PLC Encino,CA
                                               91316 Los Angeles County
          1800 Tapo Canyon Rd                  Asofthedateyoufile,theclaim is:checkaIIthat
                                     .         apply
          Sim iValley,CA 93063                 E1contingent
          Number.Street.Cl
                         ty,State&Zi
                                   pCode       Z Unli quidated
                                               Z Di  sputed
W ho owes the debt? Checkone.                  Nature ofIien.Checkallthatapply.
 K Debtor1only                                 K Anagreementyoumade(suchasmortgageorsecured
 Z Debtor2only                                    CarIOan)
 Z Debtor1andDebtor2onl y                      Z StatutoryIi
                                                           en(suchastaxIien,mechanic'sIien)
 Z Atl
     eastoneofthedebtorsandanother             Z JudgmentIi enfrom aI
                                                                    awsui t
 Z Checkifthiscl
               aim relatestoa                  Z Other(includi
                                                             ngarighttooffset)
         community debt




     Addtbedol   larvalueofyourentriesinColumnAonthispage.Writethatnumberhere:                          $1j493,000*00
     Ifthis isthe Iastpage ofyourform,add the dollarvaluetotals from alIpages.
     wri tethatnumberhere:                                                                              $1,493,000.00
 -
     .       Listothersto Be Noti
                                fied fora DebtThatYouAlready Listed
Use this page only ifyou have others to be notified aboutyourbankruptcyfora debtthatyou already Iisted in Part1.Forexam ple,ifa collection agency is
trying to collectfrom youfora debtyou owe to someoneelse,Iistthecreditorin Part1,and then listthe collection agency here.Sim ilarly,ifyou have more
than one creditorforany ofthe debts thatyou Iisted in Pad 1,Iistthe additionalcreditors here.Ifyou do nothave additionalpersons to be notified forany
debts in Part1,do notfillotltorsublnitthis page.




Offi
   cialForm 1O6D                               Schedule D:Credi
                                                              torsW ho HaveClaims Secured by Property                                           page 1of1
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Case 1:20-bk-10213-MT    Doc 21 Filed 04/29/20 Entered 04/29/20 13:08:38   Desc
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                                 Exhibit E
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
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                                                 Main Document         Page 142 of 170
                                                                          Incomplete, BPP, DISMISSED, CLOSED


                                   U.S. Bankruptcy Court
                     Central District of California (San Fernando Valley)
                         Bankruptcy Petition #: 1:11-bk-22838-MT
                                                                                              Date filed:           11/03/2011
 Assigned to: Maureen Tighe                                                            Date terminated:             12/13/2011
 Chapter 7                                                                            Debtor dismissed:             11/22/2011
 Voluntary                                                                                  341 meeting:            12/05/2011
 No asset                                                                      Deadline for objecting to            02/03/2012
                                                                                              discharge:
                                                                            Deadline for financial mgmt.            02/03/2012
 Debtor disposition: Dismissed for Failure to                                                    course:
 File Information

 Debtor                                                                     represented by Afsaneh Doost
 Afsaneh Doost                                                                             PRO SE
 4567 White Oak Pl
 Encino, CA 91316
 LOS ANGELES-CA
 818-344-5784
 SSN / ITIN: xxx-xx-1679

 Trustee
 Diane C Weil (TR)
 5950 Canoga Avenue, Suite 400
 Woodland Hills, CA 91367
 (818) 651-6400

 U.S. Trustee
 United States Trustee (SV)
 915 Wilshire Blvd, Suite 1850
 Los Angeles, CA 90017
 (213) 894-6811


       Filing
                                             #                                           Docket Text
       Date

   11/03/2011                          1                              Chapter 7 Voluntary Petition . Fee Amount

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?665873604043558-L_1_0-1
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3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
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                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 143 of 170
                                       (11 pgs; 3 docs)               $306 Filed by Afsaneh Doost Statement of
                                                                      Intent due 12/5/2011. Schedule A due
                                                                      11/17/2011. Schedule B due 11/17/2011.
                                                                      Schedule C due 11/17/2011. Schedule D due
                                                                      11/17/2011. Schedule E due 11/17/2011.
                                                                      Schedule F due 11/17/2011. Schedule G due
                                                                      11/17/2011. Schedule H due 11/17/2011.
                                                                      Schedule I due 11/17/2011. Schedule J due
                                                                      11/17/2011. Statement of Financial Affairs due
                                                                      11/17/2011. Statement - Form 22A Due:
                                                                      11/17/2011. Notice of available chapters due
                                                                      11/17/2011. Statement of assistance of non-
                                                                      attorney due 11/17/2011. Verification of
                                                                      creditor matrix due 11/17/2011. Summary of
                                                                      schedules due 11/17/2011. Declaration
                                                                      concerning debtors schedules due 11/17/2011.
                                                                      Disclosure of compensation of bankruptcy
                                                                      petition preparer due 11/17/2011. Cert. of
                                                                      Credit Counseling due by 11/17/2011. Decl.
                                                                      and Ntc. by Petition Preparer (Form 19) due by
                                                                      11/17/2011. Statistical Summary due
                                                                      11/17/2011. Debtor Certification of
                                                                      Employment Income due by 11/17/2011.
                                                                      Incomplete Filings due by 11/17/2011. (Boyd,
                                                                      Brenda) (Entered: 11/03/2011)

                                       2                              Meeting of Creditors with 341(a) meeting to be
                                       (2 pgs)                        held on 12/05/2011 at 11:00 AM at RM 105,
                                                                      21051 Warner Center Lane, Woodland Hills,
                                                                      CA 91367. Objections for Discharge due by
                                                                      02/03/2012. Cert. of Financial Management
                                                                      due by 02/03/2012 for Debtor and Joint Debtor
                                                                      (if joint case) (Boyd, Brenda) (Entered:
   11/03/2011                                                         11/03/2011)

                                       3                              Statement of Social Security Number(s) Form
                                                                      B21 Filed by Debtor Afsaneh Doost . (Boyd,
   11/03/2011                                                         Brenda) (Entered: 11/03/2011)

                                       4                              Notice of Requirement to Complete Course in
                                       (3 pgs)                        Financial Management (BNC) . (Boyd,
   11/03/2011                                                         Brenda) (Entered: 11/03/2011)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?665873604043558-L_1_0-1
                                                                                                               000138      2/5
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
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                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 144 of 170
   11/03/2011                                                         Receipt of Chapter 7 Filing Fee - $306.00 by
                                                                      11. Receipt Number 10047221. (admin)
                                                                      (Entered: 11/04/2011)

                                       5                              BNC Certificate of Notice (RE: related
                                       (4 pgs)                        document(s) 2 Meeting (AutoAssign Chapter
                                                                      7)) No. of Notices: 5. Notice Date 11/05/2011.
   11/05/2011                                                         (Admin.) (Entered: 11/05/2011)

                                       6                              BNC Certificate of Notice (RE: related
                                       (3 pgs)                        document(s) 1 Voluntary Petition (Chapter 7)
                                                                      filed by Debtor Afsaneh Doost) No. of Notices:
                                                                      1. Notice Date 11/05/2011. (Admin.) (Entered:
   11/05/2011                                                         11/05/2011)

                                       7                              BNC Certificate of Notice (RE: related
                                       (3 pgs)                        document(s) 1 Voluntary Petition (Chapter 7)
                                                                      filed by Debtor Afsaneh Doost) No. of Notices:
                                                                      1. Notice Date 11/05/2011. (Admin.) (Entered:
   11/05/2011                                                         11/05/2011)

                                       8                              BNC Certificate of Notice (RE: related
                                       (5 pgs)                        document(s) 4 Notice of Requirement to
                                                                      Complete Course in Financial Management
                                                                      (BNC)) No. of Notices: 1. Notice Date
   11/05/2011                                                         11/05/2011. (Admin.) (Entered: 11/05/2011)

                                       9                              ORDER and notice of dismissal for failure to
                                       (1 pg)                         file schedules, statements, and/or plan - Debtor
                                                                      Dismissed. All pending motions and adversary
                                                                      proceedings are moot and dismissed. (BNC)
                                                                      Signed on 11/22/2011. (Toomer, Rosalyn)
   11/22/2011                                                         (Entered: 11/22/2011)

                                       10                             BNC Certificate of Notice (RE: related
                                       (3 pgs)                        document(s) 9 ORDER and notice of dismissal
                                                                      for failure to file schedules, statements, and/or
                                                                      plan (Option A or Option B) (BNC)) No. of
                                                                      Notices: 6. Notice Date 11/24/2011. (Admin.)
   11/24/2011                                                         (Entered: 11/24/2011)

   12/07/2011                                                         Chapter 7 Trustee's Report of No Distribution:
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?665873604043558-L_1_0-1
                                                                                                               000139      3/5
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 145 of 170
                                                                      I, Diane Weil (TR), having been appointed
                                                                      trustee of the estate of the above-named
                                                                      debtor(s), report that this case was dismissed or
                                                                      converted. I have neither received any property
                                                                      nor paid any monies on account of this estate. I
                                                                      hereby certify that the chapter 7 estate of the
                                                                      above-named debtor(s) has been fully
                                                                      administered through the date of conversion or
                                                                      dismissal. I request that I be discharged from
                                                                      any further duties as trustee. Key information
                                                                      about this case as reported in schedules filed by
                                                                      the debtor(s) or otherwise found in the case
                                                                      record: This case was pending for 1 months.
                                                                      Assets Abandoned (without deducting any
                                                                      secured claims): Not Applicable, Assets
                                                                      Exempt: Not Applicable, Claims Scheduled:
                                                                      Not Applicable, Claims Asserted: Not
                                                                      Applicable, Claims scheduled to be discharged
                                                                      without payment (without deducting the value
                                                                      of collateral or debts excepted from discharge):
                                                                      Not Applicable. Filed by Trustee Diane Weil
                                                                      (TR) (RE: related document(s)2 Meeting of
                                                                      Creditors with 341). (Weil (TR), Diane)
                                                                      (Entered: 12/07/2011)

                                       11                             Bankruptcy Case Closed - DISMISSED
   12/13/2011                          (1 pg)                         (Dominguez, Amy) (Entered: 12/13/2011)




                                                   PACER Service Center
                                                         Transaction Receipt
                                                           03/18/2020 14:40:10
                             PACER                                               Client
                                                 us7763:2657068:4299065
                             Login:                                              Code:
                             Description: Docket Report                          Search 1:11-bk-
                                                                                 Criteria: 22838-MT
                                                                                           Fil or Ent:
                                                                                           filed From:
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?665873604043558-L_1_0-1
                                                                                                               000140      4/5
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 146 of 170
                                                                                             12/19/2010
                                                                                             To:
                                                                                             3/18/2020
                                                                                             Doc From:
                                                                                             0 Doc To:
                                                                                             99999999
                                                                                             Term:
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                                                                                             Format:
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                                                                                             documents:
                                                                                             included
                             Billable
                                                 2                               Cost:       0.20
                             Pages:




https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?665873604043558-L_1_0-1
                                                                                                               000141      5/5
Case 1:20-bk-10213-MT    Doc 21 Filed 04/29/20 Entered 04/29/20 13:08:38   Desc
                        Main Document    Page 147 of 170




                                 Exhibit F
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 148 of 170
                                                                            RepeatPACER, Repeat-cacb, CLOSED


                                   U.S. Bankruptcy Court
                     Central District of California (San Fernando Valley)
                         Bankruptcy Petition #: 1:16-bk-10078-MT
                                                                                               Date filed:          01/12/2016
 Assigned to: Maureen Tighe                                                             Date terminated:            05/27/2016
 Chapter 7                                                                                   341 meeting:           03/04/2016
 Voluntary                                                                      Deadline for objecting to           04/18/2016
 No asset                                                                                      discharge:
                                                                             Deadline for financial mgmt.           04/18/2016
                                                                                                  course:
 Debtor disposition: Discharge Withheld for
 Failure to Submit Cert of Instructional
 Course for Personal Financial Mgmt

 Debtor                                                                   represented by Dominiq Afzali
 Afsaneh Doost                                                                           Westwood Law Center
 4567 White Oak Pl                                                                       1722 Westwood Blvd Ste 202
 Encino, CA 91316                                                                        Los Angeles, CA 90024
 LOS ANGELES-CA                                                                          310-820-3800
 818-344-5784                                                                            Fax : 310-820-7200
 SSN / ITIN: xxx-xx-1679                                                                 Email: westwlaw@gmail.com

 Trustee
 Nancy J Zamora (TR)
 U.S. Bank Tower
 633 West 5th Street, Suite 2600
 Los Angeles, CA 90071
 213-488-9411

 U.S. Trustee
 United States Trustee (SV)
 915 Wilshire Blvd, Suite 1850
 Los Angeles, CA 90017
 (213) 894-6811


       Filing
                                             #                                           Docket Text
       Date

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?840131141540975-L_1_0-1
                                                                                                               000142       1/11
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 149 of 170
   01/12/2016                           1                             Chapter 7 Voluntary Petition for Individuals .
                                        (13 pgs; 3 docs)              Fee Amount $335 Filed by Afsaneh Doost
                                                                      Statement of Intention for Individuals Filing
                                                                      Under Chapter 7 (Form 108) due 2/11/2016.
                                                                      Summary of Assets and Liabilities (Form
                                                                      106Sum or 206Sum ) due 1/26/2016. Schedule
                                                                      A/B: Property (Form 106A/B or 206A/B) due
                                                                      1/26/2016. Schedule C: The Property You
                                                                      Claim as Exempt (Form 106C) due 1/26/2016.
                                                                      Schedule D: Creditors Who Have Claims
                                                                      Secured by Property (Form 106D or 206D) due
                                                                      1/26/2016. Schedule E/F: Creditors Who Have
                                                                      Unsecured Claims (Form 106E/F or 206E/F)
                                                                      due 1/26/2016. Schedule G: Executory
                                                                      Contracts and Unexpired Leases (Form 106G
                                                                      or 206G) due 1/26/2016. Schedule H: Your
                                                                      Codebtors (Form 106H or 206H) due
                                                                      1/26/2016. Schedule I: Your Income (Form
                                                                      106I) due 1/26/2016. Schedule J: Your
                                                                      Expenses (Form 106J) due 1/26/2016.
                                                                      Declaration About an Individual Debtors
                                                                      Schedules (Form 106Dec) due 1/26/2016.
                                                                      Statement of Financial Affairs (Form 107 or
                                                                      207) due 1/26/2016. Chapter 7 Statement of
                                                                      Your Current Monthly Income (Form 122A-1)
                                                                      Due: 1/26/2016. Statement of Exemption from
                                                                      Presumption of Abuse (Form 122A-1Supp)
                                                                      Due: 1/26/2016. Chapter 7 Means Test
                                                                      Calculation (Form 122A-2) Due: 1/26/2016.
                                                                      Cert. of Credit Counseling due by 1/26/2016.
                                                                      Statement of Related Cases (LBR Form
                                                                      F1015-2) due 1/26/2016. Declaration by
                                                                      Debtors as to Whether Income was Received
                                                                      from an Employer within 60-Days of the
                                                                      Petition Date (LBR Form F1002-1) due by
                                                                      1/26/2016. Incomplete Filings due by
                                                                      1/26/2016. (Kinsley, Terri) (Entered:
                                                                      01/12/2016)

   01/12/2016                           2                             Meeting of Creditors with 341(a) meeting to be
                                        (3 pgs)                       held on 02/17/2016 at 09:30 AM at RM 100,
                                                                      21041 Burbank Blvd., Woodland Hills, CA
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?840131141540975-L_1_0-1
                                                                                                               000143      2/11
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 150 of 170
                                                                      91367-6003. Objections for Discharge due by
                                                                      04/18/2016. Cert. of Financial Management
                                                                      due by 04/18/2016 for Debtor and Joint Debtor
                                                                      (if joint case) (Kinsley, Terri) (Entered:
                                                                      01/12/2016)

                                        3                             Statement About Your Social Security Number
                                                                      (Official Form 121) Filed by Debtor Afsaneh
   01/12/2016                                                         Doost . (Kinsley, Terri) (Entered: 01/12/2016)

                                                                      Receipt of Chapter 7 Filing Fee - $335.00 by
                                                                      16. Receipt Number 10066527. (admin)
   01/12/2016                                                         (Entered: 01/13/2016)

                                                                      Notice of Debtor's Prior Filings for debtor
                                                                      Afsaneh Doost Case Number 11-22838,
                                                                      Chapter 7 filed in California Central
                                                                      Bankruptcy on 11/03/2011 , Dismissed for
                                                                      Failure to File Information on 11/22/2011.
   01/13/2016                                                         (Admin) (Entered: 01/13/2016)

                                        4                             BNC Certificate of Notice (RE: related
                                        (4 pgs)                       document(s)2 Meeting (AutoAssign Chapter
                                                                      7)) No. of Notices: 6. Notice Date 01/14/2016.
   01/14/2016                                                         (Admin.) (Entered: 01/14/2016)

                                        5                             BNC Certificate of Notice (RE: related
                                        (2 pgs)                       document(s)1 Voluntary Petition (Chapter 7)
                                                                      filed by Debtor Afsaneh Doost) No. of Notices:
                                                                      1. Notice Date 01/14/2016. (Admin.) (Entered:
   01/14/2016                                                         01/14/2016)

                                        6                             BNC Certificate of Notice (RE: related
                                        (2 pgs)                       document(s)1 Voluntary Petition (Chapter 7)
                                                                      filed by Debtor Afsaneh Doost) No. of Notices:
                                                                      1. Notice Date 01/14/2016. (Admin.) (Entered:
   01/14/2016                                                         01/14/2016)

                                        7                             Request for courtesy Notice of Electronic
                                        (3 pgs)                       Filing (NEF) Filed by Wilkinson, Reilly.
   01/19/2016                                                         (Wilkinson, Reilly) (Entered: 01/19/2016)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?840131141540975-L_1_0-1
                                                                                                               000144      3/11
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 151 of 170
   01/22/2016                           8                             Notice of motion and motion for relief from the
                                        (64 pgs; 5 docs)              automatic stay with supporting declarations
                                                                      REAL PROPERTY RE: 5337 Topeka Dr.,
                                                                      Tarzana, CA 91356 . Fee Amount $176, Filed
                                                                      by Creditor CAM XI TRUST, its successors
                                                                      and/or assignees (Attachments: # 1 Motion for
                                                                      Relief # 2 Memorandum of Points and
                                                                      Authorities # 3 Declaration # 4 Proof of
                                                                      Service) (Wilkinson, Reilly) (Entered:
                                                                      01/22/2016)

                                                                      Receipt of Motion for Relief from Stay - Real
                                                                      Property(1:16-bk-10078-MT) [motion,nmrp] (
                                                                      176.00) Filing Fee. Receipt number 41688482.
                                                                      Fee amount 176.00. (re: Doc# 8) (U.S.
   01/22/2016                                                         Treasury) (Entered: 01/22/2016)

                                        9                             Ex parte application for Order Setting Hearing
                                        (57 pgs; 2 docs)              on Shortened Notice Filed by Creditor CAM
                                                                      XI TRUST, its successors and/or assignees
                                                                      (Attachments: # 1 Proof of Service)
   01/22/2016                                                         (Wilkinson, Reilly) (Entered: 01/22/2016)

                                        10                            Order Granting Application and Setting
                                        (4 pgs)                       Hearing on Shortened Notice (Related Doc # 9
                                                                      ) Signed on 1/25/2016 (Cetulio, Julie)
   01/25/2016                                                         (Entered: 01/25/2016)

                                        11                            Hearing Set (RE: related document(s)8 Motion
                                                                      for Relief from Stay - Real Property filed by
                                                                      Creditor CAM XI TRUST, its successors
                                                                      and/or assignees) The Hearing date is set for
                                                                      2/3/2016 at 11:00 AM at Crtrm 302, 21041
                                                                      Burbank Blvd, Woodland Hills, CA 91367.
                                                                      The case judge is Maureen Tighe (Cetulio,
   01/25/2016                                                         Julie) (Entered: 01/25/2016)

                                        12                            Order Amending Order Granting Application
                                        (2 pgs)                       for Hearing on Shortened Time (Related Doc #
                                                                      10 ) Signed on 1/25/2016 (Fisher, Liliana)
   01/25/2016                                                         (Entered: 01/25/2016)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?840131141540975-L_1_0-1
                                                                                                               000145      4/11
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 152 of 170
   01/26/2016                           13                            Notice of Hearing Filed by Creditor CAM XI
                                        (10 pgs; 3 docs)              TRUST, its successors and/or assignees (RE:
                                                                      related document(s)8 Notice of motion and
                                                                      motion for relief from the automatic stay with
                                                                      supporting declarations REAL PROPERTY
                                                                      RE: 5337 Topeka Dr., Tarzana, CA 91356 . Fee
                                                                      Amount $176, Filed by Creditor CAM XI
                                                                      TRUST, its successors and/or assignees
                                                                      (Attachments: # 1 Motion for Relief # 2
                                                                      Memorandum of Points and Authorities # 3
                                                                      Declaration # 4 Proof of Service)).
                                                                      (Attachments: # 1 Ex Parte Order # 2 Proof of
                                                                      Service) (Wilkinson, Reilly) (Entered:
                                                                      01/26/2016)

                                        14                            Certificate of Credit Counseling Filed by
                                        (1 pg)                        Debtor Afsaneh Doost (RE: related
                                                                      document(s)1 Voluntary Petition (Chapter 7)).
   01/26/2016                                                         (Toomer, Rosalind) (Entered: 01/27/2016)

   01/26/2016                           15                            Statement of Related Cases (LBR Form 1015-
                                        (32 pgs)                      2.1) , Summary of Assets and Liabilities for
                                                                      Individual (Official Form 106Sum or 206Sum)
                                                                      , Schedule A/B Individual: Property (Official
                                                                      Form 106A/B or 206A/B) , Schedule C: The
                                                                      Property You Claimed as Exempt (Official
                                                                      Form 106C) , Schedule D Individual: Creditors
                                                                      Who Have Claims Secured by Property
                                                                      (Official Form 106D or 206D) , Schedule E/F
                                                                      Individual: Creditors Who Have Unsecured
                                                                      Claims (Official Form 106F or 206F) ,
                                                                      Schedule G Individual: Executory Contracts
                                                                      and Unexpired Leases (Official Form 106G or
                                                                      206G) , Schedule H Individual: Your
                                                                      Codebtors (Official Form 106H or 206H) ,
                                                                      Schedule I Individual: Your Income (Official
                                                                      Form 106I) , Schedule J: Your Expenses
                                                                      (Official Form 106J) , Declaration About an
                                                                      Individual Debtor's Schedules (Official Form
                                                                      106Dec) , Statement of Financial Affairs for
                                                                      Individual Filing for Bankruptcy (Official
                                                                      Form 107 or 207) , Statement of Intention for
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?840131141540975-L_1_0-1
                                                                                                               000146      5/11
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 153 of 170
                                                                      Individuals Filing Under Chapter 7 (Official
                                                                      Form 108) Filed by Debtor Afsaneh Doost
                                                                      (RE: related document(s)1 Voluntary Petition
                                                                      (Chapter 7)). (Toomer, Rosalind) (Entered:
                                                                      01/27/2016)

                                        16                            Declaration by Debtor as to Whether Debtor(s)
                                        (3 pgs)                       Received Income From an Employer Within 60
                                                                      Days of Petition (LBR Form F1002-1) Filed by
                                                                      Debtor Afsaneh Doost (RE: related
                                                                      document(s)1 Voluntary Petition (Chapter 7)).
   01/26/2016                                                         (Toomer, Rosalind) (Entered: 01/27/2016)

                                        17                            Chapter 7 Statement of Your Current Monthly
                                        (16 pgs)                      Income (Official Form 122A-1) (BNC Option)
                                                                      , Chapter 7 Means Test Calculation (Official
                                                                      Form 122A-2) (BNC Option) , Exemption is
                                                                      not being requested. (Official Form 122A-
                                                                      1Supp) , Amended Schedule C: The Property
                                                                      You Claimed as Exempt (Official Form 106C) ,
                                                                      Amended Schedule I Individual: Your Income
                                                                      (Official Form 106I) , Declaration About an
                                                                      Individual Debtor's Schedules (Official Form
                                                                      106Dec) , Statement of assistance of non-
                                                                      attorney Filed by Debtor Afsaneh Doost (RE:
                                                                      related document(s)1 Voluntary Petition
                                                                      (Chapter 7)). (Toomer, Rosalind) (Entered:
   01/26/2016                                                         01/27/2016)

                                        18                            Declaration re: Notification of Hearing on
                                        (4 pgs; 2 docs)               Shortened Notice Filed by Creditor CAM XI
                                                                      TRUST, its successors and/or assignees (RE:
                                                                      related document(s)8 Notice of motion and
                                                                      motion for relief from the automatic stay with
                                                                      supporting declarations REAL PROPERTY
                                                                      RE: 5337 Topeka Dr., Tarzana, CA 91356 . Fee
                                                                      Amount $176,, 10 Order (Generic) (BNC-
                                                                      PDF)). (Attachments: # 1 Proof of Service)
   01/27/2016                                                         (Wilkinson, Reilly) (Entered: 01/27/2016)

   01/27/2016                           19                            BNC Certificate of Notice - PDF Document.
                                        (5 pgs)                       (RE: related document(s)10 Order (Generic)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?840131141540975-L_1_0-1
                                                                                                               000147      6/11
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 154 of 170
                                                                      (BNC-PDF)) No. of Notices: 1. Notice Date
                                                                      01/27/2016. (Admin.) (Entered: 01/27/2016)

                                        20                            BNC Certificate of Notice - PDF Document.
                                        (3 pgs)                       (RE: related document(s)12 Order (Generic)
                                                                      (BNC-PDF)) No. of Notices: 1. Notice Date
   01/27/2016                                                         01/27/2016. (Admin.) (Entered: 01/27/2016)

                                        21                            Request for courtesy Notice of Electronic
                                        (1 pg)                        Filing (NEF) Filed by Schild, Avi. (Schild,
   02/03/2016                                                         Avi) (Entered: 02/03/2016)

                                        22                            Notice of lodgment of Order in Bankruptcy
                                        (7 pgs)                       Case Re: Motion for Relief from the Automatic
                                                                      Stay Under 11 U.S.C. 362 Filed by Creditor
                                                                      CAM XI TRUST, its successors and/or
                                                                      assignees (RE: related document(s)8 Notice of
                                                                      motion and motion for relief from the
                                                                      automatic stay with supporting declarations
                                                                      REAL PROPERTY RE: 5337 Topeka Dr.,
                                                                      Tarzana, CA 91356 . Fee Amount $176, Filed
                                                                      by Creditor CAM XI TRUST, its successors
                                                                      and/or assignees (Attachments: # 1 Motion for
                                                                      Relief # 2 Memorandum of Points and
                                                                      Authorities # 3 Declaration # 4 Proof of
                                                                      Service)). (Wilkinson, Reilly) (Entered:
   02/04/2016                                                         02/04/2016)

                                        23                            Order Granting Motion for relief from the
                                        (3 pgs)                       automatic stay REAL PROPERTY (BNC-
                                                                      PDF) (Related Doc # 8 ) Signed on 2/5/2016
   02/05/2016                                                         (Fisher, Liliana) (Entered: 02/05/2016)

                                        24                            BNC Certificate of Notice - PDF Document.
                                        (4 pgs)                       (RE: related document(s)23 Motion for relief
                                                                      from the automatic stay REAL PROPERTY
                                                                      (BNC-PDF)) No. of Notices: 1. Notice Date
   02/07/2016                                                         02/07/2016. (Admin.) (Entered: 02/07/2016)

                                                                      Receipt of Certification Fee - $11.00 by 16.
                                                                      Receipt Number 10066731. (admin) (Entered:
   02/09/2016                                                         02/10/2016)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?840131141540975-L_1_0-1
                                                                                                               000148      7/11
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 155 of 170
   02/17/2016                           25                            Continuance of Meeting of Creditors (Rule
                                                                      2003(e)) (Trustee's 341 Filings) 341(a)
                                                                      Meeting Continued to be held on 03/04/16 at
                                                                      10:30 AM at RM 100, 21041 Burbank Blvd.,
                                                                      Woodland Hills, CA 91367-6003. Debtor
                                                                      absent. (Zamora (TR), Nancy) (Entered:
                                                                      02/17/2016)

                                        26                            Notice of continued meeting of creditors and
                                        (1 pg)                        appearance of debtor (11 USC 341(a)) Filed
                                                                      by. (Zamora (TR), Nancy) (Entered:
   02/18/2016                                                         02/18/2016)

                                        27                            Electronic Filing Declaration (LBR Form
                                        (1 pg)                        F1002-1) Filed by Debtor Afsaneh Doost.
   03/04/2016                                                         (Afzali, Dominic) (Entered: 03/04/2016)

                                        28                            Substitution of attorney Filed by Debtor
                                        (4 pgs)                       Afsaneh Doost. (Afzali, Dominic) (Entered:
   03/04/2016                                                         03/04/2016)

   03/04/2016                                                         Chapter 7 Trustee's Report of No Distribution:
                                                                      I, Nancy J Zamora (TR), having been
                                                                      appointed trustee of the estate of the above-
                                                                      named debtor(s), report that I have neither
                                                                      received any property nor paid any money on
                                                                      account of this estate; that I have made a
                                                                      diligent inquiry into the financial affairs of the
                                                                      debtor(s) and the location of the property
                                                                      belonging to the estate; and that there is no
                                                                      property available for distribution from the
                                                                      estate over and above that exempted by law.
                                                                      Pursuant to Fed R Bank P 5009, I hereby
                                                                      certify that the estate of the above-named
                                                                      debtor(s) has been fully administered. I request
                                                                      that I be discharged from any further duties as
                                                                      trustee. Key information about this case as
                                                                      reported in schedules filed by the debtor(s) or
                                                                      otherwise found in the case record: This case
                                                                      was pending for 2 months. Assets Abandoned
                                                                      (without deducting any secured claims): $
                                                                      1263093.00, Assets Exempt: Not Available,
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?840131141540975-L_1_0-1
                                                                                                               000149      8/11
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 156 of 170
                                                                      Claims Scheduled: $ 1212444.99, Claims
                                                                      Asserted: Not Applicable, Claims scheduled to
                                                                      be discharged without payment (without
                                                                      deducting the value of collateral or debts
                                                                      excepted from discharge): $ 1212444.99. Filed
                                                                      by Trustee Nancy J Zamora (TR) (RE: related
                                                                      document(s)2 Meeting of Creditors with 341(a)
                                                                      meeting to be held on 02/17/2016 at 09:30 AM
                                                                      at RM 100, 21041 Burbank Blvd., Woodland
                                                                      Hills, CA 91367-6003. Objections for
                                                                      Discharge due by 04/18/2016. Cert. of
                                                                      Financial Management due by 04/18/2016 for
                                                                      Debtor and Joint Debtor (if joint case)).
                                                                      (Zamora (TR), Nancy) (Entered: 03/04/2016)

                                        29                            Notice of Requirement to Complete Course in
                                        (3 pgs)                       Financial Management (Auto VAN-105)
                                                                      (BNC). (AutoDocket, User) (Entered:
   04/04/2016                                                         04/04/2016)

                                        30                            BNC Certificate of Notice (RE: related
                                        (4 pgs)                       document(s)29 Notice of Requirement to
                                                                      Complete Course in Financial Management
                                                                      (Auto VAN-105) (BNC)) No. of Notices: 1.
                                                                      Notice Date 04/07/2016. (Admin.) (Entered:
   04/07/2016                                                         04/07/2016)

                                        31                            Notice of motion and motion for relief from the
                                        (63 pgs; 2 docs)              automatic stay with supporting declarations
                                                                      REAL PROPERTY RE: 4567 White Oak Place
                                                                      Los Angeles, CA 91316-4334 . Fee Amount
                                                                      $176, Filed by Creditor Bank of America, N.A.
                                                                      (Attachments: # 1 Exhibit) (Richey, Cassandra)
   04/14/2016                                                         (Entered: 04/14/2016)

                                                                      Receipt of Motion for Relief from Stay - Real
                                                                      Property(1:16-bk-10078-MT) [motion,nmrp] (
                                                                      176.00) Filing Fee. Receipt number 42274323.
                                                                      Fee amount 176.00. (re: Doc# 31) (U.S.
   04/14/2016                                                         Treasury) (Entered: 04/14/2016)

   04/14/2016                           32                            Hearing Set (RE: related document(s)31
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?840131141540975-L_1_0-1
                                                                                                               000150      9/11
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 157 of 170
                                                                      Motion for Relief from Stay - Real Property
                                                                      filed by Creditor Bank of America, N.A.) The
                                                                      Hearing date is set for 5/11/2016 at 11:00 AM
                                                                      at Crtrm 302, 21041 Burbank Blvd, Woodland
                                                                      Hills, CA 91367. The case judge is Maureen
                                                                      Tighe (Gonzalez, Emma) (Entered:
                                                                      04/14/2016)

                                        33                            Order Granting Motion for relief from the
                                        (3 pgs)                       automatic stay REAL PROPERTY (BNC-
                                                                      PDF) (Related Doc # 31 ) Signed on 5/13/2016
   05/13/2016                                                         (Gonzalez, Emma) (Entered: 05/13/2016)

                                        34                            BNC Certificate of Notice - PDF Document.
                                        (4 pgs)                       (RE: related document(s)33 Motion for relief
                                                                      from the automatic stay REAL PROPERTY
                                                                      (BNC-PDF)) No. of Notices: 1. Notice Date
   05/15/2016                                                         05/15/2016. (Admin.) (Entered: 05/15/2016)

                                        35                            Case closed without discharge. Debtor has not
                                        (1 pg)                        filed a Certification About a Financial
                                                                      Management Course proving compliance with
                                                                      the required instructional course requirement
                                                                      for discharge. If the debtor(s) subsequently
                                                                      file(s) a Motion to Reopen the Case to allow
                                                                      for the filing of the Financial Management
                                                                      Course Certificate, the debtor(s) must pay the
                                                                      full filing fee due for filing such a motion
                                                                      (BNC) (RE: related document(s)2 Meeting
                                                                      (AutoAssign Chapter 7), 8 Motion for Relief
                                                                      from Stay - Real Property filed by Creditor
                                                                      CAM XI TRUST, its successors and/or
                                                                      assignees, 31 Motion for Relief from Stay -
                                                                      Real Property filed by Creditor Bank of
                                                                      America, N.A.) (Toomer, Rosalind) (Entered:
   05/27/2016                                                         05/27/2016)

                                        36                            BNC Certificate of Notice (RE: related
                                        (2 pgs)                       document(s)35 Case Closed Without Discharge
                                                                      Ch 7 (BNC)) No. of Notices: 7. Notice Date
   05/29/2016                                                         05/29/2016. (Admin.) (Entered: 05/29/2016)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?840131141540975-L_1_0-1
                                                                                                               000151      10/11
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 158 of 170




                                                   PACER Service Center
                                                         Transaction Receipt
                                                            03/18/2020 14:41:50
                             PACER                                               Client
                                                  us7763:2657068:4299065
                             Login:                                              Code:
                                                                                           1:16-bk-
                                                                                           10078-MT
                                                                                           Fil or Ent:
                                                                                           filed From:
                                                                                           12/19/2000
                                                                                           To:
                                                                                           3/18/2020
                                                                                           Doc From:
                                                                                 Search
                             Description: Docket Report                                    0 Doc To:
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                                                                                           included
                             Billable
                                                  5                              Cost:       0.50
                             Pages:




https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?840131141540975-L_1_0-1
                                                                                                               000152      11/11
Case 1:20-bk-10213-MT    Doc 21 Filed 04/29/20 Entered 04/29/20 13:08:38   Desc
                        Main Document    Page 159 of 170




                                 Exhibit G
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 160 of 170
                                                        Repeat-cacb, RepeatPACER, DISMISSED, CLOSED


                                   U.S. Bankruptcy Court
                     Central District of California (San Fernando Valley)
                         Bankruptcy Petition #: 1:19-bk-12284-MT
                                                                                               Date filed:          09/11/2019
 Assigned to: Maureen Tighe                                                             Date terminated:            12/12/2019
 Chapter 7                                                                             Debtor dismissed:            12/10/2019
 Voluntary                                                                                   341 meeting:           12/09/2019
 No asset                                                                       Deadline for objecting to           12/17/2019
                                                                                               discharge:
                                                                             Deadline for financial mgmt.           12/17/2019
 Debtor disposition: Dismissed for Other                                                          course:
 Reason

 Debtor                                                                     represented by Afsaneh Doost
 Afsaneh Doost                                                                             PRO SE
 4567 White Oak Pl
 Encino, CA 91316
 LOS ANGELES-CA
 818-337-9989
 SSN / ITIN: xxx-xx-1679

 Trustee
 Amy L Goldman (TR)
 633 W 5th Street, Suite 4000
 Los Angeles, CA 90071
 (213) 250-1800

 U.S. Trustee
 United States Trustee (SV)
 915 Wilshire Blvd, Suite 1850
 Los Angeles, CA 90017
 (213) 894-6811


       Filing
                                             #                                           Docket Text
       Date

   09/11/2019                           1                             Chapter 7 Voluntary Petition for Individuals .

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?774115166411831-L_1_0-1
                                                                                                               000153       1/9
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 161 of 170
                                        (13 pgs; 3 docs)              Fee Amount $335 Filed by Afsaneh Doost
                                                                      Statement of Intention for Individuals Filing
                                                                      Under Chapter 7 (Form 108) due 10/11/2019.
                                                                      Summary of Assets and Liabilities (Form
                                                                      106Sum or 206Sum ) due 9/25/2019. Schedule
                                                                      A/B: Property (Form 106A/B or 206A/B) due
                                                                      9/25/2019. Schedule C: The Property You
                                                                      Claim as Exempt (Form 106C) due 9/25/2019.
                                                                      Schedule D: Creditors Who Have Claims
                                                                      Secured by Property (Form 106D or 206D) due
                                                                      9/25/2019. Schedule E/F: Creditors Who Have
                                                                      Unsecured Claims (Form 106E/F or 206E/F)
                                                                      due 9/25/2019. Schedule G: Executory
                                                                      Contracts and Unexpired Leases (Form 106G
                                                                      or 206G) due 9/25/2019. Schedule H: Your
                                                                      Codebtors (Form 106H or 206H) due
                                                                      9/25/2019. Schedule I: Your Income (Form
                                                                      106I) due 9/25/2019. Schedule J: Your
                                                                      Expenses (Form 106J) due 9/25/2019.
                                                                      Declaration About an Individual Debtors
                                                                      Schedules (Form 106Dec) due 9/25/2019.
                                                                      Statement of Financial Affairs (Form 107 or
                                                                      207) due 9/25/2019. Chapter 7 Statement of
                                                                      Your Current Monthly Income (Form 122A-1)
                                                                      Due: 9/25/2019. Statement of Exemption from
                                                                      Presumption of Abuse (Form 122A-1Supp)
                                                                      Due: 9/25/2019. Chapter 7 Means Test
                                                                      Calculation (Form 122A-2) Due: 9/25/2019.
                                                                      Cert. of Credit Counseling due by 9/25/2019.
                                                                      Statement of Related Cases (LBR Form
                                                                      F1015-2) due 9/25/2019. Incomplete Filings
                                                                      due by 9/25/2019. (Fisher, Liliana) (Entered:
                                                                      09/11/2019)

                                        2                             Meeting of Creditors with 341(a) meeting to be
                                        (3 pgs)                       held on 10/18/2019 at 09:30 AM at RM 100,
                                                                      21041 Burbank Blvd., Woodland Hills, CA
                                                                      91367-6003. Objections for Discharge due by
                                                                      12/17/2019. Cert. of Financial Management
                                                                      due by 12/17/2019 for Debtor and Joint Debtor
                                                                      (if joint case) (Fisher, Liliana) (Entered:
   09/11/2019                                                         09/11/2019)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?774115166411831-L_1_0-1
                                                                                                               000154      2/9
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 162 of 170
   09/11/2019                           3                             Statement About Your Social Security Number
                                                                      (Official Form 121) Filed by Debtor Afsaneh
                                                                      Doost . (Fisher, Liliana) (Entered: 09/11/2019)

                                        4                             Declaration by Debtor as to Whether Debtor(s)
                                        (2 pgs)                       Received Income From an Employer Within 60
                                                                      Days of Petition (LBR Form F1002-1) Filed by
                                                                      Debtor Afsaneh Doost . (Fisher, Liliana)
   09/11/2019                                                         (Entered: 09/11/2019)

                                                                      Receipt of Chapter 7 Filing Fee - $335.00 by
                                                                      12. Receipt Number 10074497. (admin)
   09/11/2019                                                         (Entered: 09/11/2019)

                                                                      Notice of Debtor's Prior Filings for debtor
                                                                      Afsaneh Doost Case Number 16-10078,
                                                                      Chapter 7 filed in California Central
                                                                      Bankruptcy on 01/12/2016; Case Number 11-
                                                                      22838, Chapter 7 filed in California Central
                                                                      Bankruptcy on 11/03/2011 , Dismissed for
                                                                      Failure to File Information on 11/22/2011.
   09/12/2019                                                         (Admin) (Entered: 09/12/2019)

                                        5                             Request for courtesy Notice of Electronic
                                        (1 pg)                        Filing (NEF) Filed by Schild, Avi. (Schild,
   09/12/2019                                                         Avi) (Entered: 09/12/2019)

                                        6                             BNC Certificate of Notice (RE: related
                                        (4 pgs)                       document(s)2 Meeting (AutoAssign Chapter
                                                                      7)) No. of Notices: 8. Notice Date 09/13/2019.
   09/13/2019                                                         (Admin.) (Entered: 09/13/2019)

                                        7                             BNC Certificate of Notice (RE: related
                                        (2 pgs)                       document(s)1 Voluntary Petition (Chapter 7)
                                                                      filed by Debtor Afsaneh Doost) No. of Notices:
                                                                      1. Notice Date 09/13/2019. (Admin.) (Entered:
   09/13/2019                                                         09/13/2019)

   09/13/2019                           8                             BNC Certificate of Notice (RE: related
                                        (2 pgs)                       document(s)1 Voluntary Petition (Chapter 7)
                                                                      filed by Debtor Afsaneh Doost) No. of Notices:

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?774115166411831-L_1_0-1
                                                                                                               000155      3/9
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 163 of 170
                                                                      1. Notice Date 09/13/2019. (Admin.) (Entered:
                                                                      09/13/2019)

                                        9                             Certificate of Credit Counseling Filed by
                                        (1 pg)                        Debtor Afsaneh Doost (RE: related
                                                                      document(s)1 Voluntary Petition (Chapter 7)).
   09/25/2019                                                         (Kinsley, Terri) (Entered: 09/26/2019)

                                        10                            Declaration by Debtor as to Whether Debtor(s)
                                        (1 pg)                        Received Income From an Employer Within 60
                                                                      Days of Petition (LBR Form F1002-1) Filed by
                                                                      Debtor Afsaneh Doost . (Kinsley, Terri)
   09/25/2019                                                         (Entered: 09/26/2019)

   09/25/2019                           11                            Statement of Related Cases (LBR Form 1015-
                                        (42 pgs)                      2.1) , Summary of Assets and Liabilities for
                                                                      Individual (Official Form 106Sum or 206Sum)
                                                                      , Schedule A/B Individual: Property (Official
                                                                      Form 106A/B or 206A/B) , Schedule C: The
                                                                      Property You Claimed as Exempt (Official
                                                                      Form 106C) , Schedule D Individual: Creditors
                                                                      Who Have Claims Secured by Property
                                                                      (Official Form 106D or 206D) , Schedule E/F
                                                                      Individual: Creditors Who Have Unsecured
                                                                      Claims (Official Form 106F or 206F) ,
                                                                      Schedule G Individual: Executory Contracts
                                                                      and Unexpired Leases (Official Form 106G or
                                                                      206G) , Schedule H Individual: Your
                                                                      Codebtors (Official Form 106H or 206H) ,
                                                                      Schedule I Individual: Your Income (Official
                                                                      Form 106I) , Schedule J: Your Expenses
                                                                      (Official Form 106J) , Declaration About an
                                                                      Individual Debtor's Schedules (Official Form
                                                                      106Dec) , Statement of Financial Affairs for
                                                                      Individual Filing for Bankruptcy (Official
                                                                      Form 107 or 207) , Chapter 7 Statement of
                                                                      Your Current Monthly Income (Official Form
                                                                      122A-1) (BNC Option) Filed by Debtor
                                                                      Afsaneh Doost (RE: related document(s)1
                                                                      Voluntary Petition (Chapter 7)). (Kinsley,
                                                                      Terri) Statement of Intent also filed. Modified

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?774115166411831-L_1_0-1
                                                                                                               000156      4/9
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 164 of 170
                                                                      on 9/26/2019 (Kinsley, Terri). (Entered:
                                                                      09/26/2019)

                                                                      Receipt of Amendment Filing Fee - $31.00 by
                                                                      16. Receipt Number 10074585. (admin)
   09/26/2019                                                         (Entered: 09/26/2019)

                                        12                            Amendment to List of Creditors. Fee Amount
                                        (4 pgs)                       $31 Filed by Debtor Afsaneh Doost . (Kinsley,
   09/26/2019                                                         Terri) (Entered: 09/30/2019)

                                        13                            Continuance of Meeting of Creditors (Rule
                                                                      2003(e)) Filed by Trustee Amy L Goldman
                                                                      (TR). 341(a) Meeting Continued to 11/01/2019
                                                                      at 10:30 AM at RM 100, 21041 Burbank Blvd.,
                                                                      Woodland Hills, CA 91367-6003. (Goldman
   10/18/2019                                                         (TR), Amy) (Entered: 10/18/2019)

                                        14                            Notice of continued meeting of creditors and
                                        (1 pg)                        appearance of debtor (11 USC 341(a)) Filed by
                                                                      Trustee Amy L Goldman (TR). (Goldman
   10/18/2019                                                         (TR), Amy) (Entered: 10/18/2019)

                                        15                            Notice of motion and motion for relief from the
                                        (63 pgs; 2 docs)              automatic stay with supporting declarations
                                                                      REAL PROPERTY RE: 4567 White Oak
                                                                      Place, Los Angeles, CA 91316-4334 . Fee
                                                                      Amount $181, Filed by Creditor BANK OF
                                                                      AMERICA, N.A. (Attachments: # 1 Exhibit)
   10/24/2019                                                         (Khil, Christina) (Entered: 10/24/2019)

                                                                      Receipt of Motion for Relief from Stay - Real
                                                                      Property(1:19-bk-12284-MT) [motion,nmrp] (
                                                                      181.00) Filing Fee. Receipt number 49980774.
                                                                      Fee amount 181.00. (re: Doc# 15) (U.S.
   10/24/2019                                                         Treasury) (Entered: 10/24/2019)

   10/25/2019                           16                            Hearing Set (RE: related document(s)15
                                                                      Motion for Relief from Stay - Real Property
                                                                      filed by Creditor BANK OF AMERICA, N.A.)
                                                                      The Hearing date is set for 11/20/2019 at 10:00
                                                                      AM at Crtrm 302, 21041 Burbank Blvd,

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?774115166411831-L_1_0-1
                                                                                                               000157      5/9
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 165 of 170
                                                                      Woodland Hills, CA 91367. The case judge is
                                                                      Maureen Tighe (Fisher, Liliana) (Entered:
                                                                      10/25/2019)

                                        17                            Continuance of Meeting of Creditors (Rule
                                                                      2003(e)) Filed by Trustee Amy L Goldman
                                                                      (TR). 341(a) Meeting Continued to 12/09/2019
                                                                      at 10:30 AM at RM 100, 21041 Burbank Blvd.,
                                                                      Woodland Hills, CA 91367-6003. (Goldman
   11/01/2019                                                         (TR), Amy) (Entered: 11/01/2019)

                                        18                            Notice of continued meeting of creditors and
                                        (1 pg)                        appearance of debtor (11 USC 341(a)) Filed by
                                                                      Trustee Amy L Goldman (TR). (Goldman
   11/01/2019                                                         (TR), Amy) (Entered: 11/01/2019)

                                        19                            Order Granting Motion for relief from the
                                        (4 pgs)                       automatic stay REAL PROPERTY (BNC-
                                                                      PDF) (Related Doc # 15 ) Signed on
                                                                      11/21/2019 (Fisher, Liliana) (Entered:
   11/21/2019                                                         11/21/2019)

                                        20                            BNC Certificate of Notice - PDF Document.
                                        (5 pgs)                       (RE: related document(s)19 Motion for relief
                                                                      from the automatic stay REAL PROPERTY
                                                                      (BNC-PDF)) No. of Notices: 1. Notice Date
   11/23/2019                                                         11/23/2019. (Admin.) (Entered: 11/23/2019)

                                        21                            Notice of Requirement to Complete Course in
                                        (3 pgs)                       Financial Management (Auto VAN-105)
                                                                      (BNC). (AutoDocket, User) (Entered:
   12/04/2019                                                         12/04/2019)

                                        22                            BNC Certificate of Notice (RE: related
                                        (4 pgs)                       document(s)21 Notice of Requirement to
                                                                      Complete Course in Financial Management
                                                                      (Auto VAN-105) (BNC)) No. of Notices: 1.
                                                                      Notice Date 12/07/2019. (Admin.) (Entered:
   12/07/2019                                                         12/07/2019)

   12/10/2019                           23                            Trustee's Request to Dismiss Debtor(s) for
                                        (1 pg)                        Failure to Appear at 341(a) Meeting of

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?774115166411831-L_1_0-1
                                                                                                               000158      6/9
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 166 of 170
                                                                      Creditors (Chapter 7) - Dismiss Debtor Filed
                                                                      by Trustee Amy L Goldman (TR). (Goldman
                                                                      (TR), Amy) (Entered: 12/10/2019)

                                        24                            ORDER and notice of dismissal for failure to
                                        (1 pg)                        appear at 341(a) meeting - Debtor Dismissed.
                                                                      All pending motions and adversary
                                                                      proceedings are moot and dismissed. (BNC)
                                                                      Signed on 12/10/2019 (RE: related
                                                                      document(s)2 Meeting (AutoAssign Chapter
                                                                      7), 15 Motion for Relief from Stay - Real
                                                                      Property filed by Creditor BANK OF
                                                                      AMERICA, N.A., 17 Continuance of Meeting
                                                                      of Creditors (Rule 2003(e)) (by Trustee/US
                                                                      Trustee - No PDF) filed by Trustee Amy L
                                                                      Goldman (TR)). (Kinsley, Terri) (Entered:
   12/10/2019                                                         12/10/2019)

                                                                      Chapter 7 Trustee's Report of No Distribution:
                                                                      I, Amy L Goldman (TR), having been
                                                                      appointed trustee of the estate of the above-
                                                                      named debtor(s), report that this case was
                                                                      dismissed or converted. I have neither received
                                                                      any property nor paid any monies on account
                                                                      of this estate. I hereby certify that the chapter 7
                                                                      estate of the above-named debtor(s) has been
                                                                      fully administered through the date of
                                                                      conversion or dismissal. I request that I be
                                                                      discharged from any further duties as trustee.
                                                                      Key information about this case as reported in
                                                                      schedules filed by the debtor(s) or otherwise
                                                                      found in the case record: This case was
                                                                      pending for 0 months. Assets Abandoned
                                                                      (without deducting any secured claims): Not
                                                                      Applicable, Assets Exempt: Not Applicable,
                                                                      Claims Scheduled: Not Applicable, Claims
                                                                      Asserted: Not Applicable, Claims scheduled to
                                                                      be discharged without payment (without
                                                                      deducting the value of collateral or debts
                                                                      excepted from discharge): Not Applicable.
                                                                      Filed by Trustee Amy L Goldman (TR).
   12/11/2019                                                         (Goldman (TR), Amy) (Entered: 12/11/2019)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?774115166411831-L_1_0-1
                                                                                                               000159       7/9
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
                                                 Main Document         Page 167 of 170
   12/12/2019                           25                            Bankruptcy Case Closed - DISMISSED. Order
                                                                      of Dismissal in the above referenced case was
                                                                      entered and notice was provided to parties in
                                                                      interest. Since it appears that no further matters
                                                                      are required that this case remain open, or that
                                                                      the jurisdiction of this Court continue, it is
                                                                      ordered that the Trustee is discharged, bond is
                                                                      exonerated, and the case is closed. (Auto
                                                                      Closed) (Alcala, Maria) - (Entered:
                                                                      12/12/2019)

                                        26                            BNC Certificate of Notice (RE: related
                                        (2 pgs)                       document(s)24 ORDER and notice of
                                                                      dismissal for failure to appear at 341(a)
                                                                      meeting (Option A or Option B) (BNC)) No. of
                                                                      Notices: 12. Notice Date 12/12/2019. (Admin.)
   12/12/2019                                                         (Entered: 12/12/2019)




                                                   PACER Service Center
                                                         Transaction Receipt
                                                            03/18/2020 14:34:32
                             PACER                                               Client
                                                  us7763:2657068:4299065
                             Login:                                              Code:
                             Description: Docket Report                          Search 1:19-bk-
                                                                                 Criteria: 12284-MT
                                                                                           Fil or Ent:
                                                                                           filed From:
                                                                                           12/19/2000
                                                                                           To:
                                                                                           3/18/2020
                                                                                           Doc From:
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                                                                                           99999999
                                                                                           Term:
                                                                                           included
                                                                                           Format:
                                                                                           html Page

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?774115166411831-L_1_0-1
                                                                                                               000160      8/9
3/18/2020   Case 1:20-bk-10213-MT                 Doc 21CM/ECF - U.S.
                                                           Filed      Bankruptcy Court
                                                                  04/29/20             (v5.2.1 -04/29/20
                                                                                  Entered       LIVE)    13:08:38   Desc
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                                                                                             counts for
                                                                                             documents:
                                                                                             included
                             Billable
                                                  4                              Cost:       0.40
                             Pages:




https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?774115166411831-L_1_0-1
                                                                                                               000161      9/9
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 1                             PROOF OF SERVICE OF DOCUMENT
 2    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 915 Wilshire Blvd., Suite 1850, Los Angeles, CA 90017
 3

 4    A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION
      TO DISMISS CASE PURSUANT TO 11 U.S.C. § 707(b)(3)(A) WITH A ONE-YEAR BAR TO REFILING
 5    PURSUANT TO 11 U.S.C. §§ 105(a) AND 349(a); MEMORANDUM OF POINTS AND AUTHORITIES;
      DECLARATION OF SANDRA A. CRUZ IN SUPPORT THEREOF, will be served or was served (a) on
 6    the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
      below:
 7
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 8    controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On 4/29/2020, I checked the CM/ECF docket for this bankruptcy case or
      adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
 9    receive NEF transmission at the email addresses stated below:
 10                                                         Service information continued on attached page
 11   2. SERVED BY UNITED STATES MAIL:
      On 4/29/2020, I served the following persons and/or entities at the last known addresses in this
 12   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
      in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
 13   constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 14
                                                            Service information continued on attached page
 15
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
 16   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on N/A,
      I served the following persons and/or entities by personal delivery, overnight mail service, or (for those
 17   who consented in writing to such service method), by facsimile transmission and/or email as follows.
      Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge
 18   will be completed no later than 24 hours after the document is filed.

                                                            Service information continued on attached page
 19
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and
 20   correct.
 21     4/29/2020             Veronica M. Hernandez                        /s/ Veronica M. Hernandez
        Date                     Printed Name                              Signature
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 1                            SERVICE LIST FOR PROOF OF SERVICE
 2    SERVED ELECTRONICALLY                                      SERVED BY U.S. MAIL
      •Katherine Bunker kate.bunker@usdoj.gov                    U.S. Bankruptcy Court
 3    •David Keith Gottlieb (TR) dkgtrustee@dkgallc.com,         San Fernando Valley Division
      dgottlieb@iq7technology.com,rjohnson@dkgallc.com,akuras@   21041 Burbank Boulevard
 4    dkgallc.com                                                Woodland Hills, California 91367
      •Christina J Khil christinao@mclaw.org,
 5    CACD_ECF@mclaw.org;mcecfnotices@ecf.courtdrive.com         Afsaneh Doost
      •Avi Schild bk@atlasacq.com                                4567 White Oak Pl
 6                                                               Encino, CA 91316

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